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              EXHIBIT AC-3
Case 1:21-cv-05337-SCJ   Document 236-5   Filed 04/18/23   Page 5 of 201
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                 EXHIBIT AC-4
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                   EXHIBIT AE-2
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                   EXHIBIT AF-1
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                EXHIBIT AG-1
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      User:
Plan Name: Illustrative_House
 Plan Type: Senate


Measures of Compactness Report
Saturday, December 3, 2022                                                                                                 4:48 PM



                 Reock          Polsby-
                                Popper
    Mean          0.39           0.27
    Min           0.12           0.10
    Max           0.66           0.59
  Std. Dev.       0.12            0.10
    Sum


                                          Higher Number is Better                                 Lower Number is Better


   District      Reock          Polsby-
                                Popper

     001          0.53           0.45
     002          0.30           0.14
     003          0.50           0.41
     004          0.26           0.19
     005          0.55           0.34
     006          0.51           0.33
     007          0.28           0.23
     008          0.30           0.23
     009          0.31           0.30
     010          0.48           0.24
     011          0.52           0.25
     012          0.41           0.24
     013          0.38           0.23
     014          0.32           0.23
     015          0.54           0.33
     016          0.37           0.36



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Measures of Compactness Report                                                                                     Illustrative_House


                                  Higher Number is Better                                 Lower Number is Better


  District   Reock      Polsby-
                        Popper

    017       0.53        0.29
    018       0.40        0.28
    019       0.43        0.34
    020       0.46        0.45
    021       0.41        0.42
    022       0.28        0.22
    023       0.20        0.17
    024       0.46        0.45
    025       0.40        0.31
    026       0.36        0.23
    027       0.44        0.21
    028       0.33        0.19
    029       0.39        0.26
    030       0.43        0.30
    031       0.53        0.33
    032       0.43        0.28
    033       0.49        0.37
    034       0.45        0.33
    035       0.32        0.23
    036       0.32        0.22
    037       0.45        0.28
    038       0.59        0.58
    039       0.59        0.40
    040       0.49        0.29
    041       0.60        0.40
    042       0.40        0.21
    043       0.42        0.22
    044       0.31        0.29
    045       0.41        0.32
    046       0.55        0.47


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Measures of Compactness Report                                                                                     Illustrative_House


                                  Higher Number is Better                                 Lower Number is Better


  District   Reock      Polsby-
                        Popper

    047       0.35        0.21
    048       0.34        0.19
    049       0.30        0.15
    050       0.42        0.46
    051       0.54        0.36
    052       0.48        0.35
    053       0.16        0.14
    054       0.37        0.45
    055       0.18        0.16
    056       0.26        0.23
    057       0.57        0.59
    058       0.13        0.13
    059       0.12        0.11
    060       0.19        0.15
    061       0.25        0.20
    062       0.16        0.10
    063       0.16        0.14
    064       0.37        0.35
    065       0.46        0.17
    066       0.36        0.25
    067       0.36        0.12
    068       0.32        0.17
    069       0.23        0.17
    070       0.45        0.23
    071       0.38        0.17
    072       0.41        0.17
    073       0.27        0.18
    074       0.63        0.36
    075       0.42        0.31
    076       0.61        0.43


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Measures of Compactness Report                                                                                     Illustrative_House


                                  Higher Number is Better                                 Lower Number is Better


  District   Reock      Polsby-
                        Popper

    077       0.19        0.18
    078       0.48        0.36
    079       0.58        0.38
    080       0.38        0.42
    081       0.47        0.40
    082       0.49        0.30
    083       0.34        0.36
    084       0.25        0.20
    085       0.36        0.32
    086       0.17        0.17
    087       0.26        0.24
    088       0.26        0.20
    089       0.14        0.10
    090       0.36        0.29
    091       0.38        0.19
    092       0.36        0.20
    093       0.26        0.11
    094       0.31        0.15
    095       0.44        0.25
    096       0.18        0.21
    097       0.28        0.24
    098       0.42        0.52
    099       0.36        0.29
    100       0.34        0.26
    101       0.53        0.46
    102       0.56        0.35
    103       0.33        0.24
    104       0.28        0.25
    105       0.34        0.28
    106       0.66        0.50


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Measures of Compactness Report                                                                                     Illustrative_House


                                  Higher Number is Better                                 Lower Number is Better


  District   Reock      Polsby-
                        Popper

    107       0.51        0.32
    108       0.43        0.32
    109       0.39        0.28
    110       0.36        0.33
     111      0.33        0.29
    112       0.62        0.52
    113       0.50        0.32
    114       0.51        0.28
    115       0.65        0.31
    116       0.42        0.22
    117       0.41        0.26
    118       0.48        0.36
    119       0.39        0.25
    120       0.42        0.25
    121       0.46        0.33
    122       0.59        0.26
    123       0.31        0.19
    124       0.31        0.25
    125       0.56        0.27
    126       0.22        0.15
    127       0.36        0.27
    128       0.44        0.19
    129       0.50        0.32
    130       0.48        0.20
    131       0.38        0.27
    132       0.25        0.29
    133       0.26        0.20
    134       0.48        0.20
    135       0.29        0.23
    136       0.54        0.27


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Measures of Compactness Report                                                                                     Illustrative_House


                                  Higher Number is Better                                 Lower Number is Better


  District   Reock      Polsby-
                        Popper

    137       0.33        0.17
    138       0.33        0.20
    139       0.28        0.23
    140       0.29        0.19
    141       0.26        0.20
    142       0.32        0.16
    143       0.43        0.28
    144       0.50        0.35
    145       0.25        0.22
    146       0.60        0.42
    147       0.27        0.19
    148       0.30        0.16
    149       0.48        0.37
    150       0.44        0.28
    151       0.35        0.19
    152       0.42        0.24
    153       0.32        0.27
    154       0.53        0.38
    155       0.49        0.31
    156       0.41        0.25
    157       0.36        0.22
    158       0.48        0.33
    159       0.35        0.21
    160       0.49        0.37
    161       0.51        0.31
    162       0.37        0.21
    163       0.27        0.18
    164       0.30        0.16
    165       0.23        0.16
    166       0.43        0.35


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Measures of Compactness Report                                                                                     Illustrative_House


                                  Higher Number is Better                                 Lower Number is Better


  District   Reock      Polsby-
                        Popper

    167       0.47        0.22
    168       0.34        0.21
    169       0.29        0.23
    170       0.61        0.29
    171       0.28        0.20
    172       0.37        0.20
    173       0.49        0.53
    174       0.41        0.24
    175       0.47        0.37
    176       0.34        0.16
    177       0.43        0.34
    178       0.42        0.23
    179       0.46        0.42
    180       0.61        0.40




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Measures of Compactness Report                                                                                                 Illustrative_House


 Measures of Compactness Summary

 Reock               The measure is always between 0 and 1, with 1 being the most compact.
 Polsby-Popper       The measure is always between 0 and 1, with 1 being the most compact.




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               EXHIBIT AG-2
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      User:
Plan Name: ga_house_HB1EX_
 Plan Type: Senate


Measures of Compactness Report
Saturday, December 3, 2022                                                                                              4:45 PM



                 Reock       Polsby-
                             Popper
    Mean          0.39        0.28
    Min           0.12        0.10
    Max           0.66        0.59
  Std. Dev.       0.11         0.10
    Sum


                                       Higher Number is Better                                 Lower Number is Better


   District      Reock       Polsby-
                             Popper

     001          0.53        0.45
     002          0.53        0.24
     003          0.50        0.41
     004          0.37        0.21
     005          0.43        0.25
     006          0.45        0.26
     007          0.62        0.50
     008          0.46        0.27
     009          0.47        0.30
     010          0.34        0.30
     011          0.31        0.26
     012          0.47        0.31
     013          0.47        0.19
     014          0.32        0.23
     015          0.55        0.33
     016          0.31        0.35



                                                                                                                         Page 1 of 8
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Measures of Compactness Report                                                                                     ga_house_HB1EX_


                                  Higher Number is Better                                 Lower Number is Better


  District   Reock      Polsby-
                        Popper

    017       0.28        0.21
    018       0.41        0.25
    019       0.26        0.26
    020       0.46        0.45
    021       0.26        0.27
    022       0.28        0.22
    023       0.40        0.19
    024       0.35        0.30
    025       0.39        0.31
    026       0.27        0.26
    027       0.60        0.34
    028       0.38        0.35
    029       0.34        0.21
    030       0.43        0.30
    031       0.44        0.25
    032       0.39        0.33
    033       0.49        0.37
    034       0.45        0.33
    035       0.32        0.24
    036       0.32        0.23
    037       0.45        0.28
    038       0.59        0.58
    039       0.59        0.40
    040       0.49        0.29
    041       0.60        0.40
    042       0.40        0.21
    043       0.42        0.22
    044       0.31        0.29
    045       0.41        0.32
    046       0.55        0.47


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Measures of Compactness Report                                                                                     ga_house_HB1EX_


                                  Higher Number is Better                                 Lower Number is Better


  District   Reock      Polsby-
                        Popper

    047       0.29        0.21
    048       0.34        0.19
    049       0.30        0.15
    050       0.42        0.46
    051       0.54        0.36
    052       0.48        0.35
    053       0.16        0.14
    054       0.37        0.45
    055       0.18        0.16
    056       0.26        0.23
    057       0.57        0.59
    058       0.13        0.13
    059       0.12        0.11
    060       0.19        0.15
    061       0.25        0.20
    062       0.16        0.10
    063       0.16        0.14
    064       0.37        0.36
    065       0.46        0.17
    066       0.36        0.25
    067       0.36        0.12
    068       0.32        0.17
    069       0.40        0.25
    070       0.45        0.23
    071       0.44        0.35
    072       0.42        0.23
    073       0.28        0.20
    074       0.50        0.25
    075       0.42        0.28
    076       0.53        0.51


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Measures of Compactness Report                                                                                     ga_house_HB1EX_


                                  Higher Number is Better                                 Lower Number is Better


  District   Reock      Polsby-
                        Popper

    077       0.40        0.21
    078       0.21        0.19
    079       0.50        0.21
    080       0.38        0.42
    081       0.47        0.40
    082       0.49        0.30
    083       0.34        0.36
    084       0.25        0.20
    085       0.36        0.32
    086       0.17        0.17
    087       0.26        0.24
    088       0.26        0.20
    089       0.14        0.10
    090       0.36        0.29
    091       0.45        0.20
    092       0.36        0.20
    093       0.26        0.11
    094       0.31        0.15
    095       0.44        0.25
    096       0.18        0.21
    097       0.28        0.24
    098       0.42        0.52
    099       0.36        0.29
    100       0.34        0.29
    101       0.53        0.46
    102       0.56        0.35
    103       0.33        0.24
    104       0.28        0.25
    105       0.34        0.28
    106       0.66        0.50


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Measures of Compactness Report                                                                                     ga_house_HB1EX_


                                  Higher Number is Better                                 Lower Number is Better


  District   Reock      Polsby-
                        Popper

    107       0.51        0.32
    108       0.43        0.32
    109       0.39        0.28
    110       0.36        0.33
     111      0.33        0.29
    112       0.62        0.52
    113       0.50        0.32
    114       0.51        0.28
    115       0.44        0.23
    116       0.41        0.28
    117       0.41        0.28
    118       0.35        0.22
    119       0.39        0.21
    120       0.44        0.25
    121       0.43        0.30
    122       0.48        0.43
    123       0.30        0.18
    124       0.44        0.23
    125       0.41        0.17
    126       0.52        0.41
    127       0.35        0.20
    128       0.60        0.32
    129       0.48        0.25
    130       0.51        0.25
    131       0.38        0.28
    132       0.27        0.30
    133       0.55        0.42
    134       0.33        0.23
    135       0.57        0.42
    136       0.54        0.26


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Measures of Compactness Report                                                                                     ga_house_HB1EX_


                                  Higher Number is Better                                 Lower Number is Better


  District   Reock      Polsby-
                        Popper

    137       0.33        0.16
    138       0.33        0.20
    139       0.28        0.23
    140       0.29        0.19
    141       0.26        0.20
    142       0.35        0.23
    143       0.50        0.30
    144       0.51        0.32
    145       0.38        0.19
    146       0.26        0.19
    147       0.33        0.26
    148       0.44        0.24
    149       0.32        0.22
    150       0.44        0.28
    151       0.53        0.22
    152       0.40        0.30
    153       0.30        0.30
    154       0.41        0.33
    155       0.49        0.48
    156       0.23        0.20
    157       0.32        0.19
    158       0.48        0.33
    159       0.34        0.22
    160       0.49        0.37
    161       0.51        0.31
    162       0.37        0.21
    163       0.27        0.18
    164       0.30        0.17
    165       0.23        0.16
    166       0.43        0.36


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Measures of Compactness Report                                                                                     ga_house_HB1EX_


                                  Higher Number is Better                                 Lower Number is Better


  District   Reock      Polsby-
                        Popper

    167       0.42        0.19
    168       0.24        0.26
    169       0.28        0.23
    170       0.53        0.34
    171       0.35        0.37
    172       0.44        0.32
    173       0.57        0.38
    174       0.41        0.24
    175       0.47        0.37
    176       0.34        0.16
    177       0.43        0.34
    178       0.48        0.22
    179       0.45        0.42
    180       0.61        0.40




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Measures of Compactness Report                                                                                                 ga_house_HB1EX_


 Measures of Compactness Summary

 Reock               The measure is always between 0 and 1, with 1 being the most compact.
 Polsby-Popper       The measure is always between 0 and 1, with 1 being the most compact.




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             EXHIBIT AG-3
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      User:
Plan Name: Enacted House B-V-C
 Plan Type: House


Measures of Compactness Report
Saturday, December 3, 2022                                                                                               4:40 PM



                 Reock       Polsby-
                             Popper
    Mean          0.38           0.23
    Min           0.11           0.08
    Max           0.64           0.49
  Std. Dev.       0.10           0.10
    Sum


                                        Higher Number is Better                                 Lower Number is Better


   District      Reock       Polsby-
                             Popper

      1           0.32           0.25
      2           0.37           0.25
      3           0.30           0.23
      4           0.35           0.14
      5           0.53           0.38
      6           0.35           0.18
      7           0.44           0.23
      8           0.43           0.26
      9           0.31           0.14
      10          0.36           0.24
      11          0.43           0.12
      12          0.64           0.32
      13          0.29           0.15
      14          0.40           0.11
      15          0.48           0.17
      16          0.29           0.10



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Measures of Compactness Report                                                                                Enacted House B-V-C


                                  Higher Number is Better                                 Lower Number is Better


  District   Reock      Polsby-
                        Popper

     17       0.37        0.20
     18       0.49        0.42
     19       0.37        0.14
     20       0.44        0.26
     21       0.25        0.14
     22       0.50        0.24
     23       0.45        0.34
     24       0.31        0.28
     25       0.52        0.43
     26       0.32        0.15
     27       0.33        0.12
     28       0.31        0.08
     29       0.42        0.16
     30       0.35        0.11
     31       0.49        0.37
     32       0.17        0.14
     33       0.49        0.32
     34       0.26        0.13
     35       0.47        0.23
     36       0.18        0.09
     37       0.40        0.32
     38       0.45        0.27
     39       0.31        0.26
     40       0.38        0.16
     41       0.52        0.36
     42       0.46        0.27
     43       0.34        0.22
     44       0.43        0.32
     45       0.40        0.19
     46       0.11        0.10


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Measures of Compactness Report                                                                                Enacted House B-V-C


                                  Higher Number is Better                                 Lower Number is Better


  District   Reock      Polsby-
                        Popper

     47       0.57        0.26
     48       0.44        0.25
     49       0.57        0.21
     50       0.31        0.20
     51       0.53        0.40
     52       0.27        0.15
     53       0.26        0.17
     54       0.26        0.16
     55       0.20        0.17
     56       0.38        0.20
     57       0.25        0.10
     58       0.46        0.25
     59       0.25        0.13
     60       0.50        0.13
     61       0.54        0.43
     62       0.26        0.23
     63       0.39        0.29
     64       0.23        0.14
     65       0.44        0.26
     66       0.29        0.16
     67       0.51        0.32
     68       0.37        0.16
     69       0.32        0.17
     70       0.35        0.20
     71       0.30        0.15
     72       0.52        0.26
     73       0.31        0.09
     74       0.38        0.34
     75       0.23        0.13
     76       0.27        0.17


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Measures of Compactness Report                                                                                Enacted House B-V-C


                                  Higher Number is Better                                 Lower Number is Better


  District   Reock      Polsby-
                        Popper

     77       0.38        0.34
     78       0.35        0.13
     79       0.60        0.23
     80       0.41        0.24
     81       0.33        0.19
     82       0.46        0.20
     83       0.32        0.14
     84       0.49        0.25
     85       0.44        0.42
     86       0.54        0.47
     87       0.37        0.48
     88       0.43        0.19
     89       0.37        0.19
     90       0.25        0.16
     91       0.53        0.49
     92       0.36        0.28
     93       0.44        0.27
     94       0.46        0.43
     95       0.34        0.44
     96       0.43        0.30
     97       0.37        0.27
     98       0.21        0.14
     99       0.25        0.16
    100       0.49        0.41
    101       0.29        0.18
    102       0.36        0.24
    103       0.46        0.24
    104       0.37        0.29
    105       0.52        0.48




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Measures of Compactness Report                                                                                                 Enacted House B-V-C


 Measures of Compactness Summary

 Reock               The measure is always between 0 and 1, with 1 being the most compact.
 Polsby-Popper       The measure is always between 0 and 1, with 1 being the most compact.




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              EXHIBIT AH-1
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      User:
Plan Name: Illustrative_House
 Plan Type: Senate


Political Subdivison Splits Between Districts
Sunday, December 4, 2022                                                                                  8:31 AM
                                                   Split Counts
Number of subdivisions split into more than one district: Number of splits involving no population:
County                                            68      County                                             0
Voting District                                  193      Voting District                                   23

Number of times a subdivision is split into multiple districts:
County                                              209
Voting District                                     200

County                      Voting District                                              District     Population
Split Counties:
Baldwin GA                                                                                   133            27,925
Baldwin GA                                                                                   144            15,874
Barrow GA                                                                                    104            24,245
Barrow GA                                                                                    119            59,260
Bartow GA                                                                                    014            49,922
Bartow GA                                                                                    015            58,979
Bibb GA                                                                                      142            31,424
Bibb GA                                                                                      143            50,749
Bibb GA                                                                                      144            15,893
Bibb GA                                                                                      145            59,280
Bryan GA                                                                                     160            11,008
Bryan GA                                                                                     164            21,564
Bryan GA                                                                                     166            12,166
Bulloch GA                                                                                   158            15,521
Bulloch GA                                                                                   159            16,651
Bulloch GA                                                                                   160            48,927
Burke GA                                                                                     126            22,561
Burke GA                                                                                     128             2,035
Carroll GA                                                                                   018            19,214
Carroll GA                                                                                   070             2,854
Carroll GA                                                                                   071            59,415
Carroll GA                                                                                   072            37,665
Catoosa GA                                                                                   002             7,673
Catoosa GA                                                                                   003            60,199
Chatham GA                                                                                   161            28,269
Chatham GA                                                                                   162            60,308
Chatham GA                                                                                   163            60,123
Chatham GA                                                                                   164            38,681
Chatham GA                                                                                   165            59,978
Chatham GA                                                                                   166            47,932
Cherokee GA                                                                                  011            25,970
Cherokee GA                                                                                  014             9,447
Cherokee GA                                                                                  020            60,107


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Political Subdivison Splits Between Districts                                Illustrative_House

County            Voting District                                 District        Population
Cherokee GA                                                           021              58,907
Cherokee GA                                                           022              30,874
Cherokee GA                                                           023              40,327
Cherokee GA                                                           044              21,989
Cherokee GA                                                           046              15,178
Cherokee GA                                                           047               3,821
Clarke GA                                                             120              39,069
Clarke GA                                                             121              17,789
Clarke GA                                                             122              59,628
Clarke GA                                                             124              12,185
Clayton GA                                                            074              34,646
Clayton GA                                                            075              60,164
Clayton GA                                                            076              58,905
Clayton GA                                                            077              36,866
Clayton GA                                                            078              45,741
Clayton GA                                                            079              58,624
Clayton GA                                                            116               2,649
Cobb GA                                                               022              28,586
Cobb GA                                                               034              59,875
Cobb GA                                                               035              60,031
Cobb GA                                                               036              59,852
Cobb GA                                                               037              59,176
Cobb GA                                                               038              59,317
Cobb GA                                                               039              59,381
Cobb GA                                                               040              59,044
Cobb GA                                                               041              60,122
Cobb GA                                                               042              59,620
Cobb GA                                                               043              59,464
Cobb GA                                                               044              38,013
Cobb GA                                                               045              59,738
Cobb GA                                                               046              43,930
Coffee GA                                                             169              33,736
Coffee GA                                                             176               9,356
Colquitt GA                                                           152              19,169
Colquitt GA                                                           172              26,729
Columbia GA                                                           123               2,205
Columbia GA                                                           125              38,290
Columbia GA                                                           127              56,419
Columbia GA                                                           131              59,096
Coweta GA                                                             065              13,008
Coweta GA                                                             067              17,272
Coweta GA                                                             070              56,267
Coweta GA                                                             073              31,608
Coweta GA                                                             136              28,003
DeKalb GA                                                             052              28,300
DeKalb GA                                                             080              59,461
DeKalb GA                                                             081              59,007



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Political Subdivison Splits Between Districts                                Illustrative_House

County            Voting District                                 District        Population
DeKalb GA                                                             082              59,724
DeKalb GA                                                             083              59,416
DeKalb GA                                                             084              59,862
DeKalb GA                                                             085              59,373
DeKalb GA                                                             086              59,205
DeKalb GA                                                             087              59,709
DeKalb GA                                                             088              47,844
DeKalb GA                                                             089              59,866
DeKalb GA                                                             090              59,812
DeKalb GA                                                             091              19,700
DeKalb GA                                                             092              15,607
DeKalb GA                                                             093              11,690
DeKalb GA                                                             094              31,207
DeKalb GA                                                             095              14,599
Dougherty GA                                                          153              42,191
Dougherty GA                                                          154              22,693
Dougherty GA                                                          171              20,906
Douglas GA                                                            061              30,206
Douglas GA                                                            064              35,576
Douglas GA                                                            065              19,408
Douglas GA                                                            066              59,047
Effingham GA                                                          159              32,941
Effingham GA                                                          161              31,828
Fayette GA                                                            068              29,719
Fayette GA                                                            069              39,018
Fayette GA                                                            073              28,581
Fayette GA                                                            077              21,876
Floyd GA                                                              002               4,842
Floyd GA                                                              012              33,873
Floyd GA                                                              013              59,869
Forsyth GA                                                            023              19,444
Forsyth GA                                                            024              59,554
Forsyth GA                                                            025              46,134
Forsyth GA                                                            026              59,002
Forsyth GA                                                            028              51,321
Forsyth GA                                                            100              15,828
Fulton GA                                                             025              13,280
Fulton GA                                                             047              55,235
Fulton GA                                                             048              43,976
Fulton GA                                                             049              59,153
Fulton GA                                                             050              59,523
Fulton GA                                                             051              58,952
Fulton GA                                                             052              31,511
Fulton GA                                                             053              59,953
Fulton GA                                                             054              60,083
Fulton GA                                                             055              59,971
Fulton GA                                                             056              58,929



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Political Subdivison Splits Between Districts                                Illustrative_House

County            Voting District                                 District        Population
Fulton GA                                                             057              59,969
Fulton GA                                                             058              59,057
Fulton GA                                                             059              59,434
Fulton GA                                                             060              59,709
Fulton GA                                                             061              29,096
Fulton GA                                                             062              59,450
Fulton GA                                                             063              59,381
Fulton GA                                                             065              27,048
Fulton GA                                                             067              41,863
Fulton GA                                                             068              29,758
Fulton GA                                                             069              21,379
Glynn GA                                                              167              19,881
Glynn GA                                                              179              59,974
Glynn GA                                                              180               4,644
Grady GA                                                              172               4,715
Grady GA                                                              173              21,521
Gwinnett GA                                                           030               8,620
Gwinnett GA                                                           048              15,027
Gwinnett GA                                                           088              11,845
Gwinnett GA                                                           094              28,004
Gwinnett GA                                                           095              34,221
Gwinnett GA                                                           096              59,515
Gwinnett GA                                                           097              59,072
Gwinnett GA                                                           098              59,998
Gwinnett GA                                                           099              59,850
Gwinnett GA                                                           100              35,204
Gwinnett GA                                                           101              59,938
Gwinnett GA                                                           102              58,959
Gwinnett GA                                                           103              51,691
Gwinnett GA                                                           104              35,117
Gwinnett GA                                                           105              59,344
Gwinnett GA                                                           106              59,112
Gwinnett GA                                                           107              59,702
Gwinnett GA                                                           108              59,577
Gwinnett GA                                                           109              59,630
Gwinnett GA                                                           110              59,951
Gwinnett GA                                                           111              22,685
Habersham GA                                                          008               4,964
Habersham GA                                                          010              31,729
Habersham GA                                                          032               9,338
Hall GA                                                               009               1,109
Hall GA                                                               027              58,710
Hall GA                                                               028               7,691
Hall GA                                                               029              59,015
Hall GA                                                               030              50,646
Hall GA                                                               031               4,331
Hall GA                                                               032               5,309



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Political Subdivison Splits Between Districts                                Illustrative_House

County            Voting District                                 District        Population
Hall GA                                                               100               7,819
Hall GA                                                               103               8,506
Harris GA                                                             138              21,634
Harris GA                                                             139              13,034
Henry GA                                                              074              18,397
Henry GA                                                              078              13,447
Henry GA                                                              091              34,420
Henry GA                                                              115              59,473
Henry GA                                                              116              56,447
Henry GA                                                              117              23,709
Henry GA                                                              118              34,819
Houston GA                                                            142              27,213
Houston GA                                                            146              58,683
Houston GA                                                            147              19,098
Houston GA                                                            149              58,639
Jackson GA                                                            031              55,422
Jackson GA                                                            120              20,485
Jasper GA                                                             114               2,855
Jasper GA                                                             135              11,733
Jefferson GA                                                          126               7,087
Jefferson GA                                                          128               8,622
Johnson GA                                                            128               7,274
Johnson GA                                                            158               1,915
Laurens GA                                                            128              22,064
Laurens GA                                                            155              27,506
Lee GA                                                                151              22,297
Lee GA                                                                152              10,866
Liberty GA                                                            167              11,457
Liberty GA                                                            168              53,799
Lowndes GA                                                            174               9,770
Lowndes GA                                                            175              43,692
Lowndes GA                                                            176               4,797
Lowndes GA                                                            177              59,992
Madison GA                                                            033               9,935
Madison GA                                                            123              20,185
Meriwether GA                                                         136              13,382
Meriwether GA                                                         137               7,231
Monroe GA                                                             135              27,023
Monroe GA                                                             145                 934
Muscogee GA                                                           137              30,443
Muscogee GA                                                           138              12,190
Muscogee GA                                                           139              45,976
Muscogee GA                                                           140              59,294
Muscogee GA                                                           141              59,019
Newton GA                                                             093              15,515
Newton GA                                                             113              60,053
Newton GA                                                             114              36,915



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Political Subdivison Splits Between Districts                                Illustrative_House

County            Voting District                                 District        Population
Oglethorpe GA                                                         123               6,839
Oglethorpe GA                                                         124               7,986
Paulding GA                                                           016              16,860
Paulding GA                                                           017              58,677
Paulding GA                                                           018               9,748
Paulding GA                                                           019              59,050
Paulding GA                                                           064              24,326
Peach GA                                                              147              14,093
Peach GA                                                              150              13,888
Putnam GA                                                             124              19,736
Putnam GA                                                             135               2,311
Richmond GA                                                           126              24,132
Richmond GA                                                           127               3,875
Richmond GA                                                           129              59,891
Richmond GA                                                           130              60,057
Richmond GA                                                           132              58,652
Rockdale GA                                                           091               4,781
Rockdale GA                                                           092              44,666
Rockdale GA                                                           093              32,913
Rockdale GA                                                           095              11,210
Screven GA                                                            126               3,313
Screven GA                                                            159              10,754
Spalding GA                                                           074               6,933
Spalding GA                                                           117              34,983
Spalding GA                                                           134              25,390
Sumter GA                                                             150              14,282
Sumter GA                                                             151              15,334
Tattnall GA                                                           157              16,361
Tattnall GA                                                           168               6,481
Telfair GA                                                            148               2,991
Telfair GA                                                            156               9,486
Thomas GA                                                             171              17,670
Thomas GA                                                             172              28,128
Tift GA                                                               152               9,257
Tift GA                                                               169               7,591
Tift GA                                                               170              24,496
Troup GA                                                              072              10,281
Troup GA                                                              136              18,410
Troup GA                                                              137              15,647
Troup GA                                                              138              25,088
Upson GA                                                              134              14,343
Upson GA                                                              147              13,357
Walker GA                                                             001              43,415
Walker GA                                                             002              24,239
Walton GA                                                             111              37,324
Walton GA                                                             112              59,349
Ware GA                                                               174               9,097



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Political Subdivison Splits Between Districts                                Illustrative_House

County            Voting District                                 District        Population
Ware GA                                                               176              27,154
Wayne GA                                                              167               1,703
Wayne GA                                                              178              28,441
Whitfield GA                                                          002              22,651
Whitfield GA                                                          004              60,125
Whitfield GA                                                          005               1,417
Whitfield GA                                                          006              18,671
Wilkes GA                                                             123               3,156
Wilkes GA                                                             133               6,409
Split VTDs:
Baldwin GA        COOPERS                                             133                   0
Baldwin GA        COOPERS                                             144               2,191
Baldwin GA        COURTHOUSE                                          133                 544
Baldwin GA        COURTHOUSE                                          144               2,592
Baldwin GA        MERIWEATHER                                         133                 348
Baldwin GA        MERIWEATHER                                         144               3,316
Baldwin GA        NORTH BALDWIN                                       133               1,237
Baldwin GA        NORTH BALDWIN                                       144               3,655
Baldwin GA        NORTH MILLEDGEVILLE                                 133               3,364
Baldwin GA        NORTH MILLEDGEVILLE                                 144                   0
Baldwin GA        SCOTTSBORO                                          133               1,750
Baldwin GA        SCOTTSBORO                                          144                  22
Baldwin GA        SOUTH MILLEDGEVILLE                                 133               2,239
Baldwin GA        SOUTH MILLEDGEVILLE                                 144               1,467
Barrow GA         16                                                  104               1,708
Barrow GA         16                                                  119               8,060
Bartow GA         CASSVILLE                                           014              15,581
Bartow GA         CASSVILLE                                           015               1,024
Bartow GA         WHITE                                               014               3,546
Bartow GA         WHITE                                               015                   0
Bibb GA           HOWARD 3                                            144              12,654
Bibb GA           HOWARD 3                                            145                   0
Bryan GA          DANIELSIDING                                        164               1,268
Bryan GA          DANIELSIDING                                        166               1,741
Bryan GA          HWY 144 EAST                                        164               4,552
Bryan GA          HWY 144 EAST                                        166               4,707
Carroll GA        BETHANY                                             071               5,590
Carroll GA        BETHANY                                             072                 996
Carroll GA        CLEM                                                071               3,010
Carroll GA        CLEM                                                072               1,762
Carroll GA        UNIVERSITY OF W. GA                                 018                   0
Carroll GA        UNIVERSITY OF W. GA                                 072               5,265
Chatham GA        CRUSADER COMMUNITY                                  162               2,134
                  CENTER
Chatham GA        CRUSADER COMMUNITY                                  166                1,493
                  CENTER




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Political Subdivison Splits Between Districts                                Illustrative_House

County            Voting District                                 District        Population
Chatham GA        GEORGETOWN                                          164                5,562
                  ELEMENTAR
Chatham GA        GEORGETOWN                                          166                       0
                  ELEMENTAR
Chatham GA        GRACE UNITED                                        163                2,064
                  METHODIST CHURCH
Chatham GA        GRACE UNITED                                        165                  397
                  METHODIST CHURCH
Chatham GA        ROTHWELL BAPTIST                                    161                5,335
                  CHURCH
Chatham GA        ROTHWELL BAPTIST                                    164                4,987
                  CHURCH
Chatham GA        THE LIGHT CHURCH                                    162                1,177
Chatham GA        THE LIGHT CHURCH                                    163                1,109
Chatham GA        WINDSOR FOREST                                      163                  785
                  BAPTIST CHURCH
                  SCHOOL
Chatham GA        WINDSOR FOREST                                      166                1,890
                  BAPTIST CHURCH
                  SCHOOL
Cherokee GA       CARMEL                                              020               5,626
Cherokee GA       CARMEL                                              022               1,222
Cherokee GA       CARMEL                                              044                   0
Cherokee GA       FREEHOME                                            023               3,270
Cherokee GA       FREEHOME                                            047               3,821
Clarke GA         1A                                                  122               1,462
Clarke GA         1A                                                  124               3,582
Clarke GA         4B                                                  120               1,017
Clarke GA         4B                                                  122              11,654
Clarke GA         5D                                                  120               3,759
Clarke GA         5D                                                  122               1,695
Clarke GA         7B                                                  120               2,061
Clarke GA         7B                                                  122               3,133
Clayton GA        JONESBORO 12                                        075               3,287
Clayton GA        JONESBORO 12                                        077                 951
Clayton GA        JONESBORO 8                                         076               4,530
Clayton GA        JONESBORO 8                                         078               2,335
Clayton GA        LOVEJOY 3                                           074              10,604
Clayton GA        LOVEJOY 3                                           116               2,649
Clayton GA        MORROW 4                                            075               1,316
Clayton GA        MORROW 4                                            076               1,911
Cobb GA           Acworth 1B                                          035               7,464
Cobb GA           Acworth 1B                                          036                   0
Cobb GA           Baker 01                                            022               5,226
Cobb GA           Baker 01                                            035               1,996
Cobb GA           Bells Ferry 03                                      022               4,918
Cobb GA           Bells Ferry 03                                      044               3,763
Cobb GA           Dobbins 01                                          042              11,055



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Political Subdivison Splits Between Districts                                Illustrative_House

County            Voting District                                 District        Population
Cobb GA           Dobbins 01                                          043               2,346
Cobb GA           Elizabeth 01                                        034                 700
Cobb GA           Elizabeth 01                                        037               5,170
Cobb GA           Elizabeth 04                                        037               2,031
Cobb GA           Elizabeth 04                                        043               2,387
Cobb GA           Kennesaw 1A                                         022                 599
Cobb GA           Kennesaw 1A                                         035               3,844
Cobb GA           Kennesaw 3A                                         022                   0
Cobb GA           Kennesaw 3A                                         034                 871
Cobb GA           Kennesaw 3A                                         035               8,631
Cobb GA           Lassiter 01                                         044               2,121
Cobb GA           Lassiter 01                                         046               2,600
Cobb GA           Lindley 01                                          039               5,678
Cobb GA           Lindley 01                                          040                 582
Cobb GA           Mableton 01                                         038               1,589
Cobb GA           Mableton 01                                         039               5,513
Cobb GA           Mableton 02                                         038                 256
Cobb GA           Mableton 02                                         039               5,427
Cobb GA           Marietta 1A                                         037               3,349
Cobb GA           Marietta 1A                                         043               6,645
Cobb GA           Marietta 2A                                         034               1,664
Cobb GA           Marietta 2A                                         037                 811
Cobb GA           Marietta 5A                                         037               2,877
Cobb GA           Marietta 5A                                         043               1,457
Cobb GA           Marietta 6A                                         037               1,532
Cobb GA           Marietta 6A                                         043               3,022
Cobb GA           Marietta 7A                                         042               1,494
Cobb GA           Marietta 7A                                         043               5,417
Cobb GA           North Cobb 01                                       035               2,611
Cobb GA           North Cobb 01                                       036                 559
Cobb GA           Norton Park 01                                      041               1,955
Cobb GA           Norton Park 01                                      042               5,846
Cobb GA           Oregon 03                                           037               6,683
Cobb GA           Oregon 03                                           041               6,305
Cobb GA           Pine Mountain 02                                    034               3,976
Cobb GA           Pine Mountain 02                                    035                   0
Cobb GA           Smyrna 1A                                           040               1,292
Cobb GA           Smyrna 1A                                           042               5,341
Cobb GA           Smyrna 4A                                           040               6,599
Cobb GA           Smyrna 4A                                           042               1,609
Cobb GA           Smyrna 7A                                           039                 905
Cobb GA           Smyrna 7A                                           040               7,690
Coffee GA         DOUGLAS                                             169              19,642
Coffee GA         DOUGLAS                                             176               8,929
Coweta GA         JEFFERSON PARKWAY                                   070              12,590
Coweta GA         JEFFERSON PARKWAY                                   073               1,521
DeKalb GA         Cedar Grove Middle                                  089               2,204



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Political Subdivison Splits Between Districts                                Illustrative_House

County            Voting District                                 District        Population
DeKalb GA         Cedar Grove Middle                                  090                   316
DeKalb GA         Clarkston                                           085                 5,454
DeKalb GA         Clarkston                                           086                 9,300
DeKalb GA         Dresden Elem (CHA)                                  081                 5,398
DeKalb GA         Dresden Elem (CHA)                                  083                 7,691
DeKalb GA         Freedom Middle                                      086                 1,002
DeKalb GA         Freedom Middle                                      087                 3,088
DeKalb GA         Glennwood (DEC)                                     082                 2,059
DeKalb GA         Glennwood (DEC)                                     084                 1,221
DeKalb GA         Glenwood Road                                       085                 1,698
DeKalb GA         Glenwood Road                                       086                 1,064
DeKalb GA         Memorial South                                      086                 2,226
DeKalb GA         Memorial South                                      087                 2,547
DeKalb GA         Panola Road                                         086                 3,296
DeKalb GA         Panola Road                                         094                   460
DeKalb GA         Redan Middle                                        087                 1,419
DeKalb GA         Redan Middle                                        088                 1,633
DeKalb GA         Rockbridge Road                                     094                 3,736
DeKalb GA         Rockbridge Road                                     095                 1,104
DeKalb GA         Snapfinger Road South                               084                   920
DeKalb GA         Snapfinger Road South                               091                 1,271
DeKalb GA         Stone Mill Elem                                     087                 1,863
DeKalb GA         Stone Mill Elem                                     088                 4,069
DeKalb GA         Stone Mountain                                      087                 1,338
                  Champion (STO)
DeKalb GA         Stone Mountain                                      088                 2,865
                  Champion (STO)
DeKalb GA         Stone Mountain Middle                               087                   656
                  (TUC)
DeKalb GA         Stone Mountain Middle                               088                 3,960
                  (TUC)
DeKalb GA         Tucker Library (TUC)                                081                2,394
DeKalb GA         Tucker Library (TUC)                                088                1,635
Dougherty GA      PALMYRA RD METHODIST                                153                3,032
Dougherty GA      PALMYRA RD METHODIST                                171                  878
Dougherty GA      PUTNEY 1ST BAPTIST                                  154                3,165
Dougherty GA      PUTNEY 1ST BAPTIST                                  171                  615
Effingham GA      4B                                                  159                1,960
Effingham GA      4B                                                  161                  959
Fayette GA        ABERDEEN                                            068                  983
Fayette GA        ABERDEEN                                            073                1,392
Fayette GA        EUROPE                                              069                  869
Fayette GA        EUROPE                                              077                2,985
Fayette GA        OAK RIDGE                                           069                2,335
Fayette GA        OAK RIDGE                                           077                  405
Forsyth GA        CONCORD                                             023                6,444
Forsyth GA        CONCORD                                             028                9,225
Forsyth GA        MIDWAY                                              024               27,597


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Political Subdivison Splits Between Districts                                Illustrative_House

County            Voting District                                 District        Population
Forsyth GA        MIDWAY                                              026                2,829
Forsyth GA        OTWELL                                              026                5,827
Forsyth GA        OTWELL                                              028               12,633
Forsyth GA        POLO                                                024               18,563
Forsyth GA        POLO                                                026                7,295
Forsyth GA        SOUTH FORSYTH                                       025               10,064
Forsyth GA        SOUTH FORSYTH                                       100               11,887
Forsyth GA        WINDERMERE                                          026               12,897
Forsyth GA        WINDERMERE                                          100                3,941
Fulton GA         08C                                                 053                1,524
Fulton GA         08C                                                 060                  335
Fulton GA         09K                                                 055                3,033
Fulton GA         09K                                                 060                4,105
Fulton GA         10D                                                 055                1,756
Fulton GA         10D                                                 060                4,311
Fulton GA         11C                                                 055                  340
Fulton GA         11C                                                 060                3,418
Fulton GA         AP022                                               048                  862
Fulton GA         AP022                                               049                2,505
Fulton GA         AP07B                                               047                1,250
Fulton GA         AP07B                                               049                1,304
Fulton GA         AP14                                                048                4,109
Fulton GA         AP14                                                049                  281
Fulton GA         EP01B                                               059                2,393
Fulton GA         EP01B                                               062                2,049
Fulton GA         JC19                                                048                3,608
Fulton GA         JC19                                                051                1,792
Fulton GA         ML012                                               047                  501
Fulton GA         ML012                                               049                  123
Fulton GA         ML01B                                               047                  284
Fulton GA         ML01B                                               049                   61
Fulton GA         RW03                                                051                1,292
Fulton GA         RW03                                                053                6,066
Fulton GA         RW09                                                047                2,971
Fulton GA         RW09                                                049                4,750
Fulton GA         SC02                                                060                  220
Fulton GA         SC02                                                061                  773
Fulton GA         SC05B                                               061                1,575
Fulton GA         SC05B                                               065                2,978
Fulton GA         SC07A                                               065                1,028
Fulton GA         SC07A                                               067                7,728
Fulton GA         SC08B                                               062                   92
Fulton GA         SC08B                                               068                5,255
Fulton GA         SC13                                                065                2,858
Fulton GA         SC13                                                067                1,176
Fulton GA         UC02A                                               065                1,070
Fulton GA         UC02A                                               067               13,013



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Political Subdivison Splits Between Districts                                Illustrative_House

County            Voting District                                 District        Population
Glynn GA          C B GREER SCHOOL                                    167                3,484
Glynn GA          C B GREER SCHOOL                                    179                  618
Gwinnett GA       BAYCREEK A                                          106                  934
Gwinnett GA       BAYCREEK A                                          110                2,651
Gwinnett GA       BAYCREEK D                                          102                3,729
Gwinnett GA       BAYCREEK D                                          110                2,597
Gwinnett GA       BERKSHIRE H                                         098                2,475
Gwinnett GA       BERKSHIRE H                                         108                1,991
Gwinnett GA       CATES J                                             094                  955
Gwinnett GA       CATES J                                             108                4,255
Gwinnett GA       DULUTH F                                            096                7,245
Gwinnett GA       DULUTH F                                            107                5,149
Gwinnett GA       DULUTH G                                            096                1,426
Gwinnett GA       DULUTH G                                            099                3,389
Gwinnett GA       DUNCANS D                                           030                8,620
Gwinnett GA       DUNCANS D                                           104                1,575
Gwinnett GA       LAWRENCEVILLE F                                     102                2,073
Gwinnett GA       LAWRENCEVILLE F                                     105                3,924
Gwinnett GA       LAWRENCEVILLE M                                     102                4,231
Gwinnett GA       LAWRENCEVILLE M                                     105                7,770
Gwinnett GA       MARTINS H                                           107                8,164
Gwinnett GA       MARTINS H                                           109                  892
Gwinnett GA       PINCKNEYVILLE W                                     096                5,745
Gwinnett GA       PINCKNEYVILLE W                                     097                2,561
Gwinnett GA       PUCKETTS E                                          103                1,506
Gwinnett GA       PUCKETTS E                                          105                7,421
Gwinnett GA       SUGAR HILL D                                        100                2,158
Gwinnett GA       SUGAR HILL D                                        103                6,421
Gwinnett GA       SUWANEE F                                           099                3,224
Gwinnett GA       SUWANEE F                                           103                2,836
Habersham GA      DEMOREST                                            010                7,400
Habersham GA      DEMOREST                                            032                  804
Habersham GA      HABERSHAM NORTH                                     008                3,180
Habersham GA      HABERSHAM NORTH                                     010                8,116
Habersham GA      HABERSHAM NORTH                                     032                1,248
Habersham GA      HABERSHAM SOUTH                                     010                4,796
Habersham GA      HABERSHAM SOUTH                                     032                5,863
Hall GA           BARK CAMP                                           009                1,109
Hall GA           BARK CAMP                                           027                7,028
Hall GA           BARK CAMP                                           028                    0
Hall GA           CHESTATEE                                           027                1,845
Hall GA           CHESTATEE                                           028                3,386
Hall GA           TADMORE                                             027               11,844
Hall GA           TADMORE                                             031                2,505
Henry GA          COTTON INDIAN                                       091                  406
Henry GA          COTTON INDIAN                                       116                6,805
Henry GA          FLIPPEN                                             115                    0



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Political Subdivison Splits Between Districts                                Illustrative_House

County            Voting District                                 District        Population
Henry GA          FLIPPEN                                             116                5,686
Henry GA          LAKE HAVEN                                          115                2,490
Henry GA          LAKE HAVEN                                          116                3,298
Henry GA          MCMULLEN                                            115                  185
Henry GA          MCMULLEN                                            118                4,866
Henry GA          PATES CREEK                                         078                5,601
Henry GA          PATES CREEK                                         116                1,668
Henry GA          STOCKBRIDGE CENTRAL                                 078                    0
Henry GA          STOCKBRIDGE CENTRAL                                 116                7,453
Houston GA        BMS                                                 142                4,839
Houston GA        BMS                                                 146                9,259
Houston GA        FMMS                                                146                3,320
Houston GA        FMMS                                                147                9,551
Houston GA        FMMS                                                149                  458
Houston GA        MCMS                                                146                3,947
Houston GA        MCMS                                                147                9,547
Houston GA        TWPK                                                142                1,128
Houston GA        TWPK                                                149                5,259
Jackson GA        Central Jackson                                     031               22,769
Jackson GA        Central Jackson                                     120                1,614
Jackson GA        North Jackson                                       031               11,786
Jackson GA        North Jackson                                       120                7,461
Laurens GA        MINTER                                              128                  589
Laurens GA        MINTER                                              155                  857
Liberty GA        FLEMING EAST                                        167                4,063
Liberty GA        FLEMING EAST                                        168                  580
Liberty GA        FLEMING WEST                                        167                  364
Liberty GA        FLEMING WEST                                        168                  234
Lowndes GA        NORTHSIDE                                           175                8,373
Lowndes GA        NORTHSIDE                                           177               37,217
Lowndes GA        RAINWATER                                           175                6,400
Lowndes GA        RAINWATER                                           177                8,754
Lowndes GA        S LOWNDES                                           174                1,951
Lowndes GA        S LOWNDES                                           175                3,755
Lowndes GA        TRINITY                                             175                9,620
Lowndes GA        TRINITY                                             176                4,797
Lowndes GA        TRINITY                                             177                6,930
Monroe GA         KELSEYS                                             135                  576
Monroe GA         KELSEYS                                             145                  175
Monroe GA         RUSSELLVILLE                                        135                  428
Monroe GA         RUSSELLVILLE                                        145                  156
Muscogee GA       CUSSETA RD                                          140                5,391
Muscogee GA       CUSSETA RD                                          141                5,010
Muscogee GA       EPWORTH UMC                                         139                3,363
Muscogee GA       EPWORTH UMC                                         140                4,560
Muscogee GA       FORT/WADDELL                                        137                5,599
Muscogee GA       FORT/WADDELL                                        141                6,645



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Political Subdivison Splits Between Districts                                Illustrative_House

County            Voting District                                 District        Population
Muscogee GA       OUR LADY OF LOURDES                                 140              13,744
Muscogee GA       OUR LADY OF LOURDES                                 141                  32
Muscogee GA       ROTHSCHILD                                          137               8,327
Muscogee GA       ROTHSCHILD                                          141               3,143
Muscogee GA       ST ANDREWS/MIDLAND                                  139               5,899
Muscogee GA       ST ANDREWS/MIDLAND                                  141               5,582
Newton GA         CEDAR SHOALS                                        093               1,206
Newton GA         CEDAR SHOALS                                        113               3,687
Newton GA         FAIRVIEW                                            093                 856
Newton GA         FAIRVIEW                                            113               3,443
Newton GA         TOWN                                                093               1,668
Newton GA         TOWN                                                113               5,075
Oglethorpe GA     BEAVERDAM                                           123               1,417
Oglethorpe GA     BEAVERDAM                                           124               3,367
Oglethorpe GA     CRAWFORD                                            123                 864
Oglethorpe GA     CRAWFORD                                            124               3,390
Oglethorpe GA     LEXINGTON                                           123               4,558
Oglethorpe GA     LEXINGTON                                           124               1,229
Paulding GA       WATSON GOVERNMENT                                   016                 760
                  COMPLEX
Paulding GA       WATSON GOVERNMENT                                   017              16,770
                  COMPLEX
Paulding GA       WEST RIDGE CHURCH                                   017               3,008
Paulding GA       WEST RIDGE CHURCH                                   019              19,146
Putnam GA         101                                                 124               2,892
Putnam GA         101                                                 135               2,311
Richmond GA       401                                                 126               1,102
Richmond GA       401                                                 130               1,557
Richmond GA       402                                                 126                   0
Richmond GA       402                                                 132               9,711
Richmond GA       503                                                 129               3,260
Richmond GA       503                                                 132               2,535
Richmond GA       705                                                 127                 538
Richmond GA       705                                                 132               2,516
Richmond GA       706                                                 127               3,337
Richmond GA       706                                                 129               1,135
Richmond GA       803                                                 126                   0
Richmond GA       803                                                 132               2,432
Richmond GA       807                                                 126               2,403
Richmond GA       807                                                 132                   0
Rockdale GA       MILSTEAD                                            093               6,444
Rockdale GA       MILSTEAD                                            095                   0
Rockdale GA       OLD TOWNE                                           093              10,095
Rockdale GA       OLD TOWNE                                           095                 872
Rockdale GA       ROCKDALE                                            092               6,218
Rockdale GA       ROCKDALE                                            093                  79
Spalding GA       AMBUCS PARK GYM                                     117               2,554



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Political Subdivison Splits Between Districts                                Illustrative_House

County            Voting District                                 District        Population
Spalding GA       AMBUCS PARK GYM                                     134                   418
Spalding GA       CARVER FIRE STATION                                 117                   548
Spalding GA       CARVER FIRE STATION                                 134                 2,522
Spalding GA       FIRST ASSEMBLY OF GOD                               117                 1,625
Spalding GA       FIRST ASSEMBLY OF GOD                               134                 2,096
Spalding GA       FIRST PRESBYTERIAN                                  117                     0
Spalding GA       FIRST PRESBYTERIAN                                  134                 3,537
Spalding GA       GARY REID FIRE STATION                              074                     0
Spalding GA       GARY REID FIRE STATION                              117                 6,892
Spalding GA       SENIOR CENTER                                       117                   452
Spalding GA       SENIOR CENTER                                       134                 3,260
Spalding GA       ST JOHN LUTHERAN                                    117                     0
Spalding GA       ST JOHN LUTHERAN                                    134                 2,548
Sumter GA         GSW CONF CENTER                                     150                 4,568
Sumter GA         GSW CONF CENTER                                     151                 1,549
Sumter GA         REES PARK                                           150                 5,179
Sumter GA         REES PARK                                           151                   447
Tattnall GA       DISTRICT IV                                         157                 1,625
Tattnall GA       DISTRICT IV                                         168                 2,345
Thomas GA         ELLABELLE                                           171                 1,476
Thomas GA         ELLABELLE                                           172                    71
Thomas GA         HARPER                                              171                 2,508
Thomas GA         HARPER                                              172                   429
Thomas GA         NEW COVENANT                                        171                 3,358
Thomas GA         NEW COVENANT                                        172                     0
Thomas GA         REMINGTON                                           171                   238
Thomas GA         REMINGTON                                           172                 3,111
Thomas GA         SCOTT                                               171                   569
Thomas GA         SCOTT                                               172                 3,063
Walton GA         BROKEN ARROW                                        111                 2,993
Walton GA         BROKEN ARROW                                        112                 3,003
Ware GA           100                                                 174                 2,672
Ware GA           100                                                 176                 3,692
Ware GA           200A                                                174                     0
Ware GA           200A                                                176                 4,133
Ware GA           304                                                 174                     0
Ware GA           304                                                 176                 2,107
Ware GA           400                                                 174                 2,506
Ware GA           400                                                 176                 2,526
Whitfield GA      VARNELL                                             004                 7,389
Whitfield GA      VARNELL                                             006                   712
Wilkes GA         3172A - YOUNG                                       123                 1,083
                  FARMER'S
Wilkes GA         3172A - YOUNG                                       133                   553
                  FARMER'S
Wilkes GA         3173B - RAYLE CITY HALL                             123                    33
Wilkes GA         3173B - RAYLE CITY HALL                             133                   889



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               EXHIBIT AH-2
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      User:
Plan Name: Enacted House B-V-C
 Plan Type: House


Political Subdivison Splits Between Districts
Sunday, December 4, 2022                                                                                  8:29 AM
                                                   Split Counts
Number of subdivisions split into more than one district: Number of splits involving no population:
County                                            73      County                                             0
Voting District                                  367      Voting District                                  135

Number of times a subdivision is split into multiple districts:
County                                              215
Voting District                                     403

County                      Voting District                                              District      Population
Split Counties:
Appling GA                                                                                   156            14,210
Appling GA                                                                                   178             4,234
Barrow GA                                                                                    114            14,748
Barrow GA                                                                                    116            62,437
Barrow GA                                                                                    117             6,320
Bartow GA                                                                                     14            41,245
Bartow GA                                                                                     15            59,545
Bartow GA                                                                                     16             8,111
Bibb GA                                                                                      140             3,469
Bibb GA                                                                                      141            44,405
Bibb GA                                                                                      142            51,695
Bibb GA                                                                                      143            52,996
Bibb GA                                                                                      144             4,781
Bryan GA                                                                                     160            11,008
Bryan GA                                                                                     164            21,022
Bryan GA                                                                                     166            12,708
Bulloch GA                                                                                   158            14,028
Bulloch GA                                                                                   159            15,533
Bulloch GA                                                                                   160            51,538
Butts GA                                                                                     110            10,400
Butts GA                                                                                     129            15,034
Camden GA                                                                                    174             8,519
Camden GA                                                                                    180            46,249
Carroll GA                                                                                    18            32,351
Carroll GA                                                                                    68            53,466
Carroll GA                                                                                    69            30,477
Carroll GA                                                                                    70             2,854
Catoosa GA                                                                                     2            10,903
Catoosa GA                                                                                     3            56,969
Charlton GA                                                                                  174            11,665
Charlton GA                                                                                  180               853
Chatham GA                                                                                   161            41,351
Chatham GA                                                                                   162            56,476


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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District    Population
Chatham GA                                                            163           54,068
Chatham GA                                                            164           40,343
Chatham GA                                                            165           55,158
Chatham GA                                                            166           47,895
Cherokee GA                                                            20           63,416
Cherokee GA                                                            21           68,288
Cherokee GA                                                            22           44,566
Cherokee GA                                                            23           68,767
Cherokee GA                                                            46           21,583
Clarke GA                                                             117           35,546
Clarke GA                                                             118           57,487
Clarke GA                                                             119           35,638
Clayton GA                                                             60           19,628
Clayton GA                                                             63            8,181
Clayton GA                                                             74           59,453
Clayton GA                                                             75           59,971
Clayton GA                                                             76           42,103
Clayton GA                                                             77           59,646
Clayton GA                                                             78           48,613
Cobb GA                                                                34           56,693
Cobb GA                                                                35           57,886
Cobb GA                                                                36           60,211
Cobb GA                                                                37           59,857
Cobb GA                                                                38           62,943
Cobb GA                                                                39           60,869
Cobb GA                                                                40           60,011
Cobb GA                                                                41           57,976
Cobb GA                                                                42           60,349
Cobb GA                                                                43           59,696
Cobb GA                                                                44           62,374
Cobb GA                                                                45           49,883
Cobb GA                                                                46           39,366
Cobb GA                                                                53           12,302
Cobb GA                                                                61            5,733
Coffee GA                                                             155            5,441
Coffee GA                                                             169           37,651
Colquitt GA                                                           171           10,510
Colquitt GA                                                           172           35,388
Columbia GA                                                            33            1,309
Columbia GA                                                           121           54,743
Columbia GA                                                           122           68,296
Columbia GA                                                           123           31,662
Coweta GA                                                              70           60,499
Coweta GA                                                              71           54,717
Coweta GA                                                              72           14,084
Coweta GA                                                             132           16,858
Dawson GA                                                               7            2,409



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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District    Population
Dawson GA                                                               9           24,389
Decatur GA                                                            171           21,683
Decatur GA                                                            173            7,684
DeKalb GA                                                              79           60,655
DeKalb GA                                                              80           42,704
DeKalb GA                                                              81           50,903
DeKalb GA                                                              82           60,104
DeKalb GA                                                              83           58,151
DeKalb GA                                                              84           58,926
DeKalb GA                                                              85           58,672
DeKalb GA                                                              86           58,735
DeKalb GA                                                              87           61,907
DeKalb GA                                                              88           58,573
DeKalb GA                                                              89           59,113
DeKalb GA                                                              90           30,958
DeKalb GA                                                              91           27,241
DeKalb GA                                                              92           29,509
DeKalb GA                                                              93           18,555
DeKalb GA                                                              94           29,676
Dougherty GA                                                          151            5,054
Dougherty GA                                                          153           48,115
Dougherty GA                                                          154           32,621
Douglas GA                                                             61           25,312
Douglas GA                                                             62           21,646
Douglas GA                                                             65            8,399
Douglas GA                                                             66           47,711
Douglas GA                                                             67           34,863
Douglas GA                                                             68            6,306
Effingham GA                                                          159           28,016
Effingham GA                                                          161           36,753
Fayette GA                                                             63           26,136
Fayette GA                                                             64           26,358
Fayette GA                                                             71            7,223
Fayette GA                                                             72           48,005
Fayette GA                                                             73           11,472
Floyd GA                                                               12           28,633
Floyd GA                                                               13           55,378
Floyd GA                                                               14           14,573
Forsyth GA                                                              9            4,593
Forsyth GA                                                             22           29,122
Forsyth GA                                                             24           74,474
Forsyth GA                                                             25           72,065
Forsyth GA                                                             26           71,029
Fulton GA                                                              22            4,650
Fulton GA                                                              25            6,653
Fulton GA                                                              40            3,846
Fulton GA                                                              45            8,260



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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District    Population
Fulton GA                                                              47           64,114
Fulton GA                                                              48           55,778
Fulton GA                                                              49           60,907
Fulton GA                                                              50           58,422
Fulton GA                                                              51           56,695
Fulton GA                                                              52           61,643
Fulton GA                                                              53           46,920
Fulton GA                                                              54           69,697
Fulton GA                                                              55           61,999
Fulton GA                                                              56           61,095
Fulton GA                                                              57           66,540
Fulton GA                                                              58           65,527
Fulton GA                                                              59           58,222
Fulton GA                                                              60           38,499
Fulton GA                                                              61           28,309
Fulton GA                                                              62           44,259
Fulton GA                                                              63           24,491
Fulton GA                                                              64           38,143
Fulton GA                                                              65           59,434
Fulton GA                                                              80           19,750
Fulton GA                                                              95            2,857
Glynn GA                                                              167           27,499
Glynn GA                                                              179           57,000
Gordon GA                                                               5           49,254
Gordon GA                                                              11            8,290
Gwinnett GA                                                            81            6,986
Gwinnett GA                                                            93           44,561
Gwinnett GA                                                            94           29,280
Gwinnett GA                                                            95           56,769
Gwinnett GA                                                            96           63,121
Gwinnett GA                                                            97           67,840
Gwinnett GA                                                            98           69,467
Gwinnett GA                                                            99           57,117
Gwinnett GA                                                           100           62,039
Gwinnett GA                                                           101           61,586
Gwinnett GA                                                           102           60,423
Gwinnett GA                                                           103           41,095
Gwinnett GA                                                           104           70,403
Gwinnett GA                                                           105           68,469
Gwinnett GA                                                           106           61,283
Gwinnett GA                                                           107           61,892
Gwinnett GA                                                           108           62,204
Gwinnett GA                                                           114           12,527
Habersham GA                                                           10           36,750
Habersham GA                                                           28            9,281
Hall GA                                                                27           54,243
Hall GA                                                                29           59,633



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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District    Population
Hall GA                                                                30           61,636
Hall GA                                                               103           27,624
Haralson GA                                                            16            4,847
Haralson GA                                                            18           25,072
Harris GA                                                             133           20,486
Harris GA                                                             134            9,226
Harris GA                                                             137            4,956
Henry GA                                                               73           20,859
Henry GA                                                               76           18,186
Henry GA                                                               78           15,299
Henry GA                                                               90           20,353
Henry GA                                                              109           49,954
Henry GA                                                              110           34,050
Henry GA                                                              111           72,223
Henry GA                                                              130            9,788
Houston GA                                                            140           18,453
Houston GA                                                            144            8,555
Houston GA                                                            146           66,372
Houston GA                                                            147           56,551
Houston GA                                                            148           13,702
Jackson GA                                                             31           68,459
Jackson GA                                                            117            7,448
Jeff Davis GA                                                         149            5,713
Jeff Davis GA                                                         156            2,998
Jeff Davis GA                                                         169            6,068
Jefferson GA                                                          127           12,808
Jefferson GA                                                          128            2,901
Johnson GA                                                            128            5,458
Johnson GA                                                            150            3,731
Jones GA                                                              129           21,060
Jones GA                                                              144            7,287
Lamar GA                                                              130            9,732
Lamar GA                                                              131            8,768
Laurens GA                                                            144            3,215
Laurens GA                                                            149            1,894
Laurens GA                                                            150           44,461
Liberty GA                                                            164            9,453
Liberty GA                                                            168           55,803
Lowndes GA                                                            174           16,918
Lowndes GA                                                            175           26,401
Lowndes GA                                                            176           20,843
Lowndes GA                                                            177           54,089
Madison GA                                                             32            6,915
Madison GA                                                             33           23,205
McDuffie GA                                                           121           17,199
McDuffie GA                                                           128            4,433
Meriwether GA                                                         132            7,462



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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District    Population
Meriwether GA                                                         137           13,151
Monroe GA                                                             129            5,312
Monroe GA                                                             140            7,117
Monroe GA                                                             141           15,528
Murray GA                                                               5            6,097
Murray GA                                                               6           16,989
Murray GA                                                              11           16,887
Muscogee GA                                                           133           12,190
Muscogee GA                                                           134           50,752
Muscogee GA                                                           135           52,783
Muscogee GA                                                           136           59,740
Muscogee GA                                                           137           31,457
Newton GA                                                             109            3,704
Newton GA                                                             110           14,135
Newton GA                                                             112           38,927
Newton GA                                                             113           55,717
Oconee GA                                                             117           13,264
Oconee GA                                                             119           28,535
Paulding GA                                                            17           68,483
Paulding GA                                                            19           63,837
Paulding GA                                                            66           13,433
Paulding GA                                                            67           22,908
Peach GA                                                              139           13,888
Peach GA                                                              140           14,093
Putnam GA                                                             120           14,378
Putnam GA                                                             145            7,669
Richmond GA                                                           123           22,455
Richmond GA                                                           124           52,995
Richmond GA                                                           125           55,228
Richmond GA                                                           126           30,938
Richmond GA                                                           127           44,991
Rockdale GA                                                            90            4,781
Rockdale GA                                                            91           36,085
Rockdale GA                                                            92           32,567
Rockdale GA                                                           109            7,777
Rockdale GA                                                           113            6,899
Rockdale GA                                                           114            5,461
Spalding GA                                                            73           27,319
Spalding GA                                                           130           39,987
Sumter GA                                                             138           26,405
Sumter GA                                                             152            3,211
Thomas GA                                                             172            7,590
Thomas GA                                                             173           21,596
Thomas GA                                                             175           16,612
Tift GA                                                               155           12,826
Tift GA                                                               170           18,022
Tift GA                                                               172           10,496



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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District    Population
Troup GA                                                               69           13,231
Troup GA                                                              132           31,849
Troup GA                                                              133           24,346
Walker GA                                                               1           36,499
Walker GA                                                               2           31,155
Walton GA                                                             114           35,610
Walton GA                                                             115           61,063
Ware GA                                                               174            7,336
Ware GA                                                               176           18,388
Ware GA                                                               180           10,527
Wayne GA                                                              157           18,183
Wayne GA                                                              178           11,961
White GA                                                                8            5,864
White GA                                                               10           19,770
White GA                                                               27            2,369
Whitfield GA                                                            2           11,592
Whitfield GA                                                            4           54,825
Whitfield GA                                                            6           36,447
Wilkes GA                                                              33            2,495
Wilkes GA                                                             120            7,070
Split VTDs:
Appling GA        3C                                                  156            2,057
Appling GA        3C                                                  178              458
Barrow GA         01                                                  114            1,154
Barrow GA         01                                                  116            4,042
Barrow GA         08                                                  116            2,976
Barrow GA         08                                                  117            1,796
Barrow GA         16                                                  114            6,246
Barrow GA         16                                                  116            3,522
Bartow GA         CARTERSVILLE EAST                                    14              299
Bartow GA         CARTERSVILLE EAST                                    15           11,282
Bartow GA         CENTER                                               14            1,406
Bartow GA         CENTER                                               15            3,771
Bartow GA         EUHARLEE                                             15            3,295
Bartow GA         EUHARLEE                                             16            4,142
Bartow GA         ZENA DRIVE                                           14                0
Bartow GA         ZENA DRIVE                                           15           10,158
Bibb GA           GODFREY 1                                           142            3,708
Bibb GA           GODFREY 1                                           143            7,226
Bibb GA           VINEVILLE 4                                         141            2,859
Bibb GA           VINEVILLE 4                                         142            2,936
Bryan GA          DANIELSIDING                                        164            1,268
Bryan GA          DANIELSIDING                                        166            1,741
Bryan GA          HWY 144 EAST                                        164            4,481
Bryan GA          HWY 144 EAST                                        166            4,778
Bryan GA          J.F.GREGORY PARK                                    164            3,162
Bryan GA          J.F.GREGORY PARK                                    166              471


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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District    Population
Bulloch GA        HAGIN                                               159            2,376
Bulloch GA        HAGIN                                               160            1,118
Bulloch GA        REGISTER                                            158              715
Bulloch GA        REGISTER                                            160              800
Butts GA          BUTTS CO COMM C                                     110           10,400
Butts GA          BUTTS CO COMM C                                     129           15,034
Carroll GA        BETHANY                                              18            1,785
Carroll GA        BETHANY                                              68            4,801
Carroll GA        BONNER                                               18            5,952
Carroll GA        BONNER                                               68               12
Carroll GA        CLEM                                                 18              310
Carroll GA        CLEM                                                 69            4,462
Charlton GA       AMERICAN LEGION                                     174            1,026
Charlton GA       AMERICAN LEGION                                     180               20
Chatham GA        BLOOMINGDALE                                        161              104
                  COMMUNITY CENTER
Chatham GA        BLOOMINGDALE                                        164            4,750
                  COMMUNITY CENTER
Chatham GA        GARDEN CITY SENIOR                                  161                   0
                  CENTER
Chatham GA        GARDEN CITY SENIOR                                  162            2,457
                  CENTER
Chatham GA        GEORGETOWN                                          164            5,562
                  ELEMENTAR
Chatham GA        GEORGETOWN                                          166                   0
                  ELEMENTAR
Chatham GA        ISLANDS CHRISTIAN CH                                165                0
Chatham GA        ISLANDS CHRISTIAN CH                                166            3,993
Chatham GA        JONESVILLE BAPT CH                                  162                0
Chatham GA        JONESVILLE BAPT CH                                  163            4,415
Chatham GA        PB EDWARDS                                          161            2,072
                  GYMNASIUM
Chatham GA        PB EDWARDS                                          162                   0
                  GYMNASIUM
Chatham GA        POOLER CHRURCH                                      162                0
Chatham GA        POOLER CHRURCH                                      164            9,737
Chatham GA        POOLER CITY HALL                                    161            5,207
Chatham GA        POOLER CITY HALL                                    164                0
Chatham GA        PROGRESSIVE REC CTR                                 162                0
Chatham GA        PROGRESSIVE REC CTR                                 164            6,390
Chatham GA        SEED CHURCH                                         162            5,070
Chatham GA        SEED CHURCH                                         163               26
Chatham GA        SEVENTH DAY ADV CHR                                 161           11,988
Chatham GA        SEVENTH DAY ADV CHR                                 164                0
Chatham GA        SILK HOPE BAPTIST                                   162            1,639
                  CHURCH
Chatham GA        SILK HOPE BAPTIST                                   163                   0
                  CHURCH



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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District    Population
Chatham GA        THUNDERBOLT MUN                                     165            3,161
                  COMP
Chatham GA        THUNDERBOLT MUN                                     166                   0
                  COMP
Chatham GA        TRINITY LUTHERAN                                    165            2,651
                  CHURCH
Chatham GA        TRINITY LUTHERAN                                    166            2,272
                  CHURCH
Chatham GA        WINDSOR FOREST                                      165              785
                  BAPTIST CHURCH
                  SCHOOL
Chatham GA        WINDSOR FOREST                                      166            1,890
                  BAPTIST CHURCH
                  SCHOOL
Chatham GA        WOODVILLE-TOMPKINS                                  162              826
                  TECHNICAL INST
Chatham GA        WOODVILLE-TOMPKINS                                  165                   0
                  TECHNICAL INST
Cherokee GA       AIR ACRES                                            21            2,636
Cherokee GA       AIR ACRES                                            46            1,662
Cherokee GA       AVERY                                                21              885
Cherokee GA       AVERY                                                22            3,547
Cherokee GA       HICKORY FLAT                                         21            8,135
Cherokee GA       HICKORY FLAT                                         22            1,926
Cherokee GA       NEESE                                                20            6,449
Cherokee GA       NEESE                                                46            4,743
Cherokee GA       TEASLEY                                              21            8,524
Cherokee GA       TEASLEY                                              23            4,559
Cherokee GA       UNIVETER                                             22            3,706
Cherokee GA       UNIVETER                                             23            4,261
Clarke GA         4B                                                  117            4,311
Clarke GA         4B                                                  119            8,360
Clarke GA         7A                                                  117            3,195
Clarke GA         7A                                                  119            1,480
Clayton GA        JONESBORO 11                                         75            3,334
Clayton GA        JONESBORO 11                                         78            1,900
Clayton GA        JONESBORO 3                                          75            5,274
Clayton GA        JONESBORO 3                                          78              688
Clayton GA        LAKE CITY                                            74            3,222
Clayton GA        LAKE CITY                                            76            2,538
Clayton GA        LOVEJOY 1                                            75            5,018
Clayton GA        LOVEJOY 1                                            78              601
Clayton GA        LOVEJOY 5                                            75            3,878
Clayton GA        LOVEJOY 5                                            78            1,405
Cobb GA           Acworth 1A                                           35            7,489
Cobb GA           Acworth 1A                                           36                0
Cobb GA           Acworth 1C                                           35            7,335
Cobb GA           Acworth 1C                                           36                0



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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District     Population
Cobb GA           Austell 1A                                           38                0
Cobb GA           Austell 1A                                           39            7,650
Cobb GA           Austell 1A                                           61                0
Cobb GA           Bells Ferry 03                                       44            4,918
Cobb GA           Bells Ferry 03                                       46            3,763
Cobb GA           Big Shanty 01                                        34            3,264
Cobb GA           Big Shanty 01                                        35              311
Cobb GA           Big Shanty 01                                        44               22
Cobb GA           Birney 02                                            38            5,096
Cobb GA           Birney 02                                            40                0
Cobb GA           Chalker 01                                           34                0
Cobb GA           Chalker 01                                           37               15
Cobb GA           Chalker 01                                           44           11,175
Cobb GA           Cheatham Hill 03                                     37            3,685
Cobb GA           Cheatham Hill 03                                     41            1,461
Cobb GA           Clarkdale 01                                         38            1,859
Cobb GA           Clarkdale 01                                         39              947
Cobb GA           Clarkdale 02                                         38                0
Cobb GA           Clarkdale 02                                         39            1,423
Cobb GA           Clarkdale 02                                         61            5,733
Cobb GA           Cooper 01                                            38            8,476
Cobb GA           Cooper 01                                            41                0
Cobb GA           Dobbins 01                                           37                0
Cobb GA           Dobbins 01                                           41                0
Cobb GA           Dobbins 01                                           42           13,401
Cobb GA           Durham 01                                            35            3,172
Cobb GA           Durham 01                                            36            2,145
Cobb GA           East Piedmont 01                                     34                0
Cobb GA           East Piedmont 01                                     37            3,922
Cobb GA           Elizabeth 01                                         34            5,693
Cobb GA           Elizabeth 01                                         37              177
Cobb GA           Elizabeth 03                                         37            2,522
Cobb GA           Elizabeth 03                                         44            1,112
Cobb GA           Fair Oaks 04                                         37                0
Cobb GA           Fair Oaks 04                                         41           12,700
Cobb GA           Fullers Park 01                                      43            4,842
Cobb GA           Fullers Park 01                                      45                0
Cobb GA           Hayes 01                                             34            4,933
Cobb GA           Hayes 01                                             36               29
Cobb GA           Kemp 01                                              34            2,374
Cobb GA           Kemp 01                                              36                0
Cobb GA           Kennesaw 1A                                          34            2,504
Cobb GA           Kennesaw 1A                                          35              454
Cobb GA           Kennesaw 1A                                          44            1,485
Cobb GA           Kennesaw 2A                                          34            5,746
Cobb GA           Kennesaw 2A                                          36               94
Cobb GA           Kennesaw 3A                                          34            8,803



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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District    Population
Cobb GA           Kennesaw 3A                                          35               699
Cobb GA           Kennesaw 4A                                          34             4,163
Cobb GA           Kennesaw 4A                                          35             1,470
Cobb GA           Lassiter 01                                          44             2,748
Cobb GA           Lassiter 01                                          46             1,973
Cobb GA           Mableton 01                                          38             5,513
Cobb GA           Mableton 01                                          39             1,589
Cobb GA           Macland 01                                           36                 0
Cobb GA           Macland 01                                           38             5,734
Cobb GA           Marietta 1A                                          37             1,849
Cobb GA           Marietta 1A                                          42             8,145
Cobb GA           Marietta 2A                                          34               312
Cobb GA           Marietta 2A                                          37             2,163
Cobb GA           Marietta 2B                                          37             3,524
Cobb GA           Marietta 2B                                          41             2,545
Cobb GA           Marietta 3A                                          34             1,844
Cobb GA           Marietta 3A                                          37             6,039
Cobb GA           Marietta 3A                                          41             1,016
Cobb GA           Marietta 4A                                          34             2,452
Cobb GA           Marietta 4A                                          37               249
Cobb GA           Marietta 4B                                          34             1,966
Cobb GA           Marietta 4B                                          37             1,362
Cobb GA           Marietta 5A                                          37             2,320
Cobb GA           Marietta 5A                                          42             2,014
Cobb GA           Marietta 5B                                          34               299
Cobb GA           Marietta 5B                                          37             4,462
Cobb GA           Marietta 6A                                          37             1,532
Cobb GA           Marietta 6A                                          42             1,980
Cobb GA           Marietta 6A                                          43             1,042
Cobb GA           Marietta 7A                                          37               527
Cobb GA           Marietta 7A                                          42             6,384
Cobb GA           Mars Hill 02                                         34                10
Cobb GA           Mars Hill 02                                         36             3,911
Cobb GA           McEachern                                            36                 0
Cobb GA           McEachern                                            38             4,563
Cobb GA           Mount Bethel 03                                      43                 0
Cobb GA           Mount Bethel 03                                      45             4,590
Cobb GA           Nickajack 01                                         39                 0
Cobb GA           Nickajack 01                                         40                30
Cobb GA           Nickajack 01                                         53             6,096
Cobb GA           Norton Park 01                                       40             2,623
Cobb GA           Norton Park 01                                       41             5,178
Cobb GA           Oakdale 01                                           40             4,019
Cobb GA           Oakdale 01                                           53               592
Cobb GA           Oregon 02                                            38             1,164
Cobb GA           Oregon 02                                            41             7,196
Cobb GA           Oregon 03                                            37             4,487



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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District     Population
Cobb GA           Oregon 03                                            41             6,921
Cobb GA           Oregon 03                                            42             1,580
Cobb GA           Oregon 04                                            36                 0
Cobb GA           Oregon 04                                            37                 0
Cobb GA           Oregon 04                                            41             6,498
Cobb GA           Pine Mountain 01                                     34             1,319
Cobb GA           Pine Mountain 01                                     36             3,106
Cobb GA           Pope 01                                              44             2,697
Cobb GA           Pope 01                                              45             1,367
Cobb GA           Powder Springs 1A                                    38             6,426
Cobb GA           Powder Springs 1A                                    39                 0
Cobb GA           Powder Springs 1A                                    61                 0
Cobb GA           Powder Springs 3A                                    38             5,444
Cobb GA           Powder Springs 3A                                    39                 0
Cobb GA           Powers Ferry 01                                      42               464
Cobb GA           Powers Ferry 01                                      43             4,963
Cobb GA           Sewell Mill 01                                       43             2,069
Cobb GA           Sewell Mill 01                                       45             2,853
Cobb GA           Sewell Mill 03                                       37                 0
Cobb GA           Sewell Mill 03                                       42             1,886
Cobb GA           Sewell Mill 03                                       43             5,051
Cobb GA           Smyrna 1A                                            40             1,292
Cobb GA           Smyrna 1A                                            42             5,341
Cobb GA           Smyrna 2A                                            40             1,159
Cobb GA           Smyrna 2A                                            42             6,208
Cobb GA           Smyrna 3A                                            40             3,014
Cobb GA           Smyrna 3A                                            42             6,778
Cobb GA           Smyrna 5A                                            41             4,704
Cobb GA           Smyrna 5A                                            42             2,285
Cobb GA           Smyrna 7A                                            39             1,356
Cobb GA           Smyrna 7A                                            40             4,415
Cobb GA           Smyrna 7A                                            53             2,824
Cobb GA           Sweetwater 02                                        38             5,279
Cobb GA           Sweetwater 02                                        41                42
Cobb GA           Terrell Mill 01                                      42             3,883
Cobb GA           Terrell Mill 01                                      43             5,928
Cobb GA           Vinings 03                                           40             3,020
Cobb GA           Vinings 03                                           53             2,790
Coffee GA         BROXTON                                             155             2,177
Coffee GA         BROXTON                                             169             1,418
Colquitt GA       MOULTRIE                                            171                 0
Colquitt GA       MOULTRIE                                            172             8,718
Columbia GA       AUGUSTA CHRISTIAN                                   122                24
Columbia GA       AUGUSTA CHRISTIAN                                   123             3,125
Columbia GA       EUBANK/BLANCHARD                                     33                 6
                  CTR




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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District     Population
Columbia GA       EUBANK/BLANCHARD                                    121             2,000
                  CTR
Columbia GA       G A APOSTOLIC CHURCH                                121             2,376
Columbia GA       G A APOSTOLIC CHURCH                                123                 0
Columbia GA       MTZ COL FIRE DEPT #4                                121                 9
Columbia GA       MTZ COL FIRE DEPT #4                                123             3,157
Columbia GA       STEVENS CREEK CHURCH                                122                20
Columbia GA       STEVENS CREEK CHURCH                                123             3,392
Columbia GA       WOODLAWN BAPT                                       121                 0
                  CHURCH
Columbia GA       WOODLAWN BAPT                                       122             1,693
                  CHURCH
Coweta GA         ARTS CENTRE                                          70             9,234
Coweta GA         ARTS CENTRE                                          71             7,045
Coweta GA         TC CENTRAL                                           70             2,035
Coweta GA         TC CENTRAL                                          132             6,239
Coweta GA         TURIN                                                71             3,363
Coweta GA         TURIN                                                72             2,762
Decatur GA        BAINBRIDGE-COLISEUM                                 171             8,999
Decatur GA        BAINBRIDGE-COLISEUM                                 173             1,321
DeKalb GA         Ashford Park Elem                                    80                 0
                  (BHAVN)
DeKalb GA         Ashford Park Elem                                    81             3,479
                  (BHAVN)
DeKalb GA         Avondale (AVO)                                       84                0
DeKalb GA         Avondale (AVO)                                       85            3,567
DeKalb GA         Avondale High                                        84            1,667
DeKalb GA         Avondale High                                        85            2,183
DeKalb GA         Brockett Elem (TUC)                                  87            4,499
DeKalb GA         Brockett Elem (TUC)                                  88                0
DeKalb GA         Chamblee (CHA)                                       80                0
DeKalb GA         Chamblee (CHA)                                       81            7,314
DeKalb GA         Chamblee 2 (CHA)                                     79                0
DeKalb GA         Chamblee 2 (CHA)                                     80              472
DeKalb GA         Chamblee 2 (CHA)                                     81            3,875
DeKalb GA         Clairemont West (DEC)                                84            4,311
DeKalb GA         Clairemont West (DEC)                                85               92
DeKalb GA         Clairmont Road                                       82                0
DeKalb GA         Clairmont Road                                       84            4,525
DeKalb GA         Clarkston                                            85            9,809
DeKalb GA         Clarkston                                            86            4,500
DeKalb GA         Clarkston                                            87              445
DeKalb GA         Crossroads                                           87            2,891
DeKalb GA         Crossroads                                           88              474
DeKalb GA         Doraville North (DOR)                                79            5,136
DeKalb GA         Doraville North (DOR)                                81            2,764
DeKalb GA         Dresden Elem (CHA)                                   81            2,899
DeKalb GA         Dresden Elem (CHA)                                   82           10,190


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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District     Population
DeKalb GA         Dunaire Elem                                         85                 0
DeKalb GA         Dunaire Elem                                         86             2,974
DeKalb GA         East Lake (ATL)                                      83             4,790
DeKalb GA         East Lake (ATL)                                      89               161
DeKalb GA         Embry Hills                                          81             1,633
DeKalb GA         Embry Hills                                          88             1,243
DeKalb GA         Epworth (ATL)                                        83                18
DeKalb GA         Epworth (ATL)                                        89             5,078
DeKalb GA         Evansdale Elem                                       81             4,748
DeKalb GA         Evansdale Elem                                       87               620
DeKalb GA         Fairington Elem                                      91             7,575
DeKalb GA         Fairington Elem                                      92                 0
DeKalb GA         Fernbank                                             82                59
DeKalb GA         Fernbank                                             83             2,599
DeKalb GA         Flat Rock Elem                                       90                 0
DeKalb GA         Flat Rock Elem                                       91             4,059
DeKalb GA         Georgetown (DUN)                                     79             6,102
DeKalb GA         Georgetown (DUN)                                     80                 0
DeKalb GA         Glennwood (DEC)                                      84             2,964
DeKalb GA         Glennwood (DEC)                                      85               316
DeKalb GA         Huntley Hills Elem (CHA)                             79             3,847
DeKalb GA         Huntley Hills Elem (CHA)                             80             1,589
DeKalb GA         Idlewood Elem (TUC)                                  86                 0
DeKalb GA         Idlewood Elem (TUC)                                  87             3,662
DeKalb GA         Jolly Elem                                           85                74
DeKalb GA         Jolly Elem                                           86             6,903
DeKalb GA         Jolly Elem                                           87                 0
DeKalb GA         Lakeside High                                        82             2,035
DeKalb GA         Lakeside High                                        86             2,509
DeKalb GA         Lithonia (LIT)                                       92             2,631
DeKalb GA         Lithonia (LIT)                                       93                31
DeKalb GA         Livsey Elem                                          81             1,777
DeKalb GA         Livsey Elem                                          88                 0
DeKalb GA         McLendon                                             85             5,881
DeKalb GA         McLendon                                             86                 0
DeKalb GA         Memorial South                                       86             4,773
DeKalb GA         Memorial South                                       87                 0
DeKalb GA         Midvale Elem (TUC)                                   81             2,412
DeKalb GA         Midvale Elem (TUC)                                   87               728
DeKalb GA         Miller Grove                                         87                35
DeKalb GA         Miller Grove                                         92             6,326
DeKalb GA         Montreal (TUC)                                       86             3,388
DeKalb GA         Montreal (TUC)                                       87               540
DeKalb GA         North Decatur                                        84                12
DeKalb GA         North Decatur                                        85             3,878
DeKalb GA         Panola Road                                          92             3,296
DeKalb GA         Panola Road                                          94               460



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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District     Population
DeKalb GA         Peachtree Middle (DUN)                               79             5,036
DeKalb GA         Peachtree Middle (DUN)                               80                 0
DeKalb GA         Pine Lake (PIN)                                      86                 0
DeKalb GA         Pine Lake (PIN)                                      87               752
DeKalb GA         Pleasantdale Road                                    81               507
DeKalb GA         Pleasantdale Road                                    88             8,589
DeKalb GA         Princeton Elem                                       93               203
DeKalb GA         Princeton Elem                                       94             2,861
DeKalb GA         Rainbow Elem                                         85                 0
DeKalb GA         Rainbow Elem                                         90             4,581
DeKalb GA         Redan Middle                                         87             1,419
DeKalb GA         Redan Middle                                         88             1,633
DeKalb GA         Rock Chapel Road                                     92                14
DeKalb GA         Rock Chapel Road                                     93             5,418
DeKalb GA         Rockbridge Elem                                      87             5,334
DeKalb GA         Rockbridge Elem                                      88                55
DeKalb GA         Scott                                                82                 2
DeKalb GA         Scott                                                83                 0
DeKalb GA         Scott                                                84             3,914
DeKalb GA         South Hairston                                       86                 0
DeKalb GA         South Hairston                                       87             4,691
DeKalb GA         Stone Mountain Middle                                87               656
                  (TUC)
DeKalb GA         Stone Mountain Middle                                88             3,960
                  (TUC)
DeKalb GA         Stonecrest Library                                   91             5,831
DeKalb GA         Stonecrest Library                                   92                 0
DeKalb GA         Stoneview Elem                                       92             3,735
DeKalb GA         Stoneview Elem                                       93                 0
DeKalb GA         Terry Mill                                           83                 0
DeKalb GA         Terry Mill                                           89             2,987
DeKalb GA         Tucker (TUC)                                         81                56
DeKalb GA         Tucker (TUC)                                         88             4,854
DeKalb GA         Tucker Library (TUC)                                 87             2,394
DeKalb GA         Tucker Library (TUC)                                 88             1,635
DeKalb GA         Winnona Park (DEC)                                   84             2,863
DeKalb GA         Winnona Park (DEC)                                   85                21
DeKalb GA         Woodrow Road                                         91             4,576
DeKalb GA         Woodrow Road                                         92                 0
DeKalb GA         Woodward Elem (BHAVN)                                80             3,112
DeKalb GA         Woodward Elem (BHAVN)                                82             1,271
Dougherty GA      DARTON COLLEGE                                      151             2,804
Dougherty GA      DARTON COLLEGE                                      154             3,679
Douglas GA        CHESTNUT LOG                                         62             1,063
Douglas GA        CHESTNUT LOG                                         66             4,565
Effingham GA      4B                                                  159             1,960
Effingham GA      4B                                                  161               959



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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District     Population
Fayette GA        FIELDING RIDGE                                       64                0
Fayette GA        FIELDING RIDGE                                       71            1,905
Fayette GA        FIELDING RIDGE                                       72            2,701
Fayette GA        KEDRON                                               64                0
Fayette GA        KEDRON                                               71            5,297
Fayette GA        KEDRON                                               72            2,168
Fayette GA        MCINTOSH                                             64                0
Fayette GA        MCINTOSH                                             72            4,251
Fayette GA        MORNING CREEK                                        63            1,675
Fayette GA        MORNING CREEK                                        64            1,805
Fayette GA        OAK RIDGE                                            63            1,960
Fayette GA        OAK RIDGE                                            64              780
Fayette GA        RAREOVER                                             64            3,691
Fayette GA        RAREOVER                                             71               21
Fayette GA        WHITEWATER                                           63                0
Fayette GA        WHITEWATER                                           72            4,523
Fayette GA        WILLOW POND                                          63            2,070
Fayette GA        WILLOW POND                                          72            2,097
Floyd GA          CHULIO                                               13                0
Floyd GA          CHULIO                                               14            1,626
Floyd GA          EAST ROME                                            13            6,778
Floyd GA          EAST ROME                                            14                0
Floyd GA          GARDEN LAKES                                         12            8,841
Floyd GA          GARDEN LAKES                                         13                0
Floyd GA          GLENWOOD                                             12                0
Floyd GA          GLENWOOD                                             13            5,920
Floyd GA          MT ALTO NORTH                                        12            2,184
Floyd GA          MT ALTO NORTH                                        13            3,405
Floyd GA          NORTH ROME                                           13            4,939
Floyd GA          NORTH ROME                                           14              317
Forsyth GA        BRANDYWINE                                           22           13,394
Forsyth GA        BRANDYWINE                                           25                0
Forsyth GA        COAL MOUNTAIN                                        24            3,386
Forsyth GA        COAL MOUNTAIN                                        26            6,733
Forsyth GA        CONCORD                                               9            3,689
Forsyth GA        CONCORD                                              26           11,980
Forsyth GA        CUMMING                                              24            6,586
Forsyth GA        CUMMING                                              25              490
Forsyth GA        CUMMING                                              26                0
Forsyth GA        HEARDSVILLE                                           9              904
Forsyth GA        HEARDSVILLE                                          24           12,096
Forsyth GA        MASHBURN                                             25            1,454
Forsyth GA        MASHBURN                                             26            8,707
Forsyth GA        MIDWAY                                               22            4,056
Forsyth GA        MIDWAY                                               24           26,370
Forsyth GA        OTWELL                                               24           16,771
Forsyth GA        OTWELL                                               26            1,689



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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District     Population
Forsyth GA        POLO                                                 22           11,672
Forsyth GA        POLO                                                 24            9,265
Forsyth GA        POLO                                                 25            4,921
Forsyth GA        SOUTH FORSYTH                                        25           20,776
Forsyth GA        SOUTH FORSYTH                                        26            1,175
Forsyth GA        WINDERMERE                                           25            8,354
Forsyth GA        WINDERMERE                                           26            8,484
Fulton GA         01S                                                  59               10
Fulton GA         01S                                                  60            2,516
Fulton GA         02G                                                  58            4,436
Fulton GA         02G                                                  59                0
Fulton GA         04F                                                  56            4,748
Fulton GA         04F                                                  57                0
Fulton GA         04I                                                  56                0
Fulton GA         04I                                                  57            4,117
Fulton GA         06L2                                                 55              824
Fulton GA         06L2                                                 56                0
Fulton GA         06Q                                                  54              692
Fulton GA         06Q                                                  55                0
Fulton GA         09B                                                  53              582
Fulton GA         09B                                                  61                0
Fulton GA         10D                                                  53            6,067
Fulton GA         10D                                                  61                0
Fulton GA         11B                                                  55            7,190
Fulton GA         11B                                                  61                0
Fulton GA         11C                                                  55            3,746
Fulton GA         11C                                                  61               12
Fulton GA         12A                                                  58            5,731
Fulton GA         12A                                                  60                0
Fulton GA         AP06                                                 47                0
Fulton GA         AP06                                                 49            2,488
Fulton GA         AP12D                                                47                0
Fulton GA         AP12D                                                49                0
Fulton GA         AP14                                                 49            4,390
Fulton GA         AP14                                                 50                0
Fulton GA         EP03A                                                60            6,508
Fulton GA         EP03A                                                62                0
Fulton GA         EP04B                                                61                0
Fulton GA         EP04B                                                62            3,706
Fulton GA         FA01B                                                64               34
Fulton GA         FA01B                                                65            9,545
Fulton GA         JC04A                                                25            5,777
Fulton GA         JC04A                                                49                0
Fulton GA         JC10                                                 49                0
Fulton GA         JC10                                                 50            4,079
Fulton GA         RW05                                                 48            5,635
Fulton GA         RW05                                                 49                0



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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District     Population
Fulton GA         SC05E                                                62               826
Fulton GA         SC05E                                                65                 0
Fulton GA         SC08B                                                64             5,294
Fulton GA         SC08B                                                65                53
Fulton GA         SC08D                                                63               795
Fulton GA         SC08D                                                64                 0
Fulton GA         SC08E                                                64             1,062
Fulton GA         SC08E                                                65                 0
Fulton GA         SC10                                                 63             2,273
Fulton GA         SC10                                                 64                 0
Fulton GA         SC19B                                                62                 0
Fulton GA         SC19B                                                64             2,306
Fulton GA         SC212                                                64             6,110
Fulton GA         SC212                                                65                 0
Fulton GA         SS14                                                 54                 0
Fulton GA         SS14                                                 80             1,865
Fulton GA         UC01D                                                64                 0
Fulton GA         UC01D                                                65                25
Glynn GA          GLYNDALE SCHOOL                                     167                 0
Glynn GA          GLYNDALE SCHOOL                                     179             3,325
Glynn GA          OGLETHORPE POINT                                    167                 6
Glynn GA          OGLETHORPE POINT                                    179             2,945
Gordon GA         RED BUD                                               5             4,259
Gordon GA         RED BUD                                              11                33
Gordon GA         SONORAVILLE                                           5             4,744
Gordon GA         SONORAVILLE                                          11             3,353
Gwinnett GA       BAYCREEK G                                          105                14
Gwinnett GA       BAYCREEK G                                          114             9,451
Gwinnett GA       BAYCREEK H                                          105             6,840
Gwinnett GA       BAYCREEK H                                          114             3,076
Gwinnett GA       CATES C                                              93                21
Gwinnett GA       CATES C                                             106             4,271
Gwinnett GA       CATES J                                              94             2,437
Gwinnett GA       CATES J                                             106             2,773
Gwinnett GA       DULUTH C                                             95             1,245
Gwinnett GA       DULUTH C                                             97             2,426
Gwinnett GA       DULUTH F                                             96             7,245
Gwinnett GA       DULUTH F                                            101             5,149
Gwinnett GA       DULUTH I                                             96             1,587
Gwinnett GA       DULUTH I                                             97             5,417
Gwinnett GA       GARNERS B                                            94             4,391
Gwinnett GA       GARNERS B                                           108                 0
Gwinnett GA       GARNERS D                                            93             2,449
Gwinnett GA       GARNERS D                                            94             2,632
Gwinnett GA       HARBINS A                                           104             5,533
Gwinnett GA       HARBINS A                                           105             5,579
Gwinnett GA       HOG MOUNTAIN B                                      103             4,049



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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District     Population
Gwinnett GA       HOG MOUNTAIN B                                      104            2,265
Gwinnett GA       HOG MOUNTAIN C                                       98            3,935
Gwinnett GA       HOG MOUNTAIN C                                      103            2,756
Gwinnett GA       LAWRENCEVILLE D                                     104            1,845
Gwinnett GA       LAWRENCEVILLE D                                     105            8,966
Gwinnett GA       LAWRENCEVILLE M                                     104           11,983
Gwinnett GA       LAWRENCEVILLE M                                     105               18
Gwinnett GA       MARTINS A                                           100            4,916
Gwinnett GA       MARTINS A                                           101            2,061
Gwinnett GA       PINCKNEYVILLE W                                      95            2,405
Gwinnett GA       PINCKNEYVILLE W                                      96            5,901
Gwinnett GA       PINCKNEYVILLE Y                                      99            4,668
Gwinnett GA       PINCKNEYVILLE Y                                     108            4,872
Gwinnett GA       PUCKETTS D                                          103            5,310
Gwinnett GA       PUCKETTS D                                          104                0
Gwinnett GA       ROCKBRIDGE B                                         94            6,339
Gwinnett GA       ROCKBRIDGE B                                        106                0
Gwinnett GA       ROCKBRIDGE C                                         93            6,602
Gwinnett GA       ROCKBRIDGE C                                         94              577
Gwinnett GA       ROCKBRIDGE E                                         93                0
Gwinnett GA       ROCKBRIDGE E                                         94            7,169
Gwinnett GA       ROCKBRIDGE E                                        106                0
Gwinnett GA       ROCKYCREEK B                                        103            7,660
Gwinnett GA       ROCKYCREEK B                                        104                0
Gwinnett GA       SUGAR HILL A                                         97              938
Gwinnett GA       SUGAR HILL A                                         98            7,715
Gwinnett GA       SUGAR HILL A                                        102              691
Habersham GA      HABERSHAM NORTH                                      10            9,436
Habersham GA      HABERSHAM NORTH                                      28            3,108
Habersham GA      HABERSHAM SOUTH                                      10            5,870
Habersham GA      HABERSHAM SOUTH                                      28            4,789
Habersham GA      TOWN OF MOUNT AIRY                                   10               39
Habersham GA      TOWN OF MOUNT AIRY                                   28            1,384
Hall GA           CHICOPEE                                             29            7,620
Hall GA           CHICOPEE                                             30            1,612
Hall GA           FRIENDSHIP III                                       30            5,347
Hall GA           FRIENDSHIP III                                      103              736
Hall GA           FRIENDSHIP IV                                        30            1,095
Hall GA           FRIENDSHIP IV                                       103            2,991
Hall GA           GAINESVILLE II                                       29            6,197
Hall GA           GAINESVILLE II                                       30              269
Hall GA           GAINESVILLE III                                      27            2,267
Hall GA           GAINESVILLE III                                      29           12,586
Hall GA           GAINESVILLE IV                                       29            4,627
Hall GA           GAINESVILLE IV                                       30            1,659
Hall GA           GAINESVILLE V                                        27                0
Hall GA           GAINESVILLE V                                        29            2,799



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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District     Population
Hall GA           GLADE                                                27             2,236
Hall GA           GLADE                                                29             4,634
Hall GA           ROBERTS                                              30             4,629
Hall GA           ROBERTS                                             103             3,190
Hall GA           TADMORE                                              27             7,382
Hall GA           TADMORE                                              30             6,967
Hall GA           WHELCHEL                                             27             3,838
Hall GA           WHELCHEL                                             29             2,213
Hall GA           WILSON                                               29             7,597
Hall GA           WILSON                                               30             1,185
Henry GA          FLIPPEN                                             109             1,732
Henry GA          FLIPPEN                                             111             3,954
Henry GA          HICKORY FLAT                                        109             4,198
Henry GA          HICKORY FLAT                                        111             2,954
Henry GA          LAKE DOW                                            110             6,530
Henry GA          LAKE DOW                                            111                 0
Henry GA          LIGHTHOUSE                                           76             4,709
Henry GA          LIGHTHOUSE                                          109                71
Henry GA          MCDONOUGH CENTRAL                                   109             3,179
Henry GA          MCDONOUGH CENTRAL                                   111             2,790
Henry GA          MOUNT CARMEL                                         73             2,462
Henry GA          MOUNT CARMEL                                        111             5,012
Henry GA          STAGECOACH                                           76                 0
Henry GA          STAGECOACH                                          109             5,193
Henry GA          STOCKBRIDGE EAST-WEST                                78                 0
Henry GA          STOCKBRIDGE EAST-WEST                                90             1,690
Henry GA          STOCKBRIDGE EAST-WEST                               109             7,992
Henry GA          SWAN LAKE                                            76             2,868
Henry GA          SWAN LAKE                                            90             1,890
Henry GA          TUSSAHAW                                            110             3,638
Henry GA          TUSSAHAW                                            111             1,145
Houston GA        BMS                                                 144             8,555
Houston GA        BMS                                                 146             5,543
Houston GA        BMS                                                 148                 0
Houston GA        CENT                                                140             1,311
Houston GA        CENT                                                147            10,573
Houston GA        CGTC                                                146             7,249
Houston GA        CGTC                                                148                 0
Houston GA        FMMS                                                146            13,329
Houston GA        FMMS                                                147                 0
Houston GA        HEFS                                                146                12
Houston GA        HEFS                                                148             1,869
Houston GA        HHPC                                                140             5,357
Houston GA        HHPC                                                147            10,034
Houston GA        RECR                                                140             8,337
Houston GA        RECR                                                144                 0
Houston GA        RECR                                                147             9,461



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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District     Population
Houston GA        ROZR                                                146           18,405
Houston GA        ROZR                                                148            2,437
Houston GA        TWPK                                                146            5,551
Houston GA        TWPK                                                147              836
Houston GA        VHS                                                 146            2,789
Houston GA        VHS                                                 148            6,836
Jackson GA        Central Jackson                                      31           24,383
Jackson GA        Central Jackson                                     117                0
Jackson GA        South Jackson                                        31            3,962
Jackson GA        South Jackson                                       117            7,448
Jones GA          POPE                                                129            1,628
Jones GA          POPE                                                144              848
Lamar GA          BARNESVILLE FBC                                     130               12
Lamar GA          BARNESVILLE FBC                                     131            3,475
Lamar GA          SENIOR CITIZEN BLDG                                 130            1,969
Lamar GA          SENIOR CITIZEN BLDG                                 131                0
Laurens GA        BUCKEYE                                             144                0
Laurens GA        BUCKEYE                                             150            1,452
Lowndes GA        CLYATTVILLE                                         174            5,948
Lowndes GA        CLYATTVILLE                                         175            1,264
Lowndes GA        DASHER                                              174            5,198
Lowndes GA        DASHER                                              177              837
Lowndes GA        HAHIRA                                              175            4,384
Lowndes GA        HAHIRA                                              176            3,948
Lowndes GA        NORTHSIDE                                           175            9,903
Lowndes GA        NORTHSIDE                                           176              510
Lowndes GA        NORTHSIDE                                           177           35,177
Lowndes GA        RAINWATER                                           174               66
Lowndes GA        RAINWATER                                           175            9,467
Lowndes GA        RAINWATER                                           177            5,621
Lowndes GA        TRINITY                                             175            1,383
Lowndes GA        TRINITY                                             176           14,601
Lowndes GA        TRINITY                                             177            5,363
Madison GA        MILL                                                 32            1,956
Madison GA        MILL                                                 33              393
Monroe GA         FORSYTH                                             140            5,026
Monroe GA         FORSYTH                                             141            2,193
Murray GA         TOWN                                                  6            3,375
Murray GA         TOWN                                                 11            6,689
Muscogee GA       CUSSETA RD                                          135            5,273
Muscogee GA       CUSSETA RD                                          136            5,128
Muscogee GA       EPWORTH UMC                                         134            2,784
Muscogee GA       EPWORTH UMC                                         135            5,139
Muscogee GA       FORT/WADDELL                                        136            6,645
Muscogee GA       FORT/WADDELL                                        137            5,599
Muscogee GA       GENTIAN/REESE @LDS                                  134            5,355
Muscogee GA       GENTIAN/REESE @LDS                                  136            4,146



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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District     Population
Muscogee GA       OUR LADY OF LOURDES                                 135             6,772
Muscogee GA       OUR LADY OF LOURDES                                 136             7,004
Muscogee GA       ROTHSCHILD                                          136             2,129
Muscogee GA       ROTHSCHILD                                          137             9,341
Muscogee GA       ST ANDREWS/MIDLAND                                  134             5,899
Muscogee GA       ST ANDREWS/MIDLAND                                  136             5,582
Newton GA         BREWERS                                             110             1,085
Newton GA         BREWERS                                             112             3,953
Newton GA         COVINGTON MILLS                                     112             3,078
Newton GA         COVINGTON MILLS                                     113             1,355
Newton GA         DOWNS                                               109             3,704
Newton GA         DOWNS                                               110             4,917
Newton GA         LIVINGSTON                                          110             2,922
Newton GA         LIVINGSTON                                          113             3,415
Paulding GA       CARL SCOGGINS MID SC                                 17             6,380
Paulding GA       CARL SCOGGINS MID SC                                 67             3,368
Paulding GA       NEBO ELEMENTARY SCH                                  19             5,349
Paulding GA       NEBO ELEMENTARY SCH                                  66                 0
Paulding GA       NEBO ELEMENTARY SCH                                  67             8,647
Paulding GA       PAULDING COUNTY HIGH                                 17             3,821
                  SCHOOL
Paulding GA       PAULDING COUNTY HIGH                                 19             4,972
                  SCHOOL
Paulding GA       SHELTON ELEMENTARY                                   17            11,165
                  SCHOOL
Paulding GA       SHELTON ELEMENTARY                                   19            15,252
                  SCHOOL
Paulding GA       WATSON GOVERNMENT                                    17            17,530
                  COMPLEX
Paulding GA       WATSON GOVERNMENT                                    19                    0
                  COMPLEX
Putnam GA         101                                                 120             5,182
Putnam GA         101                                                 145                21
Putnam GA         104                                                 120             3,019
Putnam GA         104                                                 145             2,260
Richmond GA       107                                                 123             2,414
Richmond GA       107                                                 124                 0
Richmond GA       202                                                 124                 0
Richmond GA       202                                                 125             7,240
Richmond GA       303                                                 123             1,774
Richmond GA       303                                                 124                 0
Richmond GA       308                                                 123             1,114
Richmond GA       308                                                 127                 0
Richmond GA       402                                                 126                 0
Richmond GA       402                                                 127             9,711
Richmond GA       503                                                 124                 0
Richmond GA       503                                                 127             5,795
Richmond GA       702                                                 123                 0


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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District     Population
Richmond GA       702                                                 124             2,593
Richmond GA       803                                                 126                19
Richmond GA       803                                                 127             2,413
Richmond GA       807                                                 126             2,403
Richmond GA       807                                                 127                 0
Rockdale GA       BETHEL                                               92             3,605
Rockdale GA       BETHEL                                              114             1,797
Rockdale GA       FIELDSTONE                                           91             2,318
Rockdale GA       FIELDSTONE                                          113             6,899
Rockdale GA       FLAT SHOALS                                          91             3,715
Rockdale GA       FLAT SHOALS                                          92             1,421
Rockdale GA       HIGHTOWER                                            92             2,144
Rockdale GA       HIGHTOWER                                           114             2,792
Rockdale GA       HONEY CREEK                                          91             3,121
Rockdale GA       HONEY CREEK                                         109                 0
Rockdale GA       MAGNET                                               91             2,678
Rockdale GA       MAGNET                                              109             1,740
Rockdale GA       OLD TOWNE                                            91             2,301
Rockdale GA       OLD TOWNE                                            92             7,794
Rockdale GA       OLD TOWNE                                           114               872
Spalding GA       CITY PARK                                            73                 0
Spalding GA       CITY PARK                                           130             4,303
Spalding GA       FIRST ASSEMBLY OF GOD                                73             3,580
Spalding GA       FIRST ASSEMBLY OF GOD                               130               141
Spalding GA       SECOND BAPTIST                                       73                 0
                  CHURCH
Spalding GA       SECOND BAPTIST                                      130             4,059
                  CHURCH
Spalding GA       ST JOHN LUTHERAN                                     73             2,548
Spalding GA       ST JOHN LUTHERAN                                    130                 0
Spalding GA       UGA CAMPUS                                           73             1,232
Spalding GA       UGA CAMPUS                                          130             4,845
Thomas GA         CENTRAL                                             173                 0
Thomas GA         CENTRAL                                             175             5,360
Thomas GA         FIRE STATION #2                                     173             1,719
Thomas GA         FIRE STATION #2                                     175               200
Thomas GA         REMINGTON                                           173             3,349
Thomas GA         REMINGTON                                           175                 0
Tift GA           27711 - MOTT-LITMAN                                 170             3,552
                  GYM
Tift GA           27711 - MOTT-LITMAN                                 172             1,178
                  GYM
Troup GA          ADMINISTRATION BLDG                                 132             5,388
Troup GA          ADMINISTRATION BLDG                                 133             1,851
Troup GA          NORTHSIDE                                            69             3,805
Troup GA          NORTHSIDE                                           133               542
Walton GA         BAY CREEK                                           114             4,132
Walton GA         BAY CREEK                                           115               305


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Political Subdivison Splits Between Districts                         Enacted House B-V-C

County            Voting District                                 District     Population
Walton GA         BETWEEN                                             114             1,584
Walton GA         BETWEEN                                             115             4,801
Ware GA           100                                                 174             2,672
Ware GA           100                                                 176             3,692
Ware GA           200B                                                174             1,771
Ware GA           200B                                                180             1,362
Wayne GA          EMPIRE                                              157                 7
Wayne GA          EMPIRE                                              178             1,660
Wayne GA          PINE STREET                                         157             1,871
Wayne GA          PINE STREET                                         178             1,421
Wayne GA          REC CENTER                                          157               170
Wayne GA          REC CENTER                                          178             2,542
Wayne GA          UNITY                                               157             3,246
Wayne GA          UNITY                                               178                15
White GA          SHOAL CREEK                                          10             1,420
White GA          SHOAL CREEK                                          27             2,369
Whitfield GA      2A                                                    2                 0
Whitfield GA      2A                                                    4             4,303
Whitfield GA      2A                                                    6               561
Whitfield GA      5A                                                    4             6,108
Whitfield GA      5A                                                    6                 4
Whitfield GA      EASTSIDE                                              4                33
Whitfield GA      EASTSIDE                                              6             3,925
Whitfield GA      GROVE LEVEL                                           4                26
Whitfield GA      GROVE LEVEL                                           6             5,466
Whitfield GA      TUNNEL HILL                                           2             5,984
Whitfield GA      TUNNEL HILL                                           6                 6
Whitfield GA      WESTSIDE                                              2             3,758
Whitfield GA      WESTSIDE                                              4                16




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      User:
Plan Name: ga_house_HB1EX_
 Plan Type: Senate


Political Subdivison Splits Between Districts
Sunday, December 4, 2022                                                                                  8:24 AM
                                                   Split Counts
Number of subdivisions split into more than one district: Number of splits involving no population:
County                                            69      County                                             0
Voting District                                  184      Voting District                                   16

Number of times a subdivision is split into multiple districts:
County                                              209
Voting District                                     195

County                      Voting District                                              District     Population
Split Counties:
Appling GA                                                                                   157            12,825
Appling GA                                                                                   178             5,619
Baldwin GA                                                                                   128             5,158
Baldwin GA                                                                                   133            38,641
Barrow GA                                                                                    104            24,245
Barrow GA                                                                                    119            54,736
Barrow GA                                                                                    120             4,524
Bartow GA                                                                                    014            49,688
Bartow GA                                                                                    015            59,213
Ben Hill GA                                                                                  148             5,115
Ben Hill GA                                                                                  156            12,079
Bibb GA                                                                                      142            59,608
Bibb GA                                                                                      143            59,469
Bibb GA                                                                                      144            33,948
Bibb GA                                                                                      145             4,321
Bryan GA                                                                                     160            11,008
Bryan GA                                                                                     164            21,420
Bryan GA                                                                                     166            12,310
Bulloch GA                                                                                   158            19,285
Bulloch GA                                                                                   159            12,887
Bulloch GA                                                                                   160            48,927
Carroll GA                                                                                   018            18,789
Carroll GA                                                                                   070             2,854
Carroll GA                                                                                   071            59,538
Carroll GA                                                                                   072            37,967
Catoosa GA                                                                                   002             7,673
Catoosa GA                                                                                   003            60,199
Chatham GA                                                                                   161            28,269
Chatham GA                                                                                   162            60,308
Chatham GA                                                                                   163            60,123
Chatham GA                                                                                   164            38,681
Chatham GA                                                                                   165            59,978
Chatham GA                                                                                   166            47,932


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Political Subdivison Splits Between Districts                                ga_house_HB1EX_

County            Voting District                                 District       Population
Cherokee GA                                                           011               6,557
Cherokee GA                                                           014               9,447
Cherokee GA                                                           020              60,107
Cherokee GA                                                           021              59,529
Cherokee GA                                                           022              30,874
Cherokee GA                                                           023              59,048
Cherokee GA                                                           044              21,989
Cherokee GA                                                           046              15,178
Cherokee GA                                                           047               3,891
Clarke GA                                                             120              30,095
Clarke GA                                                             121              26,478
Clarke GA                                                             122              59,632
Clarke GA                                                             124              12,466
Clayton GA                                                            075              59,743
Clayton GA                                                            076              59,759
Clayton GA                                                            077              59,242
Clayton GA                                                            078              55,197
Clayton GA                                                            079              59,500
Clayton GA                                                            116               4,154
Cobb GA                                                               022              28,586
Cobb GA                                                               034              59,875
Cobb GA                                                               035              59,889
Cobb GA                                                               036              59,994
Cobb GA                                                               037              59,176
Cobb GA                                                               038              59,317
Cobb GA                                                               039              59,381
Cobb GA                                                               040              59,044
Cobb GA                                                               041              60,122
Cobb GA                                                               042              59,620
Cobb GA                                                               043              59,464
Cobb GA                                                               044              38,013
Cobb GA                                                               045              59,738
Cobb GA                                                               046              43,930
Coffee GA                                                             169              33,736
Coffee GA                                                             176               9,356
Columbia GA                                                           123               2,205
Columbia GA                                                           125              55,389
Columbia GA                                                           127              39,526
Columbia GA                                                           131              58,890
Cook GA                                                               170               7,342
Cook GA                                                               172               9,887
Coweta GA                                                             065              13,008
Coweta GA                                                             067              17,272
Coweta GA                                                             070              56,267
Coweta GA                                                             073              31,608
Coweta GA                                                             136              28,003
Dawson GA                                                             007               2,409



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Political Subdivison Splits Between Districts                                ga_house_HB1EX_

County            Voting District                                 District       Population
Dawson GA                                                             009              24,389
DeKalb GA                                                             052              28,300
DeKalb GA                                                             080              59,461
DeKalb GA                                                             081              59,007
DeKalb GA                                                             082              59,724
DeKalb GA                                                             083              59,416
DeKalb GA                                                             084              59,862
DeKalb GA                                                             085              59,373
DeKalb GA                                                             086              59,205
DeKalb GA                                                             087              59,709
DeKalb GA                                                             088              47,844
DeKalb GA                                                             089              59,866
DeKalb GA                                                             090              59,812
DeKalb GA                                                             091              19,700
DeKalb GA                                                             092              15,607
DeKalb GA                                                             093              11,690
DeKalb GA                                                             094              31,207
DeKalb GA                                                             095              14,599
Dougherty GA                                                          151               6,268
Dougherty GA                                                          152               6,187
Dougherty GA                                                          153              59,299
Dougherty GA                                                          154              14,036
Douglas GA                                                            061              30,206
Douglas GA                                                            064              35,576
Douglas GA                                                            065              19,408
Douglas GA                                                            066              59,047
Effingham GA                                                          159              32,941
Effingham GA                                                          161              31,828
Fayette GA                                                            068              29,719
Fayette GA                                                            069              37,303
Fayette GA                                                            073              28,428
Fayette GA                                                            074              23,744
Floyd GA                                                              005               5,099
Floyd GA                                                              012              34,335
Floyd GA                                                              013              59,150
Forsyth GA                                                            011              19,019
Forsyth GA                                                            024              59,011
Forsyth GA                                                            025              46,134
Forsyth GA                                                            026              59,248
Forsyth GA                                                            028              50,864
Forsyth GA                                                            100              17,007
Fulton GA                                                             025              13,280
Fulton GA                                                             047              55,235
Fulton GA                                                             048              43,976
Fulton GA                                                             049              59,153
Fulton GA                                                             050              59,523
Fulton GA                                                             051              58,952



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Political Subdivison Splits Between Districts                                ga_house_HB1EX_

County            Voting District                                 District        Population
Fulton GA                                                             052              31,511
Fulton GA                                                             053              59,953
Fulton GA                                                             054              60,083
Fulton GA                                                             055              59,971
Fulton GA                                                             056              58,929
Fulton GA                                                             057              59,969
Fulton GA                                                             058              59,057
Fulton GA                                                             059              59,434
Fulton GA                                                             060              59,709
Fulton GA                                                             061              29,096
Fulton GA                                                             062              59,450
Fulton GA                                                             063              59,381
Fulton GA                                                             065              27,048
Fulton GA                                                             067              41,863
Fulton GA                                                             068              29,758
Fulton GA                                                             069              21,379
Glynn GA                                                              167              20,499
Glynn GA                                                              179              59,356
Glynn GA                                                              180               4,644
Gordon GA                                                             005              53,738
Gordon GA                                                             006               3,806
Grady GA                                                              171               8,115
Grady GA                                                              173              18,121
Gwinnett GA                                                           030               8,620
Gwinnett GA                                                           048              15,027
Gwinnett GA                                                           088              11,845
Gwinnett GA                                                           094              28,004
Gwinnett GA                                                           095              34,221
Gwinnett GA                                                           096              59,515
Gwinnett GA                                                           097              59,072
Gwinnett GA                                                           098              59,998
Gwinnett GA                                                           099              59,850
Gwinnett GA                                                           100              35,204
Gwinnett GA                                                           101              59,938
Gwinnett GA                                                           102              58,959
Gwinnett GA                                                           103              51,691
Gwinnett GA                                                           104              35,117
Gwinnett GA                                                           105              59,344
Gwinnett GA                                                           106              59,112
Gwinnett GA                                                           107              59,702
Gwinnett GA                                                           108              59,577
Gwinnett GA                                                           109              59,630
Gwinnett GA                                                           110              59,951
Gwinnett GA                                                           111              22,685
Habersham GA                                                          010              42,636
Habersham GA                                                          032               3,395
Hall GA                                                               027              54,508



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Political Subdivison Splits Between Districts                                ga_house_HB1EX_

County            Voting District                                 District       Population
Hall GA                                                               028               8,108
Hall GA                                                               029              59,200
Hall GA                                                               030              50,646
Hall GA                                                               031              14,349
Hall GA                                                               100               7,819
Hall GA                                                               103               8,506
Harris GA                                                             138              21,634
Harris GA                                                             139              13,034
Henry GA                                                              074              18,397
Henry GA                                                              078               3,847
Henry GA                                                              091              35,569
Henry GA                                                              115              60,174
Henry GA                                                              116              55,759
Henry GA                                                              117              54,737
Henry GA                                                              118              12,229
Houston GA                                                            145              28,132
Houston GA                                                            146              60,203
Houston GA                                                            147              59,178
Houston GA                                                            148              16,120
Jackson GA                                                            031              45,552
Jackson GA                                                            032              10,931
Jackson GA                                                            119               4,211
Jackson GA                                                            120              15,213
Jasper GA                                                             114               2,855
Jasper GA                                                             118              11,733
Jones GA                                                              133              20,561
Jones GA                                                              144               7,786
Lamar GA                                                              134               5,026
Lamar GA                                                              135              13,474
Liberty GA                                                            167               5,109
Liberty GA                                                            168              60,147
Lowndes GA                                                            174               9,770
Lowndes GA                                                            175              43,692
Lowndes GA                                                            176               4,797
Lowndes GA                                                            177              59,992
Lumpkin GA                                                            009              29,201
Lumpkin GA                                                            027               4,287
Madison GA                                                            033               9,935
Madison GA                                                            123              20,185
McDuffie GA                                                           125               4,748
McDuffie GA                                                           128              16,884
Meriwether GA                                                         136              13,382
Meriwether GA                                                         137               7,231
Monroe GA                                                             134               9,272
Monroe GA                                                             144              17,498
Monroe GA                                                             145               1,187
Muscogee GA                                                           137              30,443



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Political Subdivison Splits Between Districts                                ga_house_HB1EX_

County            Voting District                                 District       Population
Muscogee GA                                                           138              12,190
Muscogee GA                                                           139              45,976
Muscogee GA                                                           140              59,294
Muscogee GA                                                           141              59,019
Newton GA                                                             093              15,515
Newton GA                                                             113              60,053
Newton GA                                                             114              36,915
Oconee GA                                                             120               9,150
Oconee GA                                                             121              32,649
Paulding GA                                                           016              16,549
Paulding GA                                                           017              59,120
Paulding GA                                                           018              10,627
Paulding GA                                                           019              58,955
Paulding GA                                                           064              23,410
Peach GA                                                              145              14,093
Peach GA                                                              150              13,888
Putnam GA                                                             118              10,591
Putnam GA                                                             124              11,456
Richmond GA                                                           126              25,990
Richmond GA                                                           127              19,152
Richmond GA                                                           129              58,829
Richmond GA                                                           130              59,203
Richmond GA                                                           132              43,433
Rockdale GA                                                           091               4,781
Rockdale GA                                                           092              44,666
Rockdale GA                                                           093              32,913
Rockdale GA                                                           095              11,210
Spalding GA                                                           074              16,815
Spalding GA                                                           117               5,393
Spalding GA                                                           134              45,098
Sumter GA                                                             150              14,282
Sumter GA                                                             151              15,334
Tattnall GA                                                           156               1,263
Tattnall GA                                                           157              21,579
Telfair GA                                                            149               9,486
Telfair GA                                                            156               2,991
Thomas GA                                                             172               4,176
Thomas GA                                                             173              41,622
Tift GA                                                               169               6,730
Tift GA                                                               170              34,614
Troup GA                                                              072              10,281
Troup GA                                                              136              17,913
Troup GA                                                              137              16,144
Troup GA                                                              138              25,088
Walker GA                                                             001              43,415
Walker GA                                                             002              24,239
Walton GA                                                             111              37,324



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Political Subdivison Splits Between Districts                                ga_house_HB1EX_

County            Voting District                                 District       Population
Walton GA                                                             112              59,349
Ware GA                                                               174               9,097
Ware GA                                                               176              27,154
Wayne GA                                                              167               6,742
Wayne GA                                                              178              23,402
White GA                                                              008              22,119
White GA                                                              009               5,884
Whitfield GA                                                          002              27,861
Whitfield GA                                                          004              59,070
Whitfield GA                                                          006              15,933
Split VTDs:
Barrow GA         16                                                  104               1,708
Barrow GA         16                                                  119               8,060
Bartow GA         CASSVILLE                                           014              15,558
Bartow GA         CASSVILLE                                           015               1,047
Bartow GA         WHITE                                               014               3,335
Bartow GA         WHITE                                               015                 211
Ben Hill GA       WEST                                                148               5,115
Ben Hill GA       WEST                                                156               5,229
Bibb GA           HOWARD 1                                            142               2,326
Bibb GA           HOWARD 1                                            144               3,617
Bibb GA           HOWARD 2                                            142               2,369
Bibb GA           HOWARD 2                                            144               3,076
Bibb GA           HOWARD 3                                            142                   0
Bibb GA           HOWARD 3                                            144              12,654
Bibb GA           WARRIOR 2                                           142               4,426
Bibb GA           WARRIOR 2                                           145                 852
Bryan GA          DANIELSIDING                                        164               1,268
Bryan GA          DANIELSIDING                                        166               1,741
Bryan GA          HWY 144 EAST                                        164               4,552
Bryan GA          HWY 144 EAST                                        166               4,707
Bryan GA          J.F.GREGORY PARK                                    164               3,489
Bryan GA          J.F.GREGORY PARK                                    166                 144
Bulloch GA        CHURCH                                              158               3,764
Bulloch GA        CHURCH                                              159               5,869
Carroll GA        BONNER                                              071                 410
Carroll GA        BONNER                                              072               5,554
Chatham GA        CRUSADER COMMUNITY                                  162               2,134
                  CENTER
Chatham GA        CRUSADER COMMUNITY                                  166                1,493
                  CENTER
Chatham GA        GEORGETOWN                                          164                5,562
                  ELEMENTAR
Chatham GA        GEORGETOWN                                          166                       0
                  ELEMENTAR
Chatham GA        GRACE UNITED                                        163                2,064
                  METHODIST CHURCH



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Political Subdivison Splits Between Districts                                ga_house_HB1EX_

County            Voting District                                 District       Population
Chatham GA        GRACE UNITED                                        165                  397
                  METHODIST CHURCH
Chatham GA        ROTHWELL BAPTIST                                    161                5,335
                  CHURCH
Chatham GA        ROTHWELL BAPTIST                                    164                4,987
                  CHURCH
Chatham GA        THE LIGHT CHURCH                                    162                1,177
Chatham GA        THE LIGHT CHURCH                                    163                1,109
Chatham GA        WINDSOR FOREST                                      163                  785
                  BAPTIST CHURCH
                  SCHOOL
Chatham GA        WINDSOR FOREST                                      166                1,890
                  BAPTIST CHURCH
                  SCHOOL
Cherokee GA       CARMEL                                              020               5,626
Cherokee GA       CARMEL                                              022               1,222
Cherokee GA       CARMEL                                              044                   0
Cherokee GA       FREEHOME                                            021               3,200
Cherokee GA       FREEHOME                                            047               3,891
Cherokee GA       HOLLY SPRINGS                                       021               2,250
Cherokee GA       HOLLY SPRINGS                                       023               2,578
Clarke GA         1A                                                  122               2,758
Clarke GA         1A                                                  124               2,286
Clarke GA         4B                                                  121               7,082
Clarke GA         4B                                                  122               5,589
Clarke GA         7C                                                  120               1,922
Clarke GA         7C                                                  121               3,184
Clayton GA        LOVEJOY 1                                           075               5,018
Clayton GA        LOVEJOY 1                                           078                 601
Clayton GA        LOVEJOY 3                                           078               9,099
Clayton GA        LOVEJOY 3                                           116               4,154
Clayton GA        MORROW 4                                            076               1,911
Clayton GA        MORROW 4                                            078               1,316
Cobb GA           Acworth 1B                                          035               7,322
Cobb GA           Acworth 1B                                          036                 142
Cobb GA           Baker 01                                            022               5,226
Cobb GA           Baker 01                                            035               1,996
Cobb GA           Bells Ferry 03                                      022               4,918
Cobb GA           Bells Ferry 03                                      044               3,763
Cobb GA           Dobbins 01                                          042              11,055
Cobb GA           Dobbins 01                                          043               2,346
Cobb GA           Elizabeth 01                                        034                 700
Cobb GA           Elizabeth 01                                        037               5,170
Cobb GA           Elizabeth 04                                        037               2,031
Cobb GA           Elizabeth 04                                        043               2,387
Cobb GA           Kennesaw 1A                                         022                 599
Cobb GA           Kennesaw 1A                                         035               3,844
Cobb GA           Kennesaw 3A                                         022                   0


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Political Subdivison Splits Between Districts                                ga_house_HB1EX_

County            Voting District                                 District       Population
Cobb GA           Kennesaw 3A                                         034                 871
Cobb GA           Kennesaw 3A                                         035               8,631
Cobb GA           Lassiter 01                                         044               2,121
Cobb GA           Lassiter 01                                         046               2,600
Cobb GA           Lindley 01                                          039               5,678
Cobb GA           Lindley 01                                          040                 582
Cobb GA           Mableton 01                                         038               1,589
Cobb GA           Mableton 01                                         039               5,513
Cobb GA           Mableton 02                                         038                 256
Cobb GA           Mableton 02                                         039               5,427
Cobb GA           Marietta 1A                                         037               3,349
Cobb GA           Marietta 1A                                         043               6,645
Cobb GA           Marietta 2A                                         034               1,664
Cobb GA           Marietta 2A                                         037                 811
Cobb GA           Marietta 5A                                         037               2,877
Cobb GA           Marietta 5A                                         043               1,457
Cobb GA           Marietta 6A                                         037               1,532
Cobb GA           Marietta 6A                                         043               3,022
Cobb GA           Marietta 7A                                         042               1,494
Cobb GA           Marietta 7A                                         043               5,417
Cobb GA           North Cobb 01                                       035               2,611
Cobb GA           North Cobb 01                                       036                 559
Cobb GA           Norton Park 01                                      041               1,955
Cobb GA           Norton Park 01                                      042               5,846
Cobb GA           Oregon 03                                           037               6,683
Cobb GA           Oregon 03                                           041               6,305
Cobb GA           Pine Mountain 02                                    034               3,976
Cobb GA           Pine Mountain 02                                    035                   0
Cobb GA           Smyrna 1A                                           040               1,292
Cobb GA           Smyrna 1A                                           042               5,341
Cobb GA           Smyrna 4A                                           040               6,599
Cobb GA           Smyrna 4A                                           042               1,609
Cobb GA           Smyrna 7A                                           039                 905
Cobb GA           Smyrna 7A                                           040               7,690
Coffee GA         DOUGLAS                                             169              19,642
Coffee GA         DOUGLAS                                             176               8,929
Columbia GA       PATRIOTS PARK                                       125                 326
Columbia GA       PATRIOTS PARK                                       131               5,958
Coweta GA         JEFFERSON PARKWAY                                   070              12,590
Coweta GA         JEFFERSON PARKWAY                                   073               1,521
DeKalb GA         Cedar Grove Middle                                  089               2,204
DeKalb GA         Cedar Grove Middle                                  090                 316
DeKalb GA         Clarkston                                           085               5,454
DeKalb GA         Clarkston                                           086               9,300
DeKalb GA         Dresden Elem (CHA)                                  081               5,398
DeKalb GA         Dresden Elem (CHA)                                  083               7,691
DeKalb GA         Freedom Middle                                      086               1,002



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Political Subdivison Splits Between Districts                                ga_house_HB1EX_

County            Voting District                                 District       Population
DeKalb GA         Freedom Middle                                      087                3,088
DeKalb GA         Glennwood (DEC)                                     082                2,059
DeKalb GA         Glennwood (DEC)                                     084                1,221
DeKalb GA         Glenwood Road                                       085                1,698
DeKalb GA         Glenwood Road                                       086                1,064
DeKalb GA         Memorial South                                      086                2,226
DeKalb GA         Memorial South                                      087                2,547
DeKalb GA         Panola Road                                         086                3,296
DeKalb GA         Panola Road                                         094                  460
DeKalb GA         Redan Middle                                        087                1,419
DeKalb GA         Redan Middle                                        088                1,633
DeKalb GA         Rockbridge Road                                     094                3,736
DeKalb GA         Rockbridge Road                                     095                1,104
DeKalb GA         Snapfinger Road South                               084                  920
DeKalb GA         Snapfinger Road South                               091                1,271
DeKalb GA         Stone Mill Elem                                     087                1,863
DeKalb GA         Stone Mill Elem                                     088                4,069
DeKalb GA         Stone Mountain                                      087                1,338
                  Champion (STO)
DeKalb GA         Stone Mountain                                      088                2,865
                  Champion (STO)
DeKalb GA         Stone Mountain Middle                               087                  656
                  (TUC)
DeKalb GA         Stone Mountain Middle                               088                3,960
                  (TUC)
DeKalb GA         Tucker Library (TUC)                                081               2,394
DeKalb GA         Tucker Library (TUC)                                088               1,635
Dougherty GA      DARTON COLLEGE                                      151               4,018
Dougherty GA      DARTON COLLEGE                                      153               2,465
Dougherty GA      MT ZION CENTER                                      153               1,245
Dougherty GA      MT ZION CENTER                                      154               3,972
Effingham GA      4B                                                  159               1,960
Effingham GA      4B                                                  161                 959
Fayette GA        ABERDEEN                                            068                 983
Fayette GA        ABERDEEN                                            073               1,392
Fayette GA        BRAELINN                                            073                 605
Fayette GA        BRAELINN                                            074               1,646
Fayette GA        STARRSMILL                                          073               1,932
Fayette GA        STARRSMILL                                          074               2,452
Floyd GA          ALTO PARK                                           012               1,576
Floyd GA          ALTO PARK                                           013               3,847
Floyd GA          MT ALTO NORTH                                       012               1,080
Floyd GA          MT ALTO NORTH                                       013               4,509
Forsyth GA        BROWNS BRIDGE                                       026              10,116
Forsyth GA        BROWNS BRIDGE                                       028               2,801
Forsyth GA        CONCORD                                             011               7,687
Forsyth GA        CONCORD                                             028               7,982
Forsyth GA        CUMMING                                             026               4,666


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Political Subdivison Splits Between Districts                                ga_house_HB1EX_

County            Voting District                                 District       Population
Forsyth GA        CUMMING                                             028               2,410
Forsyth GA        HEARDSVILLE                                         011              11,332
Forsyth GA        HEARDSVILLE                                         024               1,335
Forsyth GA        HEARDSVILLE                                         028                 333
Forsyth GA        OTWELL                                              024               3,988
Forsyth GA        OTWELL                                              026               6,597
Forsyth GA        OTWELL                                              028               7,875
Forsyth GA        POLO                                                024               9,868
Forsyth GA        POLO                                                025                   0
Forsyth GA        POLO                                                026              15,990
Forsyth GA        SOUTH FORSYTH                                       025              10,064
Forsyth GA        SOUTH FORSYTH                                       100              11,887
Forsyth GA        WINDERMERE                                          026              11,718
Forsyth GA        WINDERMERE                                          100               5,120
Fulton GA         08C                                                 053               1,524
Fulton GA         08C                                                 060                 335
Fulton GA         09K                                                 055               3,033
Fulton GA         09K                                                 060               4,105
Fulton GA         10D                                                 055               1,756
Fulton GA         10D                                                 060               4,311
Fulton GA         11C                                                 055                 340
Fulton GA         11C                                                 060               3,418
Fulton GA         AP022                                               048                 862
Fulton GA         AP022                                               049               2,505
Fulton GA         AP07B                                               047               1,250
Fulton GA         AP07B                                               049               1,304
Fulton GA         AP14                                                048               4,109
Fulton GA         AP14                                                049                 281
Fulton GA         EP01B                                               059               2,393
Fulton GA         EP01B                                               062               2,049
Fulton GA         JC19                                                048               3,608
Fulton GA         JC19                                                051               1,792
Fulton GA         ML012                                               047                 501
Fulton GA         ML012                                               049                 123
Fulton GA         ML01B                                               047                 284
Fulton GA         ML01B                                               049                  61
Fulton GA         RW03                                                051               1,292
Fulton GA         RW03                                                053               6,066
Fulton GA         RW09                                                047               2,971
Fulton GA         RW09                                                049               4,750
Fulton GA         SC02                                                060                 220
Fulton GA         SC02                                                061                 773
Fulton GA         SC05B                                               061               1,575
Fulton GA         SC05B                                               065               2,978
Fulton GA         SC07A                                               065               1,028
Fulton GA         SC07A                                               067               7,728
Fulton GA         SC08B                                               062                  92



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Political Subdivison Splits Between Districts                                ga_house_HB1EX_

County            Voting District                                 District       Population
Fulton GA         SC08B                                               068               5,255
Fulton GA         SC13                                                065               2,858
Fulton GA         SC13                                                067               1,176
Fulton GA         UC02A                                               065               1,070
Fulton GA         UC02A                                               067              13,013
Gwinnett GA       BAYCREEK A                                          106                 934
Gwinnett GA       BAYCREEK A                                          110               2,651
Gwinnett GA       BAYCREEK D                                          102               3,729
Gwinnett GA       BAYCREEK D                                          110               2,597
Gwinnett GA       BERKSHIRE H                                         098               2,475
Gwinnett GA       BERKSHIRE H                                         108               1,991
Gwinnett GA       CATES J                                             094                 955
Gwinnett GA       CATES J                                             108               4,255
Gwinnett GA       DULUTH F                                            096               7,245
Gwinnett GA       DULUTH F                                            107               5,149
Gwinnett GA       DULUTH G                                            096               1,426
Gwinnett GA       DULUTH G                                            099               3,389
Gwinnett GA       DUNCANS D                                           030               8,620
Gwinnett GA       DUNCANS D                                           104               1,575
Gwinnett GA       LAWRENCEVILLE F                                     102               2,073
Gwinnett GA       LAWRENCEVILLE F                                     105               3,924
Gwinnett GA       LAWRENCEVILLE M                                     102               4,231
Gwinnett GA       LAWRENCEVILLE M                                     105               7,770
Gwinnett GA       MARTINS H                                           107               8,164
Gwinnett GA       MARTINS H                                           109                 892
Gwinnett GA       PINCKNEYVILLE W                                     096               5,745
Gwinnett GA       PINCKNEYVILLE W                                     097               2,561
Gwinnett GA       PUCKETTS E                                          103               1,506
Gwinnett GA       PUCKETTS E                                          105               7,421
Gwinnett GA       SUGAR HILL D                                        100               2,158
Gwinnett GA       SUGAR HILL D                                        103               6,421
Gwinnett GA       SUWANEE F                                           099               3,224
Gwinnett GA       SUWANEE F                                           103               2,836
Habersham GA      HABERSHAM SOUTH                                     010               8,687
Habersham GA      HABERSHAM SOUTH                                     032               1,972
Hall GA           WILSON                                              028               3,803
Hall GA           WILSON                                              029               4,979
Henry GA          FLIPPEN                                             115                   0
Henry GA          FLIPPEN                                             116               5,686
Henry GA          HICKORY FLAT                                        115               7,135
Henry GA          HICKORY FLAT                                        116                  17
Henry GA          LOWES                                               116               5,233
Henry GA          LOWES                                               117               8,688
Henry GA          RED OAK                                             078               3,847
Henry GA          RED OAK                                             116               3,999
Henry GA          STOCKBRIDGE CENTRAL                                 078                   0
Henry GA          STOCKBRIDGE CENTRAL                                 091               7,453



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Political Subdivison Splits Between Districts                                ga_house_HB1EX_

County            Voting District                                 District       Population
Henry GA          SWAN LAKE                                           091               3,240
Henry GA          SWAN LAKE                                           115               1,518
Houston GA        CENT                                                145                  69
Houston GA        CENT                                                147              11,815
Houston GA        FMMS                                                146               9,734
Houston GA        FMMS                                                147               3,595
Houston GA        HHPC                                                145               8,748
Houston GA        HHPC                                                147               6,643
Houston GA        MCMS                                                146               3,947
Houston GA        MCMS                                                147               9,547
Houston GA        RECR                                                145              15,867
Houston GA        RECR                                                146                   0
Houston GA        RECR                                                147               1,931
Houston GA        ROZR                                                146              13,202
Houston GA        ROZR                                                148               7,640
Houston GA        VHS                                                 146               5,586
Houston GA        VHS                                                 148               4,039
Jackson GA        North Jackson                                       031               4,513
Jackson GA        North Jackson                                       032              10,931
Jackson GA        North Jackson                                       120               3,803
Jackson GA        West Jackson                                        031              16,656
Jackson GA        West Jackson                                        119               4,211
Jones GA          CLINTON                                             133                 384
Jones GA          CLINTON                                             144               2,481
Lamar GA          MILNER                                              134               3,043
Lamar GA          MILNER                                              135               2,725
Liberty GA        BUTTON GWINNETT                                     167               5,109
Liberty GA        BUTTON GWINNETT                                     168               4,344
Lowndes GA        NORTHSIDE                                           175               8,373
Lowndes GA        NORTHSIDE                                           177              37,217
Lowndes GA        RAINWATER                                           175               6,400
Lowndes GA        RAINWATER                                           177               8,754
Lowndes GA        S LOWNDES                                           174               1,951
Lowndes GA        S LOWNDES                                           175               3,755
Lowndes GA        TRINITY                                             175               9,620
Lowndes GA        TRINITY                                             176               4,797
Lowndes GA        TRINITY                                             177               6,930
Lumpkin GA        DAHLONEGA                                           009              29,201
Lumpkin GA        DAHLONEGA                                           027               4,287
Muscogee GA       CUSSETA RD                                          140               5,391
Muscogee GA       CUSSETA RD                                          141               5,010
Muscogee GA       EPWORTH UMC                                         139               3,363
Muscogee GA       EPWORTH UMC                                         140               4,560
Muscogee GA       FORT/WADDELL                                        137               5,599
Muscogee GA       FORT/WADDELL                                        141               6,645
Muscogee GA       OUR LADY OF LOURDES                                 140              13,744
Muscogee GA       OUR LADY OF LOURDES                                 141                  32



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Political Subdivison Splits Between Districts                                ga_house_HB1EX_

County            Voting District                                 District       Population
Muscogee GA       ROTHSCHILD                                          137               8,327
Muscogee GA       ROTHSCHILD                                          141               3,143
Muscogee GA       ST ANDREWS/MIDLAND                                  139               5,899
Muscogee GA       ST ANDREWS/MIDLAND                                  141               5,582
Newton GA         CEDAR SHOALS                                        093               1,206
Newton GA         CEDAR SHOALS                                        113               3,687
Newton GA         FAIRVIEW                                            093                 856
Newton GA         FAIRVIEW                                            113               3,443
Newton GA         TOWN                                                093               1,668
Newton GA         TOWN                                                113               5,075
Paulding GA       AUSTIN MIDDLE SCHOOL                                018                 916
Paulding GA       AUSTIN MIDDLE SCHOOL                                064               9,977
Paulding GA       BURNT HICKORY PARK                                  016               8,392
Paulding GA       BURNT HICKORY PARK                                  017                  16
Paulding GA       CARL SCOGGINS MID SC                                017                 517
Paulding GA       CARL SCOGGINS MID SC                                018               7,991
Paulding GA       CARL SCOGGINS MID SC                                019               1,240
Paulding GA       HIRAM HIGH SCHOOL                                   017                   0
Paulding GA       HIRAM HIGH SCHOOL                                   019              16,110
Paulding GA       SARA RAGSDALE ELM SC                                017               5,972
Paulding GA       SARA RAGSDALE ELM SC                                018               1,720
Paulding GA       SHELTON ELEMENTARY                                  016               8,152
                  SCHOOL
Paulding GA       SHELTON ELEMENTARY                                  017              12,810
                  SCHOOL
Paulding GA       SHELTON ELEMENTARY                                  019                5,455
                  SCHOOL
Paulding GA       WATSON GOVERNMENT                                   016                       5
                  COMPLEX
Paulding GA       WATSON GOVERNMENT                                   017              17,525
                  COMPLEX
Richmond GA       109                                                 129                  954
Richmond GA       109                                                 130                  886
Richmond GA       301                                                 127                2,362
Richmond GA       301                                                 129                  894
Richmond GA       402                                                 126                    0
Richmond GA       402                                                 132                9,711
Richmond GA       503                                                 129                3,260
Richmond GA       503                                                 132                2,535
Richmond GA       702                                                 127                  586
Richmond GA       702                                                 129                2,007
Richmond GA       703                                                 127                1,164
Richmond GA       703                                                 129                6,148
Richmond GA       803                                                 126                    0
Richmond GA       803                                                 132                2,432
Richmond GA       807                                                 126                2,403
Richmond GA       807                                                 132                    0
Rockdale GA       MILSTEAD                                            093                6,444


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Political Subdivison Splits Between Districts                               ga_house_HB1EX_

County            Voting District                                District       Population
Rockdale GA       MILSTEAD                                           095                   0
Rockdale GA       OLD TOWNE                                          093              10,095
Rockdale GA       OLD TOWNE                                          095                 872
Rockdale GA       ROCKDALE                                           092               6,218
Rockdale GA       ROCKDALE                                           093                  79
Spalding GA       CARVER FIRE STATION                                074                 235
Spalding GA       CARVER FIRE STATION                                134               2,835
Spalding GA       GARY REID FIRE STATION                             074               2,075
Spalding GA       GARY REID FIRE STATION                             134               4,817
Spalding GA       UGA CAMPUS                                         074                 787
Spalding GA       UGA CAMPUS                                         134               5,290
Sumter GA         GSW CONF CENTER                                    150               4,568
Sumter GA         GSW CONF CENTER                                    151               1,549
Sumter GA         REES PARK                                          150               5,179
Sumter GA         REES PARK                                          151                 447
Troup GA          MOUNTVILLE                                         136               2,068
Troup GA          MOUNTVILLE                                         137                 497
Walton GA         BROKEN ARROW                                       111               2,993
Walton GA         BROKEN ARROW                                       112               3,003
Ware GA           100                                                174               2,672
Ware GA           100                                                176               3,692
Ware GA           200A                                               174                   0
Ware GA           200A                                               176               4,133
Ware GA           304                                                174                   0
Ware GA           304                                                176               2,107
Ware GA           400                                                174               2,506
Ware GA           400                                                176               2,526
Wayne GA          OGLETHORPE                                         167               1,928
Wayne GA          OGLETHORPE                                         178                 637
Whitfield GA      2A                                                 002               3,864
Whitfield GA      2A                                                 004               1,000
Whitfield GA      PLEASANT GROVE                                     002               6,210
Whitfield GA      PLEASANT GROVE                                     006               2,122




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      User:
Plan Name: Illustrative_House
 Plan Type: Senate


Communities of Interest (Condensed)
Wednesday, November 30, 2022                                                                                9:38 AM
Whole City/Town : 402
City/Town Splits: 378
Zero Population City/Town Splits: 17

District             City/Town        Population    % Pop District            City/Town        Population     % Pop
001                  Trenton               2,195   100.00% 008                Blairsville            616    100.00%
001                  LaFayette             6,888   100.00% 009                Dawsonville           3,720   100.00%
001                  Lookout               1,641   100.00% 009                East Ellijay           650    100.00%
                     Mountain                                009              Ellijay               1,862   100.00%
001                  Rossville             3,980   100.00% 010                Helen                  531    100.00%
001                  Fort                   346      3.32% 010                Clarkesville          1,911   100.00%
                     Oglethorpe                              010              Tallulah Falls          79     39.70%
002                  Tunnel Hill            963    100.00% 010                Cornelia              2,962    65.78%
002                  Dalton                4,232    12.30% 010                Demorest              1,956    96.74%
002                  Varnell                 19      0.87% 010                Cleveland             3,514   100.00%
002                  Rome                   299      0.79% 010                Alto                   619     63.81%
002                  Chickamauga           2,917   100.00% 010                Baldwin               2,974    81.95%
002                  Fort                    12      0.12% 011                Canton               13,525    41.02%
                     Oglethorpe
                                                             011              Jasper                4,084   100.00%
003                  Ringgold              3,414   100.00%
                                                             011              Talking Rock            91    100.00%
003                  Fort                 10,065    96.57%
                                                             011              Ball Ground           2,560   100.00%
                     Oglethorpe
                                                             011              Nelson                1,145   100.00%
004                  Dalton               30,165    87.65%
                                                             012              Menlo                  480    100.00%
004                  Cohutta                 12      1.57%
                                                             012              Cave Spring           1,174   100.00%
004                  Varnell               1,977    90.73%
                                                             012              Lyerly                 454    100.00%
005                  Dalton                   0      0.00%
                                                             012              Summerville           4,435   100.00%
005                  Plainville             356    100.00%
                                                             012              Trion                 1,960   100.00%
005                  Calhoun              16,949   100.00%
                                                             012              Rome                  6,861    18.19%
005                  Resaca                1,142   100.00%
                                                             013              Rome                 30,553    81.01%
005                  Fairmount              772    100.00%
                                                             014              Taylorsville           217     86.11%
005                  Ranger                 107    100.00%
                                                             014              Kingston               722    100.00%
006                  Dalton                  20      0.06%
                                                             014              Euharlee              4,268   100.00%
006                  Cohutta                752     98.43%
                                                             014              White                  661    100.00%
006                  Chatsworth            4,874   100.00%
                                                             014              Adairsville           4,878   100.00%
006                  Eton                   824    100.00%
                                                             014              Waleska                921    100.00%
006                  Varnell                183      8.40%
                                                             015              Emerson               1,415   100.00%
007                  Dahlonega             7,537   100.00%
                                                             015              Cartersville         23,187   100.00%
007                  McCaysville           1,149   100.00%
                                                             016              Cedartown            10,190   100.00%
007                  Blue Ridge            1,253   100.00%
                                                             016              Rockmart              4,732   100.00%
007                  Morganton              285    100.00%
                                                             016              Aragon                1,440   100.00%
008                  Young Harris          1,098   100.00%
                                                             016              Braswell               355    100.00%
008                  Hiawassee              981    100.00%
                                                             016              Taylorsville            35     13.89%
008                  Tallulah Falls         120     60.30%
                                                             017              Dallas               14,025    99.88%
008                  Tiger                  422    100.00%
                                                             017              Hiram                 4,929   100.00%
008                  Clayton               2,003   100.00%
                                                             018              Tallapoosa            3,227   100.00%
008                  Mountain               904    100.00%
                                                             018              Mount Zion            1,766   100.00%
                     City
                                                             018              Carrollton              18      0.07%
008                  Dillard                337    100.00%
                                                             018              Waco                   536    100.00%
008                  Sky Valley             482    100.00%
                                                             018              Bremen                7,185   100.00%



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Communities of Interest (Condensed)                                                           Illustrative_House

District          City/Town       Population    % Pop District            City/Town       Population     % Pop
018               Buchanan              938    100.00% 033                Franklin             1,155   100.00%
018               Temple                 63      1.24%                    Springs
018               Bowdon               2,161   100.00% 033                Royston              2,649   100.00%
019               Dallas                 17      0.12% 033                Carnesville           713    100.00%
019               Hiram                   0      0.00% 033                Canon                 643    100.00%
020               Canton               6,831    20.72% 033                Lavonia              2,143   100.00%
020               Woodstock            7,892    22.51% 033                Martin                  1      0.30%
020               Holly Springs        2,089    12.88% 033                Bowersville           444    100.00%
021               Canton                  0      0.00% 034                Kennesaw             6,711    20.31%
021               Woodstock            2,095     5.97% 034                Marietta             4,869     7.99%
021               Holly Springs       13,981    86.23% 035                Acworth             14,893    66.37%
022               Kennesaw              599      1.81% 035                Kennesaw            25,726    77.87%
023               Canton              12,617    38.26% 036                Acworth              7,547    33.63%
023               Holly Springs         143      0.88% 037                Marietta            38,068    62.44%
025               Alpharetta          13,280    20.18% 038                Powder              16,887   100.00%
026               Cumming              7,105    97.09%                    Springs
027               Gainesville         10,035    23.73% 038                Austell              7,587    98.37%
027               Clermont             1,021   100.00% 039                Smyrna                905      1.63%
028               Gainesville            84      0.20% 040                Smyrna              23,672    42.53%
028               Cumming               213      2.91% 042                Marietta             1,494     2.45%
029               Flowery                 0      0.00% 042                Smyrna              31,086    55.85%
                  Branch                               043                Marietta            16,541    27.13%
029               Oakwood              3,942    81.75% 044                Woodstock           16,978    48.42%
029               Gainesville         30,801    72.82% 046                Roswell                 0      0.00%
030               Flowery              5,350    56.97% 046                Woodstock            8,100    23.10%
                  Branch                               046                Mountain               12      2.06%
030               Braselton            7,080    52.82%                    Park
030               Oakwood               880     18.25% 047                Roswell              5,692     6.13%
030               Gainesville          1,376     3.25% 047                Alpharetta          11,678    17.74%
030               Buford                 81      0.47% 047                Milton              37,294    90.31%
031               Arcade                756     40.13% 047                Mountain              571     97.94%
031               Braselton            4,236    31.60%                    Park
031               Hoschton             2,666   100.00% 048                Roswell             12,589    13.56%
031               Talmo                 257    100.00% 048                Peachtree           15,027    35.57%
                                                                          Corners
031               Pendergrass          1,692   100.00%
                                                         048              Alpharetta           8,833    13.42%
031               Gillsville            212     69.28%
                                                         048              Johns Creek         22,554    27.35%
031               Jefferson           12,463    94.18%
                                                         049              Roswell             24,540    26.43%
031               Maysville             834     44.67%
                                                         049              Alpharetta          30,611    46.51%
031               Commerce             4,270    57.80%
                                                         049              Milton               4,002     9.69%
032               Cornelia             1,541    34.22%
                                                         050              Alpharetta           1,416     2.15%
032               Mount Airy           1,391   100.00%
                                                         050              Johns Creek         58,107    70.47%
032               Demorest               66      3.26%
                                                         051              Sandy               27,105    25.08%
032               Toccoa               9,133   100.00%
                                                                          Springs
032               Martin                335     99.70%
                                                         051              Roswell             30,055    32.38%
032               Avalon                233    100.00%
                                                         051              Johns Creek          1,792     2.17%
032               Gillsville             94     30.72%
                                                         052              Sandy               31,511    29.16%
032               Lula                 2,822   100.00%
                                                                          Springs
032               Maysville            1,033    55.33%
                                                         052              Brookhaven          14,741    26.72%
032               Homer                1,264   100.00%
                                                         052              Dunwoody            13,559    26.23%
032               Alto                  351     36.19%
                                                         053              Sandy               26,751    24.75%
032               Baldwin               655     18.05%                    Springs
033               Hartwell             4,470   100.00% 053                Roswell             19,957    21.50%
033               Ila                   350    100.00%


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Communities of Interest (Condensed)                                                          Illustrative_House

District          City/Town      Population    % Pop District            City/Town       Population     % Pop
053               Atlanta            13,245    2.66% 069                 Peachtree            7,619    19.92%
054               Sandy              22,713   21.01%                     City
                  Springs                              069               Fayetteville        15,139    79.86%
054               Atlanta            37,370    7.49% 069                 Union City              3      0.01%
055               South Fulton        1,590    1.48% 069                 South Fulton        21,376    19.90%
055               Atlanta            58,381   11.71% 070                 Newnan              29,555    69.46%
056               Atlanta            58,929   11.82% 070                 Whitesburg            596    100.00%
057               Atlanta            59,969   12.02% 071                 Villa Rica           9,706    57.20%
058               Atlanta            59,057   11.84% 071                 Temple               5,026    98.76%
059               East Point          2,393    6.24% 072                 Carrollton          26,720    99.93%
059               Atlanta            57,041   11.44% 072                 Ephesus               471    100.00%
060               South Fulton        2,141    1.99% 072                 Franklin              950    100.00%
060               Atlanta            57,196   11.47% 072                 Centralhatche         348    100.00%
061               Douglasville        4,872   14.06%                     e
061               Union City           785     2.93% 072                 Roopville             231    100.00%
061               South Fulton       22,310   20.77% 072                 LaGrange               26      0.08%
061               East Point          3,706    9.66% 072                 Hogansville          3,267   100.00%
061               Atlanta             1,783    0.36% 073                 Newnan              12,994    30.54%
061               Austell              126     1.63% 073                 Sharpsburg            313     95.72%
062               South Fulton        2,398    2.23% 073                 Peachtree           18,937    49.52%
062               College Park        6,275   45.05%                     City
062               East Point         27,974   72.93% 073                 Tyrone                  0      0.00%
062               Atlanta            22,803    4.57% 073                 Brooks                568    100.00%
063               Hapeville           6,553   100.00% 074                Sunny Side            203    100.00%
063               Union City           638      2.38% 074                Hampton              8,368   100.00%
063               South Fulton        8,302    7.73% 074                 Lovejoy              8,183    80.84%
063               College Park        6,682   47.97% 075                 Jonesboro             962     22.72%
063               East Point          4,285   11.17% 075                 Riverdale            9,287    61.39%
063               Atlanta            32,921    6.60% 075                 Morrow                495      7.54%
064               Villa Rica          7,264   42.80% 076                 Forest Park           702      3.52%
064               Douglasville        1,139    3.29% 076                 Morrow               4,758    72.43%
064               Hiram                  0     0.00% 076                 Lake City            1,531    51.86%
065               Chattahooch         2,934   99.46% 077                 Woolsey               206    100.00%
                  ee Hills                             077               Fayetteville         3,570    18.83%
065               Douglasville          62     0.18% 077                 Riverdale            5,226    34.54%
065               Palmetto             549    10.83% 078                 Jonesboro            3,273    77.28%
065               Union City          1,105    4.12% 078                 Lovejoy                 0      0.00%
065               South Fulton       23,011   21.42% 078                 Stockbridge          6,588    22.74%
066               Douglasville       28,577   82.47% 079                 Riverdale             616      4.07%
067               Chattahooch           16     0.54% 079                 Forest Park         19,230    96.48%
                  ee Hills                             079               Morrow               1,316    20.03%
067               Palmetto            4,522   89.17% 079                 Lake City            1,421    48.14%
067               Fairburn           15,420   93.55% 079                 College Park          973      6.98%
067               Union City         13,013   48.50% 080                 Dunwoody            38,124    73.77%
067               South Fulton        8,904    8.29% 080                 Chamblee             5,436    18.02%
068               Peachtree          11,688   30.56% 080                 Doraville           10,623   100.00%
                  City                                081                Chamblee             5,398    17.90%
068               Tyrone              7,658   100.00% 081                Tucker               5,554    15.01%
068               Fairburn            1,063     6.45% 082                Decatur             10,772    43.21%
068               Fayetteville         248     1.31% 082                 Brookhaven            342      0.62%
068               Union City         11,286   42.06% 082                 Atlanta              6,198     1.24%
068               South Fulton       17,404   16.20% 083                 Brookhaven          40,078    72.66%
                                                       083               Chamblee            19,330    64.08%


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Communities of Interest (Condensed)                                                           Illustrative_House

District          City/Town       Population    % Pop District            City/Town       Population     % Pop
083               Atlanta                 8      0.00% 101                Lawrenceville        1,613     5.27%
084               Decatur              6,458    25.91% 102                Lawrenceville       28,787    93.99%
084               Avondale             3,567   100.00% 103                Flowery              4,040    43.02%
                  Estates                                                 Branch
084               Stonecrest           2,815     4.76% 103                Suwanee                 1      0.00%
085               Decatur                 0      0.00% 103                Sugar Hill           3,638    14.51%
085               Avondale                0      0.00% 103                Buford              13,750    80.20%
                  Estates                                103              Rest Haven             20     44.44%
085               Clarkston            5,456    36.97% 104                Auburn               7,495   100.00%
086               Clarkston            9,300    63.03% 104                Carl                  209    100.00%
086               Tucker               3,934    10.63% 104                Bethlehem              11      1.54%
086               Stonecrest           7,213    12.19% 104                Winder                906      4.94%
087               Pine Lake             752    100.00% 104                Braselton              80      0.60%
087               Stone                1,338    19.96% 105                Dacula               2,218    32.23%
                  Mountain                             105                Buford                 78      0.45%
087               Tucker              12,666    34.23% 106                Snellville          19,134    93.01%
088               Stone                5,365    80.04% 107                Lawrenceville         229      0.75%
                  Mountain
                                                         108              Lilburn             13,847    95.48%
088               Tucker              14,851    40.13%
                                                         109              Lilburn               240      1.65%
088               Lilburn               219      1.51%
                                                         110              Snellville           1,439     6.99%
089               Decatur              7,698    30.88%
                                                         110              Grayson              4,730   100.00%
089               Atlanta             10,752     2.16%
                                                         110              Loganville           3,155    22.33%
090               Atlanta             23,062     4.62%
                                                         111              Walnut Grove            0      0.00%
091               Stonecrest          19,700    33.28%
                                                         111              Between                17      4.23%
092               Stonecrest          15,607    26.37%
                                                         111              Loganville          10,972    77.67%
093               Covington            1,201     8.46%
                                                         111              Dacula               4,664    67.77%
093               Oxford                 11      0.48%
                                                         112              Walnut Grove         1,322   100.00%
093               Stonecrest           8,338    14.09%
                                                         112              Jersey                146    100.00%
093               Lithonia             2,662   100.00%
                                                         112              Social Circle        4,969    99.90%
093               Conyers             16,433    94.96%
                                                         112              Monroe              14,928   100.00%
094               Stonecrest           5,521     9.33%
                                                         112              Between               385     95.77%
095               Conyers               872      5.04%
                                                         112              Good Hope             339    100.00%
096               Norcross            13,708    79.66%
                                                         113              Covington            8,064    56.82%
096               Peachtree             267      0.63%
                                                         113              Porterdale           1,799   100.00%
                  Corners
                                                         114              Covington            4,927    34.72%
096               Duluth               1,487     4.67%
                                                         114              Oxford               2,297    99.52%
097               Norcross             3,493    20.30%
                                                         114              Social Circle           5      0.10%
097               Peachtree           26,949    63.80%
                                                         114              Rutledge              871    100.00%
                  Corners
                                                         114              Bostwick              378    100.00%
097               Berkeley Lake        2,054   100.00%
                                                         114              Madison              4,447   100.00%
097               Duluth              21,471    67.36%
                                                         114              Buckhead              194    100.00%
098               Norcross                8      0.05%
                                                         114              Mansfield             442    100.00%
098               Lilburn               196      1.35%
                                                         114              Newborn               676    100.00%
099               Duluth               8,915    27.97%
                                                         114              Shady Dale            252    100.00%
099               Suwanee             20,367    97.98%
                                                         115              Stockbridge          4,268    14.73%
099               Sugar Hill           6,231    24.85%
                                                         115              McDonough           24,595    84.66%
100               Flowery                 1      0.01%
                  Branch                                 116              Lovejoy              1,939    19.16%
100               Suwanee               409      1.97% 116                Stockbridge         18,117    62.53%
100               Sugar Hill          15,207    60.64% 116                McDonough            1,033     3.56%
100               Buford               3,235    18.87% 117                Griffin             17,971    76.54%
100               Rest Haven             25     55.56% 117                McDonough            3,423    11.78%
101               Suwanee                 9      0.04% 117                Locust Grove         4,319    48.27%
                                                         118              Jackson              5,557   100.00%


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Communities of Interest (Condensed)                                                          Illustrative_House

District          City/Town      Population    % Pop District            City/Town       Population     % Pop
118               Flovilla             643    100.00% 126                Gibson                630    100.00%
118               Locust Grove        4,628    51.73% 128                Dublin              10,031    62.41%
118               Jenkinsburg          391    100.00% 128                East Dublin          2,492   100.00%
119               Bethlehem            704     98.46% 128                Oconee                197    100.00%
119               Winder             17,432    95.06% 128                Deepstep              117    100.00%
119               Statham             2,813   100.00% 128                Midville              385    100.00%
119               Braselton           2,007    14.97% 128                Vidette               103    100.00%
120               Bogart               155     11.69% 128                Wrightsville         3,449   100.00%
120               Arcade              1,128    59.87% 128                Adrian                322     58.33%
120               Jefferson            770      5.82% 128                Harrison              339    100.00%
120               Nicholson           1,808   100.00% 128                Tennille             1,469   100.00%
120               Commerce            3,117    42.20% 128                Sandersville         5,813   100.00%
121               North High           552    100.00% 128                Riddleville            80    100.00%
                  Shoals                                128              Davisboro            1,832   100.00%
121               Bogart              1,171    88.31% 128                Bartow                186    100.00%
121               Bishop               332    100.00% 128                Wadley               1,643   100.00%
121               Watkinsville        2,896   100.00% 128                Louisville           2,381   100.00%
123               Tignall              485    100.00% 130                Hephzibah            3,830   100.00%
123               Lincolnton          1,480   100.00% 131                Grovetown            1,993    12.79%
123               Hull                 230    100.00% 133                Sharon                104    100.00%
123               Lexington            203    100.00% 133                Washington           3,754   100.00%
123               Crawford             821    100.00% 133                Crawfordville         479    100.00%
123               Colbert              630    100.00% 133                Rayle                 158    100.00%
123               Comer               1,512   100.00% 133                Danville               22     13.33%
123               Carlton              263    100.00% 133                Allentown             128     65.64%
123               Danielsville         654    100.00% 133                Gordon               1,783   100.00%
123               Bowman               872    100.00% 133                Ivey                 1,037   100.00%
123               Elberton            4,640   100.00% 133                Irwinton              531    100.00%
124               Greensboro          3,648   100.00% 133                McIntyre              575    100.00%
124               Woodville            264    100.00% 133                Toomsboro             383    100.00%
124               Maxeys               198    100.00% 133                Milledgeville       13,011    76.22%
124               Winterville         1,201   100.00% 133                Sparta               1,357   100.00%
124               Arnoldsville         431    100.00% 133                Warrenton            1,744   100.00%
124               Union Point         1,597   100.00% 133                Norwood               202    100.00%
124               Eatonton            6,307   100.00% 133                Camak                 141    100.00%
124               White Plains         239    100.00% 134                Concord               378    100.00%
124               Siloam               194    100.00% 134                Thomaston             532      5.42%
125               Thomson             6,814   100.00% 134                Yatesville            394    100.00%
125               Dearing              529    100.00% 134                Zebulon              1,225   100.00%
125               Harlem              3,571   100.00% 134                Meansville            266    100.00%
125               Grovetown          13,584    87.21% 134                Williamson            681    100.00%
126               Sylvania             829     31.47% 134                Griffin              5,507    23.46%
126               Hiltonia             310    100.00% 134                Orchard Hill          219    100.00%
126               Sardis               995    100.00% 134                Molena                392    100.00%
126               Girard               184    100.00% 135                Aldora                  0      0.00%
126               Avera                223    100.00% 135                Barnesville          6,292   100.00%
126               Stapleton            402    100.00% 135                Milner                772    100.00%
126               Wrens               2,217   100.00% 135                Forsyth              4,384   100.00%
126               Keysville            300    100.00% 135                Monticello           2,541   100.00%
126               Blythe               744    100.00% 136                Gay                   110    100.00%
126               Waynesboro          5,799   100.00% 136                Haralson              172    100.00%
126               Edge Hill             22    100.00% 136                Sharpsburg             14      4.28%
126               Mitchell             153    100.00%


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Communities of Interest (Condensed)                                                            Illustrative_House

District          City/Town        Population    % Pop District            City/Town       Population     % Pop
136               Turin                  347    100.00% 148                Jacksonville          111    100.00%
136               Senoia                5,016   100.00% 148                Abbeville            2,685   100.00%
136               LaGrange             13,269    43.00% 148                Cordele             10,220   100.00%
136               Woodbury               908    100.00% 148                Arabi                 447    100.00%
136               Lone Oak               114    100.00% 148                Pitts                 252    100.00%
136               Grantville            3,103   100.00% 148                Rochelle             1,167   100.00%
136               Greenville             794    100.00% 148                Lumber City           967    100.00%
136               Luthersville           776    100.00% 148                Scotland              166     95.95%
136               Moreland               382    100.00% 149                Centerville          8,128    98.78%
137               LaGrange              8,545    27.69% 149                Warner              38,773    48.28%
137               Columbus             30,443    14.71%                    Robins
137               Pine                    87      7.15% 150                Butler               1,881   100.00%
                  Mountain                              150                Reynolds              926    100.00%
137               Warm                   465    100.00% 150                Lilly                 129    100.00%
                  Springs                                 150              Pinehurst             309    100.00%
137               Geneva                  75    100.00% 150                Unadilla             3,118   100.00%
137               Junction City          138    100.00% 150                Fort Valley          8,769    99.87%
137               Talbotton              742    100.00% 150                Americus             9,766    60.17%
137               Manchester            3,584   100.00% 150                Ideal                 407    100.00%
137               Woodland               305    100.00% 150                Andersonville         237    100.00%
138               West Point            3,719   100.00% 150                Dooling                68    100.00%
138               LaGrange              9,018    29.22% 150                Byromville            422    100.00%
138               Columbus             12,190     5.89% 150                Oglethorpe            995    100.00%
138               Hamilton              1,680   100.00% 150                Montezuma            3,047   100.00%
138               Pine                  1,129    92.85% 150                Marshallville        1,048   100.00%
                  Mountain                                150              Vienna               2,928   100.00%
138               Shiloh                 402    100.00% 151                Buena Vista          1,585   100.00%
139               Columbus             45,976    22.22% 151                Leesburg             3,480   100.00%
139               Waverly Hall           638    100.00% 151                Smithville            593    100.00%
140               Columbus             59,294    28.66% 151                Leslie                344    100.00%
141               Columbus             59,019    28.52% 151                De Soto               124    100.00%
142               Centerville            100      1.22% 151                Plains                573    100.00%
142               Warner               18,468    23.00% 151                Ellaville            1,595   100.00%
                  Robins
                                                          151              Americus             6,464    39.83%
143               Danville               143     86.67%
                                                          152              Moultrie             5,228    35.72%
143               Jeffersonville         977    100.00%
                                                          152              Norman Park           963    100.00%
143               Allentown               59     30.26%
                                                          152              Warwick               504    100.00%
144               Gray                  3,436   100.00%
                                                          152              Doerun                738    100.00%
144               Milledgeville         4,059    23.78%
                                                          152              Sylvester            5,644   100.00%
145               Culloden               200    100.00%
                                                          152              Poulan                760    100.00%
146               Perry                20,534    99.56%
                                                          152              Sumner                445    100.00%
146               Warner                8,130    10.12%
                                                          152              Ty Ty                 641    100.00%
                  Robins
                                                          152              Tifton               3,139    18.42%
147               Thomaston             9,284    94.58%
                                                          152              Ellenton              210    100.00%
147               Roberta                813    100.00%
                                                          152              Omega                  31      2.35%
147               Perry                   90      0.44%
                                                          153              Dawson               4,414   100.00%
147               Fort Valley             11      0.13%
                                                          153              Parrott               120    100.00%
147               Warner               14,937    18.60%
                                                          153              Lumpkin               891    100.00%
                  Robins
                                                          153              Richland             1,370   100.00%
147               Byron                 5,702   100.00%
                                                          153              Albany              38,862    55.80%
148               Pineview               454    100.00%
                                                          153              Sasser                287    100.00%
148               Hawkinsville          3,980   100.00%
                                                          153              Bronwood              334    100.00%
148               Fitzgerald            9,006   100.00%
                                                          154              Bluffton              113    100.00%


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Communities of Interest (Condensed)                                                         Illustrative_House

District          City/Town     Population    % Pop District            City/Town       Population     % Pop
154               Edison             1,230   100.00% 157                Manassas               59    100.00%
154               Cuthbert           3,143   100.00% 157                Bellville             127    100.00%
154               Morgan             1,741   100.00% 157                Hagan                 959    100.00%
154               Leary               524    100.00% 157                Claxton              2,602   100.00%
154               Shellman            861    100.00% 157                Daisy                 159    100.00%
154               Albany            15,582    22.37% 158                Summertown            121    100.00%
154               Jakin               131    100.00% 158                Twin City            1,642   100.00%
154               Colquitt           2,001   100.00% 158                Garfield              257    100.00%
154               Blakely            5,371   100.00% 158                Portal                638    100.00%
154               Damascus            212    100.00% 158                Millen               2,966   100.00%
154               Arlington          1,209   100.00% 158                Oak Park              512    100.00%
154               Newton              602    100.00% 158                Nunez                 134    100.00%
154               Fort Gaines         995    100.00% 158                Statesboro           6,500    19.44%
155               Rhine               295    100.00% 158                Stillmore             439    100.00%
155               Eastman            5,658   100.00% 158                Metter               4,004   100.00%
155               Cochran            5,026   100.00% 158                Pulaski               211    100.00%
155               Chester             525    100.00% 158                Register              157    100.00%
155               Milan               347     56.61% 158                Adrian                230     41.67%
155               Chauncey            289    100.00% 158                Kite                  160    100.00%
155               Cadwell             381    100.00% 158                Swainsboro           7,425   100.00%
155               Dexter              655    100.00% 159                Oliver                210    100.00%
155               Rentz               312    100.00% 159                Sylvania             1,805    68.53%
155               Allentown             8      4.10% 159                Newington             290    100.00%
155               Montrose            203    100.00% 159                Rocky Ford            167    100.00%
155               Dudley              593    100.00% 159                Statesboro           6,468    19.34%
155               Dublin             6,043    37.59% 159                Guyton               2,289   100.00%
155               East Dublin           0      0.00% 159                Springfield          2,703   100.00%
156               Milan               266     43.39% 160                Pembroke             2,513   100.00%
156               McRae-             6,253   100.00% 160                Statesboro          20,470    61.22%
                  Helena                               160              Brooklet             1,704   100.00%
156               Scotland              7      4.05% 161                Pooler               5,335    20.75%
156               Alamo               771    100.00% 161                Garden City             8      0.08%
156               Glenwood            850    100.00% 161                Port                10,878   100.00%
156               Mount              1,990   100.00%                    Wentworth
                  Vernon                             161                Rincon              10,934   100.00%
156               Soperton           2,889   100.00% 161                Savannah            11,988     8.11%
156               Uvalda              439    100.00% 162                Pooler                  0      0.00%
156               Alston              178    100.00% 162                Garden City           175      1.70%
156               Ailey               519    100.00% 162                Savannah            35,231    23.84%
156               Higgston            314    100.00% 163                Vernonburg            139    100.00%
156               Vidalia           10,785   100.00% 163                Garden City         10,085    98.02%
156               Santa Claus         204    100.00% 163                Savannah            48,006    32.48%
156               Lyons              4,239   100.00% 164                Pooler              20,376    79.25%
156               Tarrytown            66    100.00% 164                Garden City            21      0.20%
157               Denton              189    100.00% 164                Richmond            16,608    99.85%
157               Hazlehurst         4,088   100.00%                    Hill
157               Graham              263    100.00% 164                Bloomingdale         2,790   100.00%
157               Baxley             4,942   100.00% 164                Savannah              953      0.64%
157               Surrency            194    100.00% 165                Garden City             0      0.00%
157               Glennville           13      0.34% 165                Thunderbolt          2,556   100.00%
157               Reidsville         2,515   100.00% 165                Savannah            48,219    32.63%
157               Collins             540    100.00% 166                Tybee Island         3,114   100.00%
157               Cobbtown            341    100.00%


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Communities of Interest (Condensed)                                                           Illustrative_House

District          City/Town       Population    % Pop District            City/Town       Population     % Pop
166               Richmond               25      0.15% 173                Donalsonville        2,833   100.00%
                  Hill                                 173                Iron City             312    100.00%
166               Savannah             3,383     2.29% 173                Brinson               217    100.00%
167               Darien               1,460   100.00% 173                Whigham               428    100.00%
167               Ludowici             1,590   100.00% 173                Cairo               10,125    99.47%
167               Walthourville           6      0.16% 174                Waycross             5,831    41.82%
167               Riceboro              615    100.00% 174                Homeland              886    100.00%
167               Midway               2,141   100.00% 174                Folkston             4,464   100.00%
168               Gumbranch             235    100.00% 174                Hoboken               480    100.00%
168               Walthourville        3,674    99.84% 174                Nahunta              1,013   100.00%
168               Allenhurst            816    100.00% 174                Lake Park             505     54.18%
168               Hinesville          34,891   100.00% 174                Dasher                890    100.00%
168               Flemington            825    100.00% 174                Du Pont               134    100.00%
168               Glennville           3,821    99.66% 174                Fargo                 250    100.00%
169               Ocilla               3,498   100.00% 174                Homerville           2,344   100.00%
169               Fitzgerald              0      0.00% 174                Argyle                190    100.00%
169               Ambrose               327    100.00% 175                Barwick               105     28.93%
169               Douglas             11,109    94.77% 175                Quitman              4,064   100.00%
169               Broxton              1,060   100.00% 175                Pavo                  242     38.91%
169               Sycamore              692    100.00% 175                Morven                506    100.00%
169               Ashburn              4,291   100.00% 175                Hahira               3,384   100.00%
169               Rebecca               208    100.00% 175                Valdosta             4,271     7.71%
169               Nicholls             3,147   100.00% 175                Lake Park             427     45.82%
170               Tifton              13,906    81.58% 176                Douglas               613      5.23%
170               Cecil                 284    100.00% 176                Waycross             8,103    58.12%
170               Sparks               2,043   100.00% 176                Ray City                0      0.00%
170               Adel                 5,571   100.00% 176                Lakeland             2,875   100.00%
170               Omega                1,287    97.65% 176                Willacoochee         1,240   100.00%
170               Lenox                 752    100.00% 176                Pearson              1,821   100.00%
170               Ray City              956    100.00% 177                Remerton             1,334   100.00%
170               Nashville            4,947   100.00% 177                Valdosta            51,107    92.29%
170               Enigma               1,058   100.00% 178                Waycross                8      0.06%
170               Alapaha               481    100.00% 178                Blackshear           3,506   100.00%
171               Albany              15,203    21.83% 178                Patterson             749    100.00%
171               Thomasville          9,447    50.03% 178                Offerman              450    100.00%
171               Pelham               3,507   100.00% 178                Alma                 3,433   100.00%
171               Camilla              5,187   100.00% 178                Screven               769    100.00%
171               Baconton              856    100.00% 178                Odum                  463    100.00%
171               Ochlocknee            672    100.00% 178                Jesup                9,809   100.00%
171               Meigs                 928    100.00% 179                Brunswick           15,210   100.00%
171               Sale City             354    100.00% 180                Kingsland           18,337   100.00%
172               Boston               1,207   100.00% 180                St. Marys           18,256   100.00%
172               Barwick               258     71.07% 180                Woodbine             1,062   100.00%
172               Coolidge              528    100.00%
172               Moultrie             9,410    64.28%
172               Pavo                  380     61.09%
172               Funston               402    100.00%
172               Berlin                511    100.00%
172               Cairo                  54      0.53%
172               Thomasville          9,434    49.97%
173               Bainbridge          14,468   100.00%
173               Attapulgus            454    100.00%
173               Climax                276    100.00%


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      User:
Plan Name: Enacted House B-V-C
 Plan Type: House


Communities of Interest (Condensed)
Wednesday, November 30, 2022                                                                                9:22 AM
Whole City/Town : 402
City/Town Splits: 411
Zero Population City/Town Splits: 33

District            City/Town         Population    % Pop District            City/Town        Population     % Pop
1                   Trenton GA             2,195   100.00% 8                  Tallulah Falls         120      60.30%
1                   Lookout                1,641   100.00%                    GA
                    Mountain GA                              8                Tiger GA               422    100.00%
1                   Rossville GA           3,980   100.00% 8                  Clayton GA            2,003   100.00%
1                   Fort                    346      3.32% 8                  Mountain               904    100.00%
                    Oglethorpe                                                City GA
                    GA                                     8                  Dillard GA             337    100.00%
2                   Tunnel Hill             963    100.00% 8                  Sky Valley GA          482    100.00%
                    GA                                       8                Blairsville GA         616    100.00%
2                   Dalton GA                 0      0.00% 8                  Cleveland GA             0       0.00%
2                   Ringgold GA              18      0.53% 9                  Dawsonville           3,720   100.00%
2                   Varnell GA               19      0.87%                    GA
2                   LaFayette GA           6,888   100.00% 9                  Dahlonega             7,537   100.00%
2                   Chickamauga            2,917   100.00%                    GA
                    GA                                       10               Clarkesville          1,911   100.00%
2                   Fort                     12      0.12%                    GA
                    Oglethorpe                               10               Cornelia GA           4,259     94.58%
                    GA                                       10               Mount Airy              39       2.80%
3                   Ringgold GA            3,396    99.47%                    GA
3                   Fort                  10,065    96.57% 10                 Demorest GA           2,022   100.00%
                    Oglethorpe                               10               Cleveland GA          3,514   100.00%
                    GA
                                                             10               Alto GA                619      63.81%
4                   Dalton GA             31,882    92.63%
                                                             10               Baldwin GA            2,974     81.95%
5                   Plainville GA           356    100.00%
                                                             11               Chatsworth            4,179     85.74%
5                   Calhoun GA            16,949   100.00%                    GA
5                   Resaca GA              1,142   100.00% 11                 Jasper GA             4,084   100.00%
6                   Dalton GA              2,535     7.37% 11                 Talking Rock            91    100.00%
6                   Cohutta GA              764    100.00%                    GA
6                   Chatsworth              695     14.26% 11                 Nelson GA              549      47.95%
                    GA                                       11               Fairmount GA           772    100.00%
6                   Eton GA                 824    100.00% 11                 Ranger GA              107    100.00%
6                   Varnell GA             2,160    99.13% 12                 Menlo GA               480    100.00%
7                   East Ellijay GA         650    100.00% 12                 Cave Spring           1,174   100.00%
7                   Ellijay GA             1,862   100.00%                    GA
7                   McCaysville            1,149   100.00% 12                 Lyerly GA              454    100.00%
                    GA                                       12               Summerville           4,435   100.00%
7                   Blue Ridge             1,253   100.00%                    GA
                    GA                                     12                 Trion GA              1,960   100.00%
7                   Morganton               285    100.00% 12                 Rome GA               6,688     17.73%
                    GA
                                                             13               Rome GA              30,696     81.39%
8                   Helen GA                531    100.00%
                                                             14               Rome GA                329       0.87%
8                   Young Harris           1,098   100.00%
                                                             14               Kingston GA            722    100.00%
                    GA
                                                             14               Euharlee GA              8       0.19%
8                   Hiawassee               981    100.00%
                                                             14               Cartersville           299       1.29%
                    GA
                                                                              GA



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Communities of Interest (Condensed)                                                        Enacted House B-V-C

District         City/Town        Population    % Pop District            City/Town        Population     % Pop
14               White GA               661    100.00% 27                 Gillsville GA          212     69.28%
14               Adairsville GA        4,878   100.00% 27                 Clermont GA           1,021   100.00%
15               Euharlee GA            143      3.35% 27                 Lula GA               2,511    88.98%
15               Emerson GA            1,415   100.00% 28                 Tallulah Falls          79     39.70%
15               Cartersville         22,888    98.71%                    GA
                 GA                                      28               Cornelia GA            244      5.42%
16               Cedartown            10,190   100.00% 28                 Mount Airy            1,352    97.20%
                 GA                                                       GA
16               Buchanan GA              0      0.00% 28                 Toccoa GA             9,133   100.00%
16               Rockmart GA           4,732   100.00% 28                 Martin GA              335     99.70%
16               Aragon GA             1,440   100.00% 28                 Avalon GA              233    100.00%
16               Braswell GA            146     41.13% 28                 Gillsville GA           94     30.72%
16               Taylorsville           252    100.00% 28                 Lula GA                311     11.02%
                 GA                                      28               Maysville GA          1,033    55.33%
16               Euharlee GA           4,117    96.46% 28                 Homer GA              1,264   100.00%
17               Dallas GA            11,121    79.20% 28                 Alto GA                351     36.19%
17               Braswell GA            209     58.87% 28                 Baldwin GA             655     18.05%
18               Tallapoosa            3,227   100.00% 29                 Oakwood GA             306      6.35%
                 GA                                      29               Gainesville          35,841    84.74%
18               Mount Zion            1,766   100.00%                    GA
                 GA                                      30               Flowery               6,399    68.14%
18               Carrollton GA        19,235    71.94%                    Branch GA
18               Waco GA                536    100.00% 30                 Oakwood GA            4,516    93.65%
18               Bremen GA             7,185   100.00% 30                 Gainesville           3,398     8.03%
18               Buchanan GA            938    100.00%                    GA
18               Temple GA               63      1.24% 30                 Buford GA             1,562     9.11%
19               Dallas GA             2,921    20.80% 30                 Rest Haven               7     15.56%
19               Hiram GA              4,527    91.84%                    GA
20               Woodstock            23,149    66.02% 31                 Arcade GA             1,310    69.53%
                 GA                                    31                 Braselton GA          4,236    31.60%
20               Holly Springs            0      0.00% 31                 Hoschton GA           2,666   100.00%
                 GA                                    31                 Talmo GA               257    100.00%
21               Canton GA            10,191    30.91% 31                 Pendergrass           1,692   100.00%
21               Woodstock             2,095     5.97%                    GA
                 GA                                    31                 Jefferson GA         13,233   100.00%
21               Holly Springs        15,594    96.18% 31                 Maysville GA           834     44.67%
                 GA                                      31               Nicholson GA          1,808   100.00%
22               Milton GA             4,650    11.26% 31                 Commerce              7,387   100.00%
22               Ball Ground           2,560   100.00%                    GA
                 GA                                    32                 Hartwell GA           4,470   100.00%
22               Nelson GA              596     52.05% 32                 Ila GA                 350    100.00%
22               Holly Springs          607      3.74% 32                 Franklin              1,155   100.00%
                 GA                                                       Springs GA
23               Canton GA            22,782    69.09% 32                 Royston GA            2,649   100.00%
23               Waleska GA             921    100.00% 32                 Carnesville            713    100.00%
23               Holly Springs           12      0.07%                    GA
                 GA                                    32                 Canon GA               643    100.00%
24               Cumming GA            6,799    92.91% 32                 Lavonia GA            2,143   100.00%
25               Johns Creek           6,653     8.07% 32                 Martin GA                1      0.30%
                 GA
                                                         32               Bowersville            444    100.00%
25               Cumming GA             490      6.70%                    GA
26               Cumming GA              29      0.40% 33                 Washington             462     12.31%
27               Gainesville           3,057     7.23%                    GA
                 GA



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Communities of Interest (Condensed)                                                       Enacted House B-V-C

District         City/Town      Population    % Pop District            City/Town        Population     % Pop
33               Lincolnton          1,480   100.00% 50                 Johns Creek          58,422    70.85%
                 GA                                                     GA
33               Hull GA              230    100.00% 51                 Sandy                27,105    25.08%
33               Colbert GA           630    100.00%                    Springs GA
33               Comer GA            1,512   100.00% 51                 Roswell GA           20,762    22.36%
33               Carlton GA           263    100.00% 51                 Johns Creek           8,828    10.71%
33               Danielsville         654    100.00%                    GA
                 GA                                    52               Sandy                52,965    49.01%
33               Bowman GA            872    100.00%                    Springs GA
33               Elberton GA         4,640   100.00% 52                 Atlanta GA            8,678     1.74%
34               Kennesaw GA        21,216    64.22% 53                 Atlanta GA           46,920     9.41%
34               Marietta GA        10,078    16.53% 53                 Smyrna GA             2,824     5.07%
35               Acworth GA         22,440   100.00% 54                 Atlanta GA           69,697    13.98%
35               Kennesaw GA        10,241    31.00% 55                 South Fulton          3,105     2.89%
                                                                        GA
36               Acworth GA             0      0.00%
                                                       55               Atlanta GA           58,894    11.81%
36               Kennesaw GA           94      0.28%
                                                       56               Atlanta GA           61,095    12.25%
37               Marietta GA        27,768    45.54%
                                                       57               Atlanta GA           66,540    13.34%
38               Powder             16,887   100.00%
                 Springs GA                            58               Atlanta GA           65,527    13.14%
38               Austell GA             0      0.00% 59                 Hapeville GA          6,553   100.00%
39               Powder                 0      0.00% 59                 East Point GA         5,619    14.65%
                 Springs GA                            59               Atlanta GA           46,050     9.23%
39               Austell GA          7,587    98.37% 60                 Forest Park           9,361    46.96%
39               Smyrna GA           1,356     2.44%                    GA
40               Atlanta GA          3,846     0.77% 60                 College Park          3,136    22.51%
                                                                        GA
40               Smyrna GA          26,179    47.03%
                                                       60               East Point GA        18,204    47.46%
41               Marietta GA         3,561     5.84%
                                                       60               Atlanta GA           18,132     3.64%
41               Smyrna GA           4,704     8.45%
                                                       61               Douglasville          4,867    14.05%
42               Marietta GA        18,523    30.38%
                                                                        GA
42               Smyrna GA          20,600    37.01%
                                                       61               Powder                   0      0.00%
43               Marietta GA         1,042     1.71%
                                                                        Springs GA
44               Kennesaw GA         1,485     4.50%
                                                       61               South Fulton         14,109    13.13%
45               Sandy               8,260     7.64%                    GA
                 Springs GA
                                                       61               East Point GA            0      0.00%
46               Roswell GA             0      0.00%
                                                       61               Atlanta GA           13,316     2.67%
46               Woodstock           9,821    28.01%
                                                       61               Austell GA             126      1.63%
                 GA
                                                       62               Douglasville           942      2.72%
46               Mountain              12      2.06%
                                                                        GA
                 Park GA
                                                       62               Union City             817      3.05%
47               Roswell GA         18,674    20.12%
                                                                        GA
47               Alpharetta          8,223    12.49%
                                                       62               South Fulton         25,586    23.82%
                 GA
                                                                        GA
47               Milton GA          36,646    88.74%
                                                       62               College Park          3,321    23.84%
47               Mountain             571     97.94%                    GA
                 Park GA
                                                       62               East Point GA        14,535    37.89%
48               Roswell GA         53,397    57.52%
                                                       62               Atlanta GA               0      0.00%
48               Alpharetta          2,381     3.62%
                                                       63               Fayetteville         12,181    64.26%
                 GA
                                                                        GA
49               Roswell GA             0      0.00%
                                                       63               Union City             638      2.38%
49               Alpharetta         55,214    83.89%                    GA
                 GA
                                                       63               South Fulton         20,983    19.53%
49               Johns Creek         5,693     6.90%                    GA
                 GA
                                                       63               College Park          2,870    20.60%
                                                                        GA


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Communities of Interest (Condensed)                                                        Enacted House B-V-C

District         City/Town       Population    % Pop District            City/Town        Population     % Pop
64               Peachtree              62      0.16% 71                 Moreland GA            382    100.00%
                 City GA                              72                 Haralson GA            172    100.00%
64               Tyrone GA            7,658   100.00% 72                 Senoia GA             5,016   100.00%
64               Fairburn GA          1,097     6.66% 72                 Peachtree            30,959    80.95%
64               Fayetteville         5,057    26.68%                    City GA
                 GA                                   72                 Brooks GA              568    100.00%
64               Union City           5,099    19.00% 72                 Fayetteville           643      3.39%
                 GA                                                      GA
64               South Fulton        27,339    25.45% 73                 Woolsey GA             206    100.00%
                 GA                                     73               Fayetteville          1,076     5.68%
64               College Park         4,603    33.04%                    GA
                 GA                                   73                 Griffin GA            1,232     5.25%
64               East Point GA           0      0.00% 73                 Sunny Side             203    100.00%
65               Chattahooch          2,948    99.93%                    GA
                 ee Hills GA                          73                 Hampton GA            8,368   100.00%
65               Palmetto GA          4,510    88.94% 74                 Riverdale GA          5,100    33.71%
65               Fairburn GA         15,386    93.34% 74                 Forest Park           9,869    49.51%
65               Union City          20,276    75.57%                    GA
                 GA                                   74                 Morrow GA             5,269    80.21%
65               South Fulton        16,314    15.18% 74                 Lake City GA          2,154    72.97%
                 GA
                                                        75               Jonesboro             2,541    60.00%
66               Douglasville        27,702    79.95%                    GA
                 GA
                                                        75               Morrow GA              488      7.43%
66               Hiram GA                0      0.00%
                                                        76               Stockbridge              0      0.00%
67               Villa Rica GA        7,264    42.80%                    GA
67               Douglasville         1,139     3.29% 76                 Forest Park            702      3.52%
                 GA                                                      GA
67               Hiram GA              402      8.16% 76                 Morrow GA              805     12.25%
68               Villa Rica GA        9,706    57.20% 76                 Lake City GA           798     27.03%
68               Carrollton GA          12      0.04% 77                 Jonesboro               42      0.99%
68               Temple GA            5,026    98.76%                    GA
69               Carrollton GA        7,491    28.02% 77                 Riverdale GA         10,029    66.29%
69               Ephesus GA            471    100.00% 77                 Morrow GA                7      0.11%
69               Bowdon GA            2,161   100.00% 78                 Jonesboro             1,652    39.01%
69               Franklin GA           950    100.00%                    GA
69               Centralhatche         348    100.00% 78                 Lovejoy GA           10,122   100.00%
                 e GA                                   78               Stockbridge          11,824    40.81%
69               Roopville GA          231    100.00%                    GA
69               LaGrange GA          3,059     9.91% 79                 Dunwoody             51,683   100.00%
69               Hogansville            14      0.43%                    GA
                 GA                                     79               Chamblee GA           3,847    12.75%
70               Chattahooch             2      0.07% 79                 Doraville GA          5,125    48.24%
                 ee Hills GA                            80               Sandy                19,750    18.27%
70               Newnan GA           30,104    70.75%                    Springs GA
70               Whitesburg            596    100.00% 80                 Brookhaven           40,635    73.67%
                 GA                                                      GA
71               Newnan GA            5,839    13.72% 80                 Dunwoody                 0      0.00%
71               Sharpsburg            327    100.00%                    GA
                 GA                                     80               Chamblee GA           2,061     6.83%
71               Turin GA              347    100.00% 80                 Atlanta GA               8      0.00%
71               Peachtree            7,223    18.89% 81                 Brookhaven            7,546    13.68%
                 City GA                                                 GA
71               Palmetto GA           561     11.06% 81                 Chamblee GA          14,066    46.63%
71               Tyrone GA               0      0.00% 81                 Doraville GA          5,498    51.76%



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Communities of Interest (Condensed)                                                      Enacted House B-V-C

District         City/Town       Population    % Pop District            City/Town       Population     % Pop
81               Tucker GA            2,487     6.72% 95                 Johns Creek          2,857     3.47%
81               Norcross GA           459      2.67%                    GA
81               Peachtree               0      0.00% 96                 Norcross GA         13,405    77.90%
                 Corners GA                           96                 Peachtree             267      0.63%
82               Decatur GA           4,310    17.29%                    Corners GA
82               Brookhaven           6,980    12.65% 96                 Duluth GA            5,286    16.58%
                 GA                                   97                 Duluth GA           17,195    53.95%
82               Chamblee GA         10,190    33.78% 97                 Suwanee GA          16,585    79.79%
82               Atlanta GA           6,176     1.24% 97                 Sugar Hill GA        8,001    31.91%
83               Decatur GA           9,958    39.95% 97                 Buford GA            1,060     6.18%
83               Atlanta GA           6,944     1.39% 98                 Sugar Hill GA       15,916    63.47%
84               Decatur GA          10,138    40.67% 98                 Buford GA           13,419    78.27%
84               Avondale                0      0.00% 98                 Rest Haven             20     44.44%
                 Estates GA                                              GA
85               Decatur GA            522      2.09% 99                 Norcross GA             8      0.05%
85               Avondale             3,567   100.00% 99                 Lilburn GA            490      3.38%
                 Estates GA                             100              Lilburn GA            497      3.43%
85               Clarkston GA         9,811    66.49% 101                Suwanee GA              9      0.04%
86               Clarkston GA         4,500    30.50% 101                Lawrenceville        8,373    27.34%
86               Pine Lake GA            0      0.00%                    GA
86               Tucker GA            3,394     9.17% 102                Suwanee GA           4,192    20.17%
87               Clarkston GA          445      3.02% 102                Lawrenceville        1,613     5.27%
87               Pine Lake GA          752    100.00%                    GA
87               Tucker GA           16,329    44.13% 102                Sugar Hill GA        1,159     4.62%
87               Stonecrest             35      0.06% 103                Flowery              2,992    31.86%
                 GA                                                      Branch GA
88               Stone                6,703   100.00% 103                Braselton GA         7,160    53.42%
                 Mountain GA                          103                Oakwood GA              0      0.00%
88               Tucker GA           14,795    39.98% 103                Buford GA            1,103     6.43%
89               Atlanta GA          26,892     5.39% 103                Rest Haven             18     40.00%
90               Stockbridge          1,430     4.94%                    GA
                 GA                                     104              Auburn GA             225      3.00%
90               Stonecrest          10,881    18.38% 104                Lawrenceville        2,592     8.46%
                 GA                                                      GA
91               Stonecrest          27,241    46.02% 104                Dacula GA            6,882   100.00%
                 GA                                     105              Snellville GA        1,433     6.97%
91               Conyers GA           2,301    13.30% 105                Grayson GA           3,654    77.25%
92               Stonecrest          17,228    29.10% 105                Lawrenceville       10,922    35.66%
                 GA                                                      GA
92               Lithonia GA          2,631    98.84% 106                Snellville GA       17,776    86.40%
92               Conyers GA          14,132    81.66% 106                Grayson GA            564     11.92%
93               Stonecrest            203      0.34% 106                Loganville GA        1,354     9.58%
                 GA                                     106              Lawrenceville         889      2.90%
93               Lithonia GA            31      1.16%                    GA
93               Snellville GA          21      0.10% 107                Snellville GA        1,343     6.53%
93               Loganville GA         960      6.80% 107                Lawrenceville        6,240    20.37%
94               Stonecrest           3,606     6.09%                    GA
                 GA                                   108                Lilburn GA          13,515    93.19%
95               Norcross GA          3,337    19.39% 109                Stockbridge         11,625    40.12%
95               Peachtree           41,976    99.37%                    GA
                 Corners GA                             109              McDonough            3,818    13.14%
95               Berkeley Lake        2,054   100.00%                    GA
                 GA                                     110              McDonough           10,733    36.95%
95               Duluth GA            9,392    29.47%                    GA



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Communities of Interest (Condensed)                                                       Enacted House B-V-C

District          City/Town       Population    % Pop District            City/Town       Population     % Pop
110               Jackson GA            136      2.45% 119                Bishop GA             332    100.00%
110               Jenkinsburg           391    100.00% 119                Watkinsville         2,896   100.00%
                  GA                                                      GA
111               Stockbridge          4,094    14.13% 120                Sharon GA             104    100.00%
                  GA                                     120              Washington           3,292    87.69%
111               McDonough           14,500    49.91%                    GA
                  GA                                   120                Tignall GA            485    100.00%
111               Locust Grove         4,943    55.25% 120                Greensboro           3,648   100.00%
                  GA                                                      GA
112               Covington            6,608    46.56% 120                Woodville GA          264    100.00%
                  GA                                     120              Maxeys GA             198    100.00%
112               Oxford GA            2,297    99.52% 120                Arnoldsville          431    100.00%
112               Social Circle           5      0.10%                    GA
                  GA                                   120                Lexington GA          203    100.00%
112               Rutledge GA           871    100.00% 120                Crawford GA           821    100.00%
112               Bostwick GA           378    100.00% 120                Union Point          1,597   100.00%
112               Madison GA           4,447   100.00%                    GA
112               Buckhead GA           194    100.00% 120                Crawfordville         479    100.00%
112               Mansfield GA          442    100.00%                    GA
112               Newborn GA            676    100.00% 120                Rayle GA              158    100.00%
113               Covington            7,584    53.44% 120                Eatonton GA          4,334    68.72%
                  GA                                     120              White Plains          239    100.00%
113               Oxford GA              11      0.48%                    GA
113               Porterdale GA        1,799   100.00% 120                Siloam GA             194    100.00%
114               Between GA            210     52.24% 121                Thomson GA           5,618    82.45%
114               Bethlehem             262     36.64% 121                Dearing GA            529    100.00%
                  GA                                     121              Harlem GA            3,571   100.00%
114               Winder GA             671      3.66% 121                Grovetown           15,577   100.00%
114               Conyers GA            872      5.04%                    GA
114               Grayson GA            512     10.82% 126                Sardis GA             995    100.00%
114               Loganville GA       11,813    83.62% 126                Girard GA             184    100.00%
115               Walnut Grove         1,322   100.00% 126                Midville GA           385    100.00%
                  GA                                     126              Vidette GA            103    100.00%
115               Jersey GA             146    100.00% 126                Keysville GA          300    100.00%
115               Social Circle        4,969    99.90% 126                Hephzibah            3,830   100.00%
                  GA                                                      GA
115               Monroe GA           14,928   100.00% 126                Blythe GA              48      6.45%
115               Between GA            192     47.76% 126                Waynesboro           5,799   100.00%
115               Good Hope             339    100.00%                    GA
                  GA                                   127                Avera GA              223    100.00%
116               Auburn GA            7,270    97.00% 127                Stapleton GA          402    100.00%
116               Carl GA               209    100.00% 127                Wrens GA             2,217   100.00%
116               Bethlehem             453     63.36% 127                Blythe GA             696     93.55%
                  GA                                     127              Louisville GA        2,381   100.00%
116               Winder GA           17,667    96.34% 128                Oconee GA             197    100.00%
116               Statham GA           1,828    64.98% 128                Deepstep GA           117    100.00%
116               Braselton GA         2,007    14.97% 128                Sparta GA            1,357   100.00%
117               Statham GA            985     35.02% 128                Warrenton            1,744   100.00%
117               Bogart GA            1,326   100.00%                    GA
117               Arcade GA             574     30.47% 128                Norwood GA            202    100.00%
118               Winterville          1,201   100.00% 128                Camak GA              141    100.00%
                  GA                                     128              Thomson GA           1,196    17.55%
119               North High            552    100.00% 128                Wrightsville         3,449   100.00%
                  Shoals GA                                               GA



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Communities of Interest (Condensed)                                                          Enacted House B-V-C

District          City/Town        Population    % Pop District            City/Town        Population     % Pop
128               Harrison GA            339    100.00% 133                Pine                  1,129    92.85%
128               Tennille GA           1,469   100.00%                    Mountain GA
128               Sandersville          5,813   100.00% 134                Columbus GA          50,752    24.53%
                  GA                                    135                Columbus GA          52,783    25.51%
128               Riddleville GA          80    100.00% 136                Columbus GA          59,740    28.87%
128               Davisboro GA          1,832   100.00% 137                Gay GA                 110    100.00%
128               Bartow GA              186    100.00% 137                Columbus GA          31,457    15.20%
128               Wadley GA             1,643   100.00% 137                Waverly Hall           638    100.00%
128               Edge Hill GA            22    100.00%                    GA
128               Mitchell GA            153    100.00% 137                Pine                    87      7.15%
128               Gibson GA              630    100.00%                    Mountain GA
129               Jackson GA            5,421    97.55% 137                Shiloh GA              402    100.00%
129               Flovilla GA            643    100.00% 137                Warm                   465    100.00%
                                                                           Springs GA
129               Gray GA               3,436   100.00%
                                                          137              Geneva GA               75    100.00%
129               Monticello            2,541   100.00%
                  GA                                      137              Junction City          138    100.00%
                                                                           GA
129               Shady Dale             252    100.00%
                  GA                                      137              Talbotton GA           742    100.00%
130               Aldora GA                0      0.00% 137                Manchester            3,584   100.00%
                                                                           GA
130               Barnesville            905     14.38%
                  GA                                      137              Woodland               305    100.00%
                                                                           GA
130               Milner GA              772    100.00%
                                                          137              Woodbury               908    100.00%
130               Griffin GA           22,246    94.75%
                                                                           GA
130               Orchard Hill           219    100.00%
                                                          137              Greenville GA          794    100.00%
                  GA
                                                          138              Buena Vista           1,585   100.00%
130               Locust Grove          4,004    44.75%
                                                                           GA
                  GA
                                                          138              Plains GA              573    100.00%
131               Concord GA             378    100.00%
                                                          138              Ellaville GA          1,595   100.00%
131               Thomaston             9,816   100.00%
                  GA                                      138              Americus GA          16,230   100.00%
131               Yatesville GA          394    100.00% 138                Andersonville          237    100.00%
                                                                           GA
131               Zebulon GA            1,225   100.00%
                                                          139              Butler GA             1,881   100.00%
131               Meansville             266    100.00%
                  GA                                      139              Reynolds GA            926    100.00%
131               Williamson             681    100.00% 139                Lilly GA               129    100.00%
                  GA                                    139                Pinehurst GA           309    100.00%
131               Aldora GA                0      0.00% 139                Unadilla GA           3,118   100.00%
131               Barnesville           5,387    85.62% 139                Fort Valley           8,769    99.87%
                  GA                                                       GA
131               Molena GA              392    100.00% 139                Ideal GA               407    100.00%
132               Newnan GA             6,606    15.53% 139                Dooling GA              68    100.00%
132               Haralson GA              0      0.00% 139                Byromville             422    100.00%
132               LaGrange GA          20,431    66.21%                    GA
132               Hogansville           3,253    99.57% 139                Oglethorpe             995    100.00%
                  GA                                                       GA
132               Lone Oak GA            114    100.00% 139                Montezuma             3,047   100.00%
                                                                           GA
132               Grantville GA         3,103   100.00%
                                                          139              Marshallville         1,048   100.00%
132               Luthersville           776    100.00%
                                                                           GA
                  GA
                                                          139              Vienna GA             2,928   100.00%
133               West Point            3,719   100.00%
                  GA                                      140              Roberta GA             813    100.00%
133               LaGrange GA           7,368    23.88% 140                Culloden GA            200    100.00%
133               Columbus GA          12,190     5.89% 140                Forsyth GA            2,879    65.67%
133               Hamilton GA           1,680   100.00% 140                Perry GA                90      0.44%



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Communities of Interest (Condensed)                                                        Enacted House B-V-C

District          City/Town        Population    % Pop District            City/Town       Population     % Pop
140               Fort Valley             11      0.13% 149                Lumber City           967    100.00%
                  GA                                                       GA
140               Centerville           1,302    15.82% 149                Hazlehurst           2,577    63.04%
                  GA                                                       GA
140               Warner               14,531    18.09% 149                Scotland GA           173    100.00%
                  Robins GA                               149              Alamo GA              771    100.00%
140               Byron GA              5,702   100.00% 149                Glenwood GA           850    100.00%
141               Forsyth GA            1,505    34.33% 150                Dexter GA             655    100.00%
144               Cochran GA            5,026   100.00% 150                Rentz GA              312    100.00%
144               Warner                 734      0.91% 150                Dudley GA             593    100.00%
                  Robins GA                               150              Dublin GA           16,074   100.00%
144               Danville GA            165    100.00% 150                East Dublin          2,492   100.00%
144               Jeffersonville         977    100.00%                    GA
                  GA                                    150                Soperton GA          2,889   100.00%
144               Allentown GA           195    100.00% 150                Adrian GA             322     58.33%
144               Montrose GA            203    100.00% 150                Kite GA               160    100.00%
144               Gordon GA             1,783   100.00% 151                Bluffton GA           113    100.00%
144               Ivey GA               1,037   100.00% 151                Edison GA            1,230   100.00%
144               Irwinton GA            531    100.00% 151                Cuthbert GA          3,143   100.00%
144               McIntyre GA            575    100.00% 151                Morgan GA            1,741   100.00%
144               Dudley GA                0      0.00% 151                Leary GA              524    100.00%
144               Toomsboro              383    100.00% 151                Shellman GA           861    100.00%
                  GA
                                                          151              Dawson GA            4,414   100.00%
145               Eatonton GA           1,973    31.28%
                                                          151              Parrott GA            120    100.00%
145               Milledgeville        17,070   100.00%
                                                          151              Lumpkin GA            891    100.00%
                  GA
                                                          151              Richland GA          1,370   100.00%
146               Perry GA             15,572    75.50%
                                                          151              Albany GA            2,322     3.33%
146               Warner               26,598    33.12%
                                                          151              Sasser GA             287    100.00%
                  Robins GA
                                                          151              Bronwood GA           334    100.00%
147               Centerville           6,926    84.18%
                  GA                                      151              Jakin GA              131    100.00%
147               Warner               38,203    47.57% 151                Blakely GA           5,371   100.00%
                  Robins GA                             151                Damascus GA           212    100.00%
148               Perry GA              4,962    24.06% 151                Arlington GA         1,209   100.00%
148               Pineview GA            454    100.00% 151                Fort Gaines           995    100.00%
148               Hawkinsville          3,980   100.00%                    GA
                  GA                                      152              Leesburg GA          3,480   100.00%
148               Abbeville GA          2,685   100.00% 152                Smithville GA         593    100.00%
148               Warner                 242      0.30% 152                Leslie GA             344    100.00%
                  Robins GA                               152              De Soto GA            124    100.00%
148               Cordele GA           10,220   100.00% 152                Warwick GA            504    100.00%
148               Arabi GA               447    100.00% 152                Sylvester GA         5,644   100.00%
148               Pitts GA               252    100.00% 152                Poulan GA             760    100.00%
148               Rochelle GA           1,167   100.00% 152                Sumner GA             445    100.00%
149               Jacksonville           111    100.00% 153                Albany GA           42,938    61.65%
                  GA                                    154                Albany GA           24,387    35.02%
149               Rhine GA               295    100.00% 154                Donalsonville        2,833   100.00%
149               Eastman GA            5,658   100.00%                    GA
149               Chester GA             525    100.00% 154                Iron City GA          312    100.00%
149               Milan GA               613    100.00% 154                Colquitt GA          2,001   100.00%
149               Chauncey GA            289    100.00% 154                Newton GA             602    100.00%
149               McRae-                6,253   100.00% 155                Ocilla GA            3,498   100.00%
                  Helena GA                               155              Fitzgerald GA        9,006   100.00%
149               Cadwell GA             381    100.00% 155                Ambrose GA            327    100.00%



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Communities of Interest (Condensed)                                                        Enacted House B-V-C

District          City/Town       Population    % Pop District            City/Town       Population     % Pop
155               Broxton GA            676     63.77% 159                Rocky Ford            167    100.00%
155               Ty Ty GA              641    100.00%                    GA
155               Sycamore GA           692    100.00% 159                Statesboro           6,468    19.34%
155               Ashburn GA           4,291   100.00%                    GA
155               Tifton GA            3,139    18.42% 159                Guyton GA            2,289   100.00%
155               Rebecca GA            208    100.00% 159                Springfield          2,703   100.00%
                                                                          GA
156               Hazlehurst            606     14.82%
                  GA                                     160              Pembroke GA          2,513   100.00%
156               Graham GA             263    100.00% 160                Statesboro          20,470    61.22%
                                                                          GA
156               Baxley GA            4,228    85.55%
                                                         160              Brooklet GA          1,704   100.00%
156               Mount                1,990   100.00%
                  Vernon GA                              160              Register GA           157    100.00%
156               Uvalda GA             439    100.00% 161                Pooler GA           15,633    60.80%
156               Alston GA             178    100.00% 161                Garden City            29      0.28%
                                                                          GA
156               Ailey GA              519    100.00%
                                                         161              Port                10,878   100.00%
156               Higgston GA           314    100.00%
                                                                          Wentworth
156               Vidalia GA          10,785   100.00%
                                                                          GA
156               Santa Claus           204    100.00%
                                                         161              Rincon GA           10,934   100.00%
                  GA
                                                         161              Bloomingdale            0      0.00%
156               Lyons GA             4,239   100.00%
                                                                          GA
156               Tarrytown GA           66    100.00%
                                                         161              Savannah GA         11,990     8.11%
157               Jesup GA             6,614    67.43%
                                                         162              Pooler GA               0      0.00%
157               Glennville GA        3,834   100.00%
                                                         162              Garden City         10,260    99.72%
157               Reidsville GA        2,515   100.00%                    GA
157               Collins GA            540    100.00% 162                Savannah GA         31,516    21.33%
157               Cobbtown              341    100.00% 163                Garden City             0      0.00%
                  GA                                                      GA
157               Manassas GA            59    100.00% 163                Savannah GA         52,175    35.31%
157               Bellville GA          127    100.00% 164                Pooler GA           10,078    39.20%
157               Hagan GA              959    100.00% 164                Garden City             0      0.00%
157               Claxton GA           2,602   100.00%                    GA
157               Daisy GA              159    100.00% 164                Richmond            16,608    99.85%
158               Summertown            121    100.00%                    Hill GA
                  GA                                     164              Bloomingdale         2,790   100.00%
158               Twin City GA         1,642   100.00%                    GA
158               Garfield GA           257    100.00% 164                Savannah GA          5,493     3.72%
158               Portal GA             638    100.00% 165                Vernonburg            139    100.00%
158               Millen GA            2,966   100.00%                    GA
158               Oak Park GA           512    100.00% 165                Thunderbolt          2,556   100.00%
158               Nunez GA              134    100.00%                    GA
158               Statesboro           6,500    19.44% 165                Savannah GA         38,817    26.27%
                  GA                                   166                Thunderbolt             0      0.00%
158               Stillmore GA          439    100.00%                    GA
158               Metter GA            4,004   100.00% 166                Tybee Island         3,114   100.00%
                                                                          GA
158               Pulaski GA            211    100.00%
                                                         166              Richmond               25      0.15%
158               Adrian GA             230     41.67%
                                                                          Hill GA
158               Swainsboro           7,425   100.00%
                                                         166              Savannah GA          7,789     5.27%
                  GA
                                                         167              Darien GA            1,460   100.00%
159               Oliver GA             210    100.00%
                                                         167              Ludowici GA          1,590   100.00%
159               Sylvania GA          2,634   100.00%
                                                         168              Gumbranch             235    100.00%
159               Hiltonia GA           310    100.00%
                                                                          GA
159               Newington             290    100.00%
                                                         168              Walthourville        3,680   100.00%
                  GA
                                                                          GA



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Communities of Interest (Condensed)                                                       Enacted House B-V-C

District          City/Town       Population    % Pop District            City/Town      Population      % Pop
168               Allenhurst GA         816    100.00% 174                Kingsland GA        5,087     27.74%
168               Hinesville GA       34,891   100.00% 174                St. Marys GA           0       0.00%
168               Flemington            825    100.00% 174                Waycross GA         4,443     31.87%
                  GA                                     174              Homeland             886    100.00%
168               Riceboro GA           615    100.00%                    GA
168               Midway GA            2,141   100.00% 174                Folkston GA         4,464   100.00%
169               Douglas GA          11,722   100.00% 174                Valdosta GA            0       0.00%
169               Broxton GA            384     36.23% 174                Lake Park GA         932    100.00%
169               Nicholls GA          3,147   100.00% 174                Dasher GA            890    100.00%
169               Denton GA             189    100.00% 174                Du Pont GA           134    100.00%
169               Hazlehurst            905     22.14% 174                Fargo GA             250    100.00%
                  GA                                     174              Homerville          2,344   100.00%
169               Alma GA              3,433   100.00%                    GA
170               Tifton GA           12,259    71.92% 174                Argyle GA            190    100.00%
170               Cecil GA              284    100.00% 175                Boston GA           1,207   100.00%
170               Sparks GA            2,043   100.00% 175                Barwick GA           363    100.00%
170               Adel GA              5,571   100.00% 175                Quitman GA          4,064   100.00%
170               Lenox GA              752    100.00% 175                Pavo GA              622    100.00%
170               Ray City GA           956    100.00% 175                Morven GA            506    100.00%
170               Nashville GA         4,947   100.00% 175                Thomasville         2,831     14.99%
170               Enigma GA            1,058   100.00%                    GA
170               Alapaha GA            481    100.00% 175                Hahira GA           1,525     45.07%
171               Moultrie GA            24      0.16% 175                Valdosta GA         8,660     15.64%
171               Funston GA            402    100.00% 176                Waycross GA         3,970     28.48%
171               Bainbridge          14,018    96.89% 176                Hahira GA           1,859     54.93%
                  GA                                     176              Valdosta GA          686       1.24%
171               Brinson GA            217    100.00% 176                Ray City GA            0       0.00%
171               Pelham GA            3,507   100.00% 176                Lakeland GA         2,875   100.00%
171               Camilla GA           5,187   100.00% 176                Willacoochee        1,240   100.00%
171               Baconton GA           856    100.00%                    GA
171               Meigs GA               38      4.09% 176                Pearson GA          1,821   100.00%
171               Sale City GA          354    100.00% 177                Remerton GA         1,334   100.00%
171               Doerun GA             738    100.00% 177                Valdosta GA        46,032     83.12%
172               Coolidge GA           528    100.00% 178                Waycross GA            8       0.06%
172               Moultrie GA         14,614    99.84% 178                Hoboken GA           480    100.00%
172               Norman Park           963    100.00% 178                Blackshear          3,506   100.00%
                  GA                                                      GA
172               Berlin GA             511    100.00% 178                Patterson GA         749    100.00%
172               Ochlocknee            672    100.00% 178                Offerman GA          450    100.00%
                  GA                                     178              Nahunta GA          1,013   100.00%
172               Meigs GA              890     95.91% 178                Baxley GA            714      14.45%
172               Tifton GA            1,647     9.66% 178                Surrency GA          194    100.00%
172               Ellenton GA           210    100.00% 178                Screven GA           769    100.00%
172               Omega GA             1,318   100.00% 178                Odum GA              463    100.00%
173               Bainbridge            450      3.11% 178                Jesup GA            3,195     32.57%
                  GA                                     179              Brunswick GA       15,210   100.00%
173               Attapulgus            454    100.00% 180                Kingsland GA       13,250     72.26%
                  GA                                     180              St. Marys GA       18,256   100.00%
173               Climax GA             276    100.00% 180                Woodbine            1,062   100.00%
173               Whigham GA            428    100.00%                    GA
173               Cairo GA            10,179   100.00% 180                Waycross GA         5,521     39.60%
173               Thomasville         16,050    85.01%
                  GA



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                    EXHIBIT AH-6
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      User:
Plan Name: ga_house_HB1EX_
 Plan Type: Senate


Communities of Interest (Condensed)
Wednesday, November 30, 2022                                                                               9:54 AM
Whole City/Town : 412
City/Town Splits: 362
Zero Population City/Town Splits: 18

District            City/Town        Population    % Pop District            City/Town        Population     % Pop
001                 Trenton               2,195   100.00% 010                Mountain               904    100.00%
001                 LaFayette             6,888   100.00%                    City
001                 Lookout               1,641   100.00% 010                Dillard                337    100.00%
                    Mountain                              010                Sky Valley             482    100.00%
001                 Rossville             3,980   100.00% 010                Cornelia              4,503   100.00%
001                 Fort                   346      3.32% 010                Demorest              2,022   100.00%
                    Oglethorpe                              010              Alto                   619     63.81%
002                 Tunnel Hill            963    100.00% 010                Baldwin               2,974    81.95%
002                 Dalton                4,523    13.14% 011                Jasper                4,084   100.00%
002                 Varnell                 19      0.87% 011                Talking Rock            91    100.00%
002                 Chickamauga           2,917   100.00% 011                Ball Ground           2,560   100.00%
002                 Fort                    12      0.12% 011                Nelson                1,145   100.00%
                    Oglethorpe                              012              Menlo                  480    100.00%
003                 Ringgold              3,414   100.00% 012                Cave Spring           1,174   100.00%
003                 Fort                 10,065    96.57% 012                Lyerly                 454    100.00%
                    Oglethorpe
                                                            012              Summerville           4,435   100.00%
004                 Dalton               29,894    86.86%
                                                            012              Trion                 1,960   100.00%
004                 Varnell                  0      0.00%
                                                            012              Rome                  5,635    14.94%
005                 Plainville             356    100.00%
                                                            013              Rome                 32,078    85.06%
005                 Calhoun              16,949   100.00%
                                                            014              Taylorsville           217     86.11%
005                 Resaca                1,142   100.00%
                                                            014              Kingston               722    100.00%
005                 Fairmount              772    100.00%
                                                            014              Euharlee              4,268   100.00%
005                 Ranger                 107    100.00%
                                                            014              White                  661    100.00%
006                 Cohutta                764    100.00%
                                                            014              Adairsville           4,878   100.00%
006                 Chatsworth            4,874   100.00%
                                                            014              Waleska                921    100.00%
006                 Eton                   824    100.00%
                                                            015              Emerson               1,415   100.00%
006                 Varnell               2,160    99.13%
                                                            015              Cartersville         23,187   100.00%
007                 East Ellijay           650    100.00%
                                                            016              Cedartown            10,190   100.00%
007                 Ellijay               1,862   100.00%
                                                            016              Rockmart              4,732   100.00%
007                 McCaysville           1,149   100.00%
                                                            016              Aragon                1,440   100.00%
007                 Blue Ridge            1,253   100.00%
                                                            016              Braswell               337     94.93%
007                 Morganton              285    100.00%
                                                            016              Taylorsville            35     13.89%
008                 Helen                  531    100.00%
                                                            017              Dallas               12,764    90.90%
008                 Young Harris          1,098   100.00%
                                                            017              Braswell                18      5.07%
008                 Hiawassee              981    100.00%
                                                            018              Tallapoosa            3,227   100.00%
008                 Blairsville            616    100.00%
                                                            018              Mount Zion            1,766   100.00%
008                 Cleveland             3,514   100.00%
                                                            018              Waco                   536    100.00%
009                 Dawsonville           3,720   100.00%
                                                            018              Bremen                7,185   100.00%
009                 Dahlonega             7,537   100.00%
                                                            018              Buchanan               938    100.00%
009                 Cleveland                0      0.00%
                                                            018              Temple                  63      1.24%
010                 Clarkesville          1,911   100.00%
                                                            018              Bowdon                2,161   100.00%
010                 Tallulah Falls         199    100.00%
                                                            019              Dallas                1,278     9.10%
010                 Tiger                  422    100.00%
                                                            019              Hiram                 4,929   100.00%
010                 Clayton               2,003   100.00%
                                                            020              Canton                6,831    20.72%



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Communities of Interest (Condensed)                                                         ga_house_HB1EX_

District          City/Town       Population    % Pop District            City/Town      Population     % Pop
020               Woodstock            7,892    22.51% 033                Lavonia             2,143   100.00%
020               Holly Springs        2,089    12.88% 033                Martin                 1      0.30%
021               Woodstock            2,095     5.97% 033                Bowersville          444    100.00%
021               Holly Springs       12,233    75.45% 034                Kennesaw            6,711    20.31%
022               Kennesaw              599      1.81% 034                Marietta            4,869     7.99%
023               Canton              26,142    79.28% 035                Acworth            14,751    65.74%
023               Holly Springs        1,891    11.66% 035                Kennesaw           25,726    77.87%
025               Alpharetta          13,280    20.18% 036                Acworth             7,689    34.26%
026               Cumming              4,666    63.76% 037                Marietta           38,068    62.44%
027               Gainesville          5,587    13.21% 038                Powder             16,887   100.00%
027               Gillsville            212     69.28%                    Springs
027               Clermont             1,021   100.00% 038                Austell             7,587    98.37%
027               Lula                 2,511    88.98% 039                Smyrna               905      1.63%
028               Gainesville          1,139     2.69% 040                Smyrna             23,672    42.53%
028               Cumming              2,652    36.24% 042                Marietta            1,494     2.45%
029               Flowery                 0      0.00% 042                Smyrna             31,086    55.85%
                  Branch                               043                Marietta           16,541    27.13%
029               Oakwood              3,942    81.75% 044                Woodstock          16,978    48.42%
029               Gainesville         33,176    78.44% 046                Roswell                0      0.00%
030               Flowery              5,350    56.97% 046                Woodstock           8,100    23.10%
                  Branch                                 046              Mountain              12      2.06%
030               Braselton            7,080    52.82%                    Park
030               Oakwood               880     18.25% 047                Roswell             5,692     6.13%
030               Gainesville          1,376     3.25% 047                Alpharetta         11,678    17.74%
030               Buford                 81      0.47% 047                Milton             37,294    90.31%
031               Arcade               1,310    69.53% 047                Mountain             571     97.94%
031               Braselton            1,234     9.21%                    Park
031               Hoschton             2,666   100.00% 048                Roswell            12,589    13.56%
031               Gainesville          1,018     2.41% 048                Peachtree          15,027    35.57%
031               Talmo                 257    100.00%                    Corners
031               Pendergrass          1,692   100.00% 048                Alpharetta          8,833    13.42%
031               Jefferson           13,231    99.98% 048                Johns Creek        22,554    27.35%
031               Commerce              660      8.93% 049                Roswell            24,540    26.43%
032               Cornelia                0      0.00% 049                Alpharetta         30,611    46.51%
032               Mount Airy           1,391   100.00% 049                Milton              4,002     9.69%
032               Toccoa               9,133   100.00% 050                Alpharetta          1,416     2.15%
032               Martin                335     99.70% 050                Johns Creek        58,107    70.47%
032               Avalon                233    100.00% 051                Sandy              27,105    25.08%
                                                                          Springs
032               Gillsville             94     30.72%
                                                         051              Roswell            30,055    32.38%
032               Lula                  311     11.02%
                                                         051              Johns Creek         1,792     2.17%
032               Jefferson               2      0.02%
                                                         052              Sandy              31,511    29.16%
032               Maysville            1,867   100.00%
                                                                          Springs
032               Homer                1,264   100.00%
                                                         052              Brookhaven         14,741    26.72%
032               Commerce             5,012    67.85%
                                                         052              Dunwoody           13,559    26.23%
032               Alto                  351     36.19%
                                                         053              Sandy              26,751    24.75%
032               Baldwin               655     18.05%
                                                                          Springs
033               Hartwell             4,470   100.00%
                                                         053              Roswell            19,957    21.50%
033               Ila                   350    100.00%
                                                         053              Atlanta            13,245     2.66%
033               Franklin             1,155   100.00%
                                                         054              Sandy              22,713    21.01%
                  Springs
                                                                          Springs
033               Royston              2,649   100.00%
                                                         054              Atlanta            37,370     7.49%
033               Carnesville           713    100.00%
                                                         055              South Fulton        1,590     1.48%
033               Canon                 643    100.00%


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Communities of Interest (Condensed)                                                         ga_house_HB1EX_

District          City/Town      Population    % Pop District            City/Town       Population     % Pop
055               Atlanta            58,381    11.71% 071                Carrollton           6,692    25.03%
056               Atlanta            58,929    11.82% 071                Temple               5,026    98.76%
057               Atlanta            59,969    12.02% 072                Carrollton          20,046    74.97%
058               Atlanta            59,057    11.84% 072                Ephesus               471    100.00%
059               East Point          2,393     6.24% 072                Franklin              950    100.00%
059               Atlanta            57,041    11.44% 072                Centralhatche         348    100.00%
060               South Fulton        2,141     1.99%                    e
060               Atlanta            57,196    11.47% 072                Roopville             231    100.00%
061               Douglasville        4,872    14.06% 072                LaGrange               26      0.08%
061               Union City           785      2.93% 072                Hogansville          3,267   100.00%
061               South Fulton       22,310    20.77% 073                Newnan              12,994    30.54%
061               East Point          3,706     9.66% 073                Sharpsburg            313     95.72%
061               Atlanta             1,783     0.36% 073                Peachtree           21,996    57.51%
061               Austell              126      1.63%                    City
062               South Fulton        2,398     2.23% 073                Tyrone                  0      0.00%
062               College Park        6,275    45.05% 073                Fayetteville          454      2.39%
062               East Point         27,974    72.93% 074                Peachtree            4,560    11.92%
                                                                         City
062               Atlanta            22,803     4.57%
                                                        074              Brooks                568    100.00%
063               Hapeville           6,553   100.00%
                                                        074              Woolsey               206    100.00%
063               Union City           638      2.38%
                                                        074              Fayetteville         1,076     5.68%
063               South Fulton        8,302     7.73%
                                                        074              Griffin               787      3.35%
063               College Park        6,682    47.97%
                                                        074              Sunny Side            203    100.00%
063               East Point          4,285    11.17%
                                                        074              Hampton              8,368   100.00%
063               Atlanta            32,921     6.60%
                                                        075              Jonesboro            3,129    73.88%
064               Villa Rica          7,264    42.80%
                                                        075              Morrow                488      7.43%
064               Douglasville        1,139     3.29%
                                                        076              Forest Park          3,010    15.10%
064               Hiram                  0      0.00%
                                                        076              Morrow               4,758    72.43%
065               Chattahooch         2,934    99.46%
                  ee Hills                              076              Lake City            1,531    51.86%
065               Douglasville          62      0.18% 077                Riverdale             414      2.74%
065               Palmetto             549     10.83% 077                Forest Park         13,240    66.43%
065               Union City          1,105     4.12% 077                Morrow                180      2.74%
065               South Fulton       23,011    21.42% 077                Lake City            1,421    48.14%
066               Douglasville       28,577    82.47% 077                College Park          973      6.98%
067               Chattahooch           16      0.54% 078                Jonesboro            1,106    26.12%
                  ee Hills                              078              Lovejoy              6,678    65.98%
067               Palmetto            4,522    89.17% 078                Stockbridge          2,766     9.55%
067               Fairburn           15,420    93.55% 078                Morrow                  0      0.00%
067               Union City         13,013    48.50% 079                Riverdale           14,715    97.26%
067               South Fulton        8,904     8.29% 079                Forest Park          3,682    18.47%
068               Peachtree          11,688    30.56% 079                Morrow               1,143    17.40%
                  City                                080                Dunwoody            38,124    73.77%
068               Tyrone              7,658   100.00% 080                Chamblee             5,436    18.02%
068               Fairburn            1,063     6.45% 080                Doraville           10,623   100.00%
068               Fayetteville         248      1.31% 081                Chamblee             5,398    17.90%
068               Union City         11,286    42.06% 081                Tucker               5,554    15.01%
068               South Fulton       17,404    16.20% 082                Decatur             10,772    43.21%
069               Fayetteville       17,179    90.62% 082                Brookhaven            342      0.62%
069               Union City             3      0.01% 082                Atlanta              6,198     1.24%
069               South Fulton       21,376    19.90% 083                Brookhaven          40,078    72.66%
070               Newnan             29,555    69.46% 083                Chamblee            19,330    64.08%
070               Whitesburg           596    100.00% 083                Atlanta                 8      0.00%
071               Villa Rica          9,706    57.20% 084                Decatur              6,458    25.91%


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Communities of Interest (Condensed)                                                          ga_house_HB1EX_

District          City/Town       Population    % Pop District            City/Town       Population     % Pop
084               Avondale             3,567   100.00% 102                Lawrenceville       28,787    93.99%
                  Estates                                103              Flowery              4,040    43.02%
084               Stonecrest           2,815     4.76%                    Branch
085               Decatur                 0      0.00% 103                Suwanee                 1      0.00%
085               Avondale                0      0.00% 103                Sugar Hill           3,638    14.51%
                  Estates                              103                Buford              13,750    80.20%
085               Clarkston            5,456    36.97% 103                Rest Haven             20     44.44%
086               Clarkston            9,300    63.03% 104                Auburn               7,495   100.00%
086               Tucker               3,934    10.63% 104                Carl                  209    100.00%
086               Stonecrest           7,213    12.19% 104                Bethlehem              11      1.54%
087               Pine Lake             752    100.00% 104                Winder                906      4.94%
087               Stone                1,338    19.96% 104                Braselton              80      0.60%
                  Mountain                               105              Dacula               2,218    32.23%
087               Tucker              12,666    34.23% 105                Buford                 78      0.45%
088               Stone                5,365    80.04% 106                Snellville          19,134    93.01%
                  Mountain
                                                         107              Lawrenceville         229      0.75%
088               Tucker              14,851    40.13%
                                                         108              Lilburn             13,847    95.48%
088               Lilburn               219      1.51%
                                                         109              Lilburn               240      1.65%
089               Decatur              7,698    30.88%
                                                         110              Snellville           1,439     6.99%
089               Atlanta             10,752     2.16%
                                                         110              Grayson              4,730   100.00%
090               Atlanta             23,062     4.62%
                                                         110              Loganville           3,155    22.33%
091               Stockbridge          6,951    23.99%
                                                         111              Walnut Grove            0      0.00%
091               Stonecrest          19,700    33.28%
                                                         111              Between                17      4.23%
092               Stonecrest          15,607    26.37%
                                                         111              Loganville          10,972    77.67%
093               Covington            1,201     8.46%
                                                         111              Dacula               4,664    67.77%
093               Oxford                 11      0.48%
                                                         112              Walnut Grove         1,322   100.00%
093               Stonecrest           8,338    14.09%
                                                         112              Jersey                146    100.00%
093               Lithonia             2,662   100.00%
                                                         112              Social Circle        4,969    99.90%
093               Conyers             16,433    94.96%
                                                         112              Monroe              14,928   100.00%
094               Stonecrest           5,521     9.33%
                                                         112              Between               385     95.77%
095               Conyers               872      5.04%
                                                         112              Good Hope             339    100.00%
096               Norcross            13,708    79.66%
                                                         113              Covington            8,064    56.82%
096               Peachtree             267      0.63%
                                                         113              Porterdale           1,799   100.00%
                  Corners
                                                         114              Covington            4,927    34.72%
096               Duluth               1,487     4.67%
                                                         114              Oxford               2,297    99.52%
097               Norcross             3,493    20.30%
                                                         114              Social Circle           5      0.10%
097               Peachtree           26,949    63.80%
                                                         114              Rutledge              871    100.00%
                  Corners
                                                         114              Bostwick              378    100.00%
097               Berkeley Lake        2,054   100.00%
                                                         114              Madison              4,447   100.00%
097               Duluth              21,471    67.36%
                                                         114              Buckhead              194    100.00%
098               Norcross                8      0.05%
                                                         114              Mansfield             442    100.00%
098               Lilburn               196      1.35%
                                                         114              Newborn               676    100.00%
099               Duluth               8,915    27.97%
                                                         114              Shady Dale            252    100.00%
099               Suwanee             20,367    97.98%
                                                         115              Stockbridge          4,251    14.67%
099               Sugar Hill           6,231    24.85%
                                                         115              McDonough           19,926    68.59%
100               Flowery                 1      0.01%
                  Branch                                 116              Lovejoy              3,444    34.02%
100               Suwanee               409      1.97% 116                Stockbridge         15,005    51.79%
100               Sugar Hill          15,207    60.64% 116                McDonough            4,454    15.33%
100               Buford               3,235    18.87% 117                McDonough            4,671    16.08%
100               Rest Haven             25     55.56% 117                Locust Grove         8,947   100.00%
101               Suwanee                 9      0.04% 118                Jackson              5,557   100.00%
101               Lawrenceville        1,613     5.27% 118                Flovilla              643    100.00%
                                                         118              Jenkinsburg           391    100.00%


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Communities of Interest (Condensed)                                                          ga_house_HB1EX_

District          City/Town       Population    % Pop District            City/Town       Population     % Pop
118               Monticello           2,541   100.00% 128                Sparta               1,357   100.00%
118               Eatonton             2,892    45.85% 128                Warrenton            1,744   100.00%
119               Bethlehem             704     98.46% 128                Norwood               202    100.00%
119               Winder              17,432    95.06% 128                Camak                 141    100.00%
119               Statham              1,828    64.98% 128                Thomson              6,814   100.00%
119               Braselton            5,009    37.37% 128                Harrison              339    100.00%
120               Statham               985     35.02% 128                Tennille             1,469   100.00%
120               Bogart               1,326   100.00% 128                Sandersville         5,813   100.00%
120               Arcade                574     30.47% 128                Riddleville            80    100.00%
120               Nicholson            1,808   100.00% 128                Davisboro            1,832   100.00%
120               Commerce             1,715    23.22% 128                Edge Hill              22    100.00%
121               North High            552    100.00% 128                Mitchell              153    100.00%
                  Shoals                                 128              Gibson                630    100.00%
121               Bishop                332    100.00% 132                Avera                 223    100.00%
121               Watkinsville         2,896   100.00% 132                Stapleton             402    100.00%
123               Washington           3,754   100.00% 132                Wrens                2,217   100.00%
123               Tignall               485    100.00% 132                Blythe                696     93.55%
123               Lincolnton           1,480   100.00% 132                Bartow                186    100.00%
123               Hull                  230    100.00% 132                Wadley               1,643   100.00%
123               Colbert               630    100.00% 132                Louisville           2,381   100.00%
123               Comer                1,512   100.00% 133                Gray                 3,346    97.38%
123               Rayle                 158    100.00% 133                Milledgeville       17,070   100.00%
123               Carlton               263    100.00% 134                Griffin             22,691    96.65%
123               Danielsville          654    100.00% 134                Orchard Hill          219    100.00%
123               Bowman                872    100.00% 134                Forsyth                95      2.17%
123               Elberton             4,640   100.00% 135                Concord               378    100.00%
124               Sharon                104    100.00% 135                Thomaston            9,816   100.00%
124               Greensboro           3,648   100.00% 135                Yatesville            394    100.00%
124               Woodville             264    100.00% 135                Zebulon              1,225   100.00%
124               Maxeys                198    100.00% 135                Meansville            266    100.00%
124               Winterville          1,201   100.00% 135                Williamson            681    100.00%
124               Arnoldsville          431    100.00% 135                Aldora                  0      0.00%
124               Lexington             203    100.00% 135                Barnesville          6,292   100.00%
124               Crawford              821    100.00% 135                Milner                772    100.00%
124               Union Point          1,597   100.00% 135                Molena                392    100.00%
124               Crawfordville         479    100.00% 136                Gay                   110    100.00%
124               Eatonton             3,415    54.15% 136                Haralson              172    100.00%
124               White Plains          239    100.00% 136                Sharpsburg             14      4.28%
124               Siloam                194    100.00% 136                Turin                 347    100.00%
125               Dearing               529    100.00% 136                Senoia               5,016   100.00%
125               Harlem               3,571   100.00% 136                LaGrange            13,269    43.00%
125               Grovetown           15,577   100.00% 136                Woodbury              908    100.00%
126               Sardis                995    100.00% 136                Lone Oak              114    100.00%
126               Girard                184    100.00% 136                Grantville           3,103   100.00%
126               Midville              385    100.00% 136                Greenville            794    100.00%
126               Millen               2,966   100.00% 136                Luthersville          776    100.00%
126               Vidette               103    100.00% 136                Moreland              382    100.00%
126               Keysville             300    100.00% 137                LaGrange             8,545    27.69%
126               Hephzibah            3,830   100.00% 137                Columbus            30,443    14.71%
126               Blythe                 48      6.45% 137                Pine                   87      7.15%
126               Waynesboro           5,799   100.00%                    Mountain
128               Oconee                197    100.00% 137                Warm                  465    100.00%
128               Deepstep              117    100.00%                    Springs


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Communities of Interest (Condensed)                                                           ga_house_HB1EX_

District          City/Town        Population    % Pop District            City/Town       Population     % Pop
137               Geneva                  75    100.00% 149                Ivey                 1,037   100.00%
137               Junction City          138    100.00% 149                Irwinton              531    100.00%
137               Talbotton              742    100.00% 149                McIntyre              575    100.00%
137               Manchester            3,584   100.00% 149                Toomsboro             383    100.00%
137               Woodland               305    100.00% 150                Butler               1,881   100.00%
138               West Point            3,719   100.00% 150                Reynolds              926    100.00%
138               LaGrange              9,018    29.22% 150                Lilly                 129    100.00%
138               Columbus             12,190     5.89% 150                Pinehurst             309    100.00%
138               Hamilton              1,680   100.00% 150                Unadilla             3,118   100.00%
138               Pine                  1,129    92.85% 150                Fort Valley          8,769    99.87%
                  Mountain                                150              Americus             9,766    60.17%
138               Shiloh                 402    100.00% 150                Ideal                 407    100.00%
139               Columbus             45,976    22.22% 150                Andersonville         237    100.00%
139               Waverly Hall           638    100.00% 150                Dooling                68    100.00%
140               Columbus             59,294    28.66% 150                Byromville            422    100.00%
141               Columbus             59,019    28.52% 150                Oglethorpe            995    100.00%
144               Forsyth               4,289    97.83% 150                Montezuma            3,047   100.00%
144               Gray                    90      2.62% 150                Marshallville        1,048   100.00%
145               Roberta                813    100.00% 150                Vienna               2,928   100.00%
145               Culloden               200    100.00% 151                Dawson               4,414   100.00%
145               Perry                   90      0.44% 151                Parrott               120    100.00%
145               Fort Valley             11      0.13% 151                Lumpkin               891    100.00%
145               Centerville            100      1.22% 151                Richland             1,370   100.00%
145               Warner               24,773    30.85% 151                Buena Vista          1,585   100.00%
                  Robins                                  151              Albany               3,028     4.35%
145               Byron                 5,702   100.00% 151                Sasser                287    100.00%
146               Perry                12,127    58.80% 151                Bronwood              334    100.00%
146               Warner               18,749    23.35% 151                Leslie                344    100.00%
                  Robins
                                                          151              De Soto               124    100.00%
147               Centerville           8,128    98.78%
                                                          151              Plains                573    100.00%
147               Warner               36,786    45.81%
                                                          151              Ellaville            1,595   100.00%
                  Robins
                                                          151              Americus             6,464    39.83%
148               Perry                 8,407    40.76%
                                                          152              Albany                 15      0.02%
148               Pineview               454    100.00%
                                                          152              Leesburg             3,480   100.00%
148               Hawkinsville          3,980   100.00%
                                                          152              Smithville            593    100.00%
148               Fitzgerald            2,183    24.24%
                                                          152              Warwick               504    100.00%
148               Abbeville             2,685   100.00%
                                                          152              Sylvester            5,644   100.00%
148               Cordele              10,220   100.00%
                                                          152              Poulan                760    100.00%
148               Arabi                  447    100.00%
                                                          152              Sumner                445    100.00%
148               Pitts                  252    100.00%
                                                          153              Albany              55,573    79.79%
148               Rochelle              1,167   100.00%
                                                          154              Bluffton              113    100.00%
149               Rhine                  295    100.00%
                                                          154              Edison               1,230   100.00%
149               Eastman               5,658   100.00%
                                                          154              Cuthbert             3,143   100.00%
149               Cochran               5,026   100.00%
                                                          154              Morgan               1,741   100.00%
149               Chester                525    100.00%
                                                          154              Leary                 524    100.00%
149               Milan                  613    100.00%
                                                          154              Shellman              861    100.00%
149               Chauncey               289    100.00%
                                                          154              Albany              11,031    15.84%
149               McRae-                6,253   100.00%
                                                          154              Jakin                 131    100.00%
                  Helena
                                                          154              Donalsonville        2,833   100.00%
149               Danville               165    100.00%
                                                          154              Iron City             312    100.00%
149               Jeffersonville         977    100.00%
                                                          154              Colquitt             2,001   100.00%
149               Allentown              190     97.44%
                                                          154              Blakely              5,371   100.00%
149               Gordon                1,783   100.00%



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Communities of Interest (Condensed)                                                         ga_house_HB1EX_

District          City/Town      Population    % Pop District            City/Town       Population     % Pop
154               Damascus             212    100.00% 158                Statesboro           8,902    26.62%
154               Arlington           1,209   100.00% 158                Stillmore             439    100.00%
154               Newton               602    100.00% 158                Metter               4,004   100.00%
154               Fort Gaines          995    100.00% 158                Pulaski               211    100.00%
155               Cadwell              381    100.00% 158                Register              157    100.00%
155               Dexter               655    100.00% 158                Adrian                230     41.67%
155               Rentz                312    100.00% 158                Swainsboro           7,425   100.00%
155               Allentown              5      2.56% 159                Oliver                210    100.00%
155               Montrose             203    100.00% 159                Sylvania             2,634   100.00%
155               Dudley               593    100.00% 159                Hiltonia              310    100.00%
155               Dublin             16,074   100.00% 159                Newington             290    100.00%
155               East Dublin         2,492   100.00% 159                Rocky Ford            167    100.00%
155               Wrightsville        3,449   100.00% 159                Statesboro           4,066    12.16%
155               Adrian               322     58.33% 159                Guyton               2,289   100.00%
155               Kite                 160    100.00% 159                Springfield          2,703   100.00%
156               Fitzgerald          6,823    75.76% 160                Pembroke             2,513   100.00%
156               Jacksonville         111    100.00% 160                Statesboro          20,470    61.22%
156               McRae-                 0      0.00% 160                Brooklet             1,704   100.00%
                  Helena                              161                Pooler               5,335    20.75%
156               Lumber City          967    100.00% 161                Garden City             8      0.08%
156               Scotland             173    100.00% 161                Port                10,878   100.00%
156               Alamo                771    100.00%                    Wentworth
156               Glenwood             850    100.00% 161                Rincon              10,934   100.00%
156               Mount               1,990   100.00% 161                Savannah            11,988     8.11%
                  Vernon                                162              Pooler                  0      0.00%
156               Uvalda               439    100.00% 162                Garden City           175      1.70%
156               Alston               178    100.00% 162                Savannah            35,231    23.84%
156               Ailey                519    100.00% 163                Vernonburg            139    100.00%
156               Higgston             314    100.00% 163                Garden City         10,085    98.02%
156               Vidalia            10,785   100.00% 163                Savannah            48,006    32.48%
156               Santa Claus          204    100.00% 164                Pooler              20,376    79.25%
156               Lyons               4,239   100.00% 164                Garden City            21      0.20%
156               Tarrytown             66    100.00% 164                Richmond            16,608    99.85%
156               Cobbtown             341    100.00%                    Hill
157               Denton               189    100.00% 164                Bloomingdale         2,790   100.00%
157               Hazlehurst          4,088   100.00% 164                Savannah              953      0.64%
157               Baxley              4,228    85.55% 165                Garden City             0      0.00%
157               Surrency             194    100.00% 165                Thunderbolt          2,556   100.00%
157               Glennville          3,834   100.00% 165                Savannah            48,219    32.63%
157               Reidsville          2,515   100.00% 166                Tybee Island         3,114   100.00%
157               Collins              540    100.00% 166                Richmond               25      0.15%
157               Manassas              59    100.00%                    Hill
157               Bellville            127    100.00% 166                Savannah             3,383     2.29%
157               Hagan                959    100.00% 167                Darien               1,460   100.00%
157               Claxton             2,602   100.00% 167                Ludowici             1,590   100.00%
157               Daisy                159    100.00% 168                Gumbranch             235    100.00%
158               Summertown           121    100.00% 168                Walthourville        3,680   100.00%
158               Twin City           1,642   100.00% 168                Allenhurst            816    100.00%
158               Garfield             257    100.00% 168                Hinesville          34,891   100.00%
158               Portal               638    100.00% 168                Flemington            825    100.00%
158               Soperton            2,889   100.00% 168                Riceboro              615    100.00%
158               Oak Park             512    100.00% 168                Midway               2,141   100.00%
158               Nunez                134    100.00% 169                Ocilla               3,498   100.00%


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Communities of Interest (Condensed)                                                       ga_house_HB1EX_

District          City/Town     Population    % Pop District            City/Town      Population     % Pop
169               Fitzgerald            0      0.00% 174                Dasher               890    100.00%
169               Ambrose             327    100.00% 174                Du Pont              134    100.00%
169               Douglas           11,109    94.77% 174                Fargo                250    100.00%
169               Broxton            1,060   100.00% 174                Homerville          2,344   100.00%
169               Ty Ty               641    100.00% 174                Argyle               190    100.00%
169               Sycamore            692    100.00% 175                Barwick              105     28.93%
169               Ashburn            4,291   100.00% 175                Quitman             4,064   100.00%
169               Rebecca             208    100.00% 175                Pavo                 242     38.91%
169               Nicholls           3,147   100.00% 175                Morven               506    100.00%
170               Tifton            17,045   100.00% 175                Hahira              3,384   100.00%
170               Adel               2,990    53.67% 175                Valdosta            4,271     7.71%
170               Omega              1,287    97.65% 175                Lake Park            427     45.82%
170               Lenox               752    100.00% 176                Douglas              613      5.23%
170               Ray City            956    100.00% 176                Waycross            8,103    58.12%
170               Nashville          4,947   100.00% 176                Ray City               0      0.00%
170               Enigma             1,058   100.00% 176                Lakeland            2,875   100.00%
170               Alapaha             481    100.00% 176                Willacoochee        1,240   100.00%
171               Bainbridge        14,468   100.00% 176                Pearson             1,821   100.00%
171               Attapulgus          454    100.00% 177                Remerton            1,334   100.00%
171               Climax              276    100.00% 177                Valdosta           51,107    92.29%
171               Brinson             217    100.00% 178                Waycross               8      0.06%
171               Whigham             428    100.00% 178                Blackshear          3,506   100.00%
171               Cairo                 0      0.00% 178                Patterson            749    100.00%
171               Pelham             3,507   100.00% 178                Offerman             450    100.00%
171               Camilla            5,187   100.00% 178                Alma                3,433   100.00%
171               Baconton            856    100.00% 178                Graham               263    100.00%
171               Meigs                38      4.09% 178                Baxley               714     14.45%
171               Sale City           354    100.00% 178                Screven              769    100.00%
172               Coolidge            528    100.00% 178                Odum                 463    100.00%
172               Moultrie          14,638   100.00% 178                Jesup               9,809   100.00%
172               Pavo                380     61.09% 179                Brunswick          15,210   100.00%
172               Funston             402    100.00% 180                Kingsland          18,337   100.00%
172               Norman Park         963    100.00% 180                St. Marys          18,256   100.00%
172               Berlin              511    100.00% 180                Woodbine            1,062   100.00%
172               Doerun              738    100.00%
172               Ellenton            210    100.00%
172               Cecil               284    100.00%
172               Sparks             2,043   100.00%
172               Adel               2,581    46.33%
172               Omega                31      2.35%
173               Boston             1,207   100.00%
173               Barwick             258     71.07%
173               Cairo             10,179   100.00%
173               Thomasville       18,881   100.00%
173               Ochlocknee          672    100.00%
173               Meigs               890     95.91%
174               Waycross           5,831    41.82%
174               Homeland            886    100.00%
174               Folkston           4,464   100.00%
174               Hoboken             480    100.00%
174               Nahunta            1,013   100.00%
174               Lake Park           505     54.18%



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Exhibit B – Methodology and Sources

      1.     In the preparation of this report, I analyzed population and geographic

data from the Decennial Census and the American Community Survey.

      2.     For my redistricting analysis, I used a geographic information system

(GIS) software package called Maptitude for Redistricting, developed by the

Caliper Corporation. This software is deployed by many local and state governing

bodies across the country for redistricting and other types of demographic analysis.

      3.     The geographic boundary files that I used with Maptitude are created

from the U.S. Census 1990-2020 TIGER (Topologically Integrated Geographic

Encoding and Referencing) files.

      4.     I used population data from the 1990-2020 PL 94-171 data files

published by the U.S. Census Bureau. The PL 94-171 dataset is published in

electronic format and is the complete count population file designed by the Census

Bureau for use in legislative redistricting. The file contains basic race and ethnicity

data on the total population and voting-age population found in units of Census

geography such as states, counties, municipalities, townships, reservations, school

districts, census tracts, census block groups, precincts (called voting districts or

“VTDs” by the Census Bureau) and census blocks.




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      5.     I obtained and used 2020 block-level disaggregated citizenship data

(2015-2019 ACS and 2016-2020 ACS) from the Redistricting Data Hub via

https://redistrictingdatahub.org/

      6.     The attorneys for the plaintiffs provided me with incumbent addresses.

      7.     For my analysis, I also relied on shapefiles for current and historical

legislative plans available on the website of the Legislative and Congressional

Reapportionment Office.

      8.     In addition, I obtained shapefiles for the House, Senate, and

Congressional plans in effect during the early 2000’s from the American

Redistricting Project.

https://thearp.org/blog/map-archive/

      9.     I developed the illustrative plans presented in this report using

Maptitude for Redistricting. The Maptitude for Redistricting software processes the

TIGER files to produce a map for display on a computer screen. The software also

merges demographic data from the PL 94-171 files to match the relevant decennial

Census geography.

      10.    I also reviewed and used data from the American Community Survey

(“ACS”) conducted by the Census Bureau – specifically, the 1-year 2021 ACS, the

5-year 2015-2019 ACS, and the 5-year 2016-2020 ACS Special Tabulation of

citizen population and voting age population by race and ethnicity (prepared by the


                                          2
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Census Bureau for the U.S. Department of Justice) and available from the link

below:

https://www.census.gov/programs-surveys/decennial-census/about/voting-rights/cvap.html

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                    EXHIBIT C
Georgia: Case
         20201:21-cv-05337-SCJ
               Core Based Statistical
                               DocumentAreas
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                                                                       TENNESSEE
                                                                                                                                                                                                                                                                    N
                                                                                                                                                                       NORTH CAROLINA

                                           Chattanooga-
        Chattanooga                         Cleveland-
                                              Dalton
          Dade            Catoosa                                       Fannin                           Towns              Rabun
                                                  Dalton                                      Union                                                                                                 Combined Statistical Area
                 Walker          Whitfield        Murray                                                                                                                                            Metropolitan Statistical Area
                                                                   Gilmer
                                                                                                        White      Cornelia                                                                         Micropolitan Statistical Area
                                                                                          Lumpkin                         am Toccoa
           Summerville               Calhoun                                                                              rsh                                                                       STATE
             Chattooga                                                                                               a be    Stephens
                                          Gordon               Pickens                                        ll e H                                                                                County
                                                                                                           vi
                                                                                  Dawson
                                                                                                         es
                                                                                                      in               Banks            Franklin         Hart
                    Rome                                                                            Ga Hall
                     Floyd                 Bartow              Cherokee            Forsyth
                                                                                                                Jefferson                Madison              Elbert
                                                                                                                   Jackson
                   Cedartown                 Atlanta-Sandy Springs-
                          Polk                     Alpharetta                                             Barrow
                                                                                                                                 Clarke
                                                                                                                                              Athens-
                                                                   Gwinnett
                                         Paulding           Cobb                                                                              Clarke
                                                                                                                                              County
                    Haralson
                                     Atlanta--Athens-Clarke County--                                                       Oconee
                                                                                                                                           Oglethorpe              Wilkes             Lincoln
                                              Sandy Springs          Walton
                                                                               DeKalb
                                             Douglas
                                                                                              lea




                                                                                                                                                                                                                 Augusta-Richmond
                                                                                           c kd




                                                       Fulton                                                          Morgan                Greene          Taliaferro
                                                                                        Ro




                           Carroll                                     Clayton
                                                                                                    Newton                                                                      McDuﬃe
                                                                                                                                                                                                Columbia              County
                                                                                   Henry
                                                              Fayette                                                                                                  Warren
                                             Coweta                                                                                                                                                   Richmond
                           Heard
                                                                            Spalding
                                                                                               Butts
                                                                                                              Jasper             Putnam
                                                                                                                                               Milledgeville
                                                                                                                                                                                                                                              SOUTH
                                                                                                                                                                          Glascock
                                                                                                                                                     Hancock
                                                                                                                                                                                                                                             CAROLINA
                                                                       Pike                                        Macon-               Baldwin
                                                                                                                                                                                                              Burke
                                                                                  Lamar
                                 Troup        Meriwether                                        Monroe              Bibb                                                              Jeﬀerson
                                                                                                                   County                                       Washington
         LaGrange                                                    Thomaston                                      Jones
                                                                         Upson                             Bibb
                                                                                        Macon-Bibb County--                                  Wilkinson                                                          Jenkins            Screven
                                   Columbus                                               Warner Robins
                                                             Talbot                                                                                                       Johnson
                                         Harris                                              Crawford
                                                                                                                            Twiggs
                                                                                                                                                                                            Emanuel
                                                                               Taylor                  Peach
                                         Muscogee
                                                                                                           Warner                                        Dublin
                                                                                                           Robins
                                                                                                                                  Bleckley                Laurens
                                                                                                                                                                                Treutlen                   Candler      Statesboro Savannah
                                                                                                                                                                                                                               Bulloch        Eﬃngham
                 Columbus- Chattahoochee Marion                                         Macon            Houston
                  Auburn-
                                                                                                                                                                                      ery




                                                                         Schley                                          Pulaski
                                                                                                                                                                                       om




                  Opelika                                                                                                                     Dodge                                                                                      Savannah-
                                                                                                                                                                                   ntg




                                                                                                        Dooly                                                                               Vidalia                    Evans
                                                                                                                                                                   Wheeler                                                               Hinesville-
                                                                                                                                                                                Mo




                                                                                                                                                                                            Toombs
                                          Stewart
                                                            Webster
                                                                              Americus                                                                                                                     Tattnall
                                                                                                                                                                                                                                         Statesboro
                                                                               Sumter                                                                                                                                                                           Chatham
                                                                                                                           Wilcox
                                                                                                       Cordele                                               Telfair
          Eufaula            Quitman
                                                                                                         Crisp                                                                                                                     Hinesville           Bryan

                                                                                  Albany                                          Ben Hill                                Jeﬀ Davis             Appling
                                             Randolph               Terrell                                                                                                                                                     Long         Liberty
                                                                                       Lee
                                                                                                                Turner                    Fitzgerald
                                  Clay

                                                                                                                                           Irwin             Douglas                    Bacon                     Jesup
                                                     Calhoun                  Dougherty               Worth                                                                                                           Wayne
  ALABAMA                                                                                                              Tifton
                                                                                                                                                                Coﬀee
                                                                                                                                                                                                                                             McIntosh
                                                                                                                          Tift
                                                                                                                                                                                                    Pierce
                                          Early                Baker                                                                                          Atkinson
                                                                                                                                          Berrien
                                                                                                                                                                                                                                       Brunswick
                                                                               Mitchell                Moultrie                                                                  Waycross                       Brantley                 Glynn
                                                  Miller                                                Colquitt                 Cook                                                  Ware

                                                                                                                                                    Lanier
                                     Seminole                                            Thomasville                                                                                                                            St. Marys
                                                                                               Thomas                                                                  Clinch
                                                                                                                                                                                                      Charlton                    Camden
                                                    Bainbridge                 Grady
                                                                                                                                        Valdosta
                                                           Decatur                                                  Brooks                Lowndes

                                                                                                                                                             Echols
                                                                                                                                                                                                                       Jacksonville-
                                                                                                                                                                                                                        St. Marys-
 Statistical area titles and boundary delineations
                                                                                                                                                                                                                          Palatka
    are based on March 2020 delineation files
 released by the U.S. Office of Management and
                                                                                                                       FLORIDA
 Budget. All other names and boundaries are as                                                                                                                                                                                                             20 Miles
                 of January 1, 2020.

U.S. Census Bureau, Population Division
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Appendix A: Sample Selection
This analysis relied on three measures to select the Black Belt school systems: historical
data of enslaved labor, current enrollments of Black students and current enrollments of
students living in poverty. School systems were considered if they had one of the following
criteria: a majority-Black student population, majority of students living in poverty and a
history of enslaved labor. Enslaved labor data is based on the 1860 U.S. Census data of
the distribution of enslaved populations. A review of the data showed a normal distribution
of enslaved people as a portion of the population except for a dip in the number of
counties with 30 to 39 percent enslaved. The following chart displays the drop in enslaved
populations and the subsequent increase in the number of counties that held 40 to 49
percent enslaved people.


                       Distribution of Enslaved Populations (1860)
                    Number of school systems by percent of enslaved population

 40
 35
 30
 25
 20
 15
 10
  5
  0
         0 to 9     10 to 19    20 to 29     30 to 39      40 to 49   50 to 59    60 to 69    70 to 79


 Source: Distribution of Slave Population of the Southern States of the United States, U.S. Census, 1861



This sharp increase of counties and cities that contained more than 40 percent of their
population enslaved made for a natural threshold for this analysis. This analysis
considered all school systems that currently operate in an area that previously had
enslaved people greater than 40 percent of the population as having a history of slavery.

School systems that met two of the criteria were included in the selection. Of the
remaining systems, the current enrollment had to exceed 30 percent Black and 30


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percent living in poverty. This threshold made it possible that even if the school system
were not majority Black, Black students might represent a plurality of the student body.
Metro Atlanta school systems were excluded due to the unique challenges and
opportunities that come with educating in the region. A table with the data is below, with
Black Belt districts highlighted.

                                 Slave Population      Percent Black          Percent in
        System Name
                                      (1860)              (2018)            Poverty (2018)
 Appling County                        18%                 23%                   44%
 Atkinson County                       23%                 16%                   43%
 Atlanta Public Schools                17%                 74%                   52%
 Bacon County                          18%                 22%                   43%
 Baker County                          70%                 64%                   68%
 Baldwin County                        55%                 66%                   53%
 Banks County                          23%                  2%                   28%
 Barrow County                         32%                 13%                   25%
 Bartow County                         27%                 10%                   26%
 Ben Hill County                       15%                 42%                   48%
 Berrien County                        13%                 12%                   40%
 Bibb County                           42%                 73%                   55%
 Bleckley County                       47%                 26%                   37%
 Brantley County                       20%                  3%                   40%
 Bremen City                            8%                  6%                   13%
 Brooks County                         52%                 53%                   54%
 Bryan County                          59%                 16%                   14%
 Buford City                           20%                 11%                   15%
 Bulloch County                        38%                 37%                   39%
 Burke County                          71%                 65%                   52%
 Butts County                          48%                 32%                   41%
 Calhoun City                          21%                  6%                   23%
 Calhoun County                        56%                 93%                   74%
 Camden County                         77%                 22%                   27%
 Candler County                        27%                 29%                   46%
 Carroll County                        16%                 17%                   29%
 Carrollton City                       16%                 33%                   29%
 Cartersville City                     27%                 23%                   24%
 Catoosa County                        14%                  3%                   23%
 Charlton County                       31%                 29%                   38%


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                          Slave Population     Percent Black          Percent in
       System Name
                               (1860)             (2018)            Poverty (2018)
Chatham County                  49%                57%                   40%
Chattahoochee County            48%                27%                   32%
Chattooga County                29%                 9%                   44%
Cherokee County                 11%                 8%                   10%
Chickamauga City                15%                 0%                   11%
Clarke County                   51%                49%                   46%
Clay County                     46%                95%                   74%
Clayton County                  28%                70%                   42%
Clinch County                   15%                34%                   46%
Cobb County                     27%                31%                   15%
Coffee County                   23%                31%                   45%
Colquitt County                  8%                27%                   49%
Columbia County                 70%                20%                   15%
Commerce City                   32%                11%                   27%
Cook County                     13%                33%                   46%
Coweta County                   49%                23%                   20%
Crawford County                 56%                22%                   40%
Crisp County                    46%                58%                   50%
Dade County                     10%                 1%                   22%
Dalton City                     17%                 5%                   18%
Dawson County                    9%                 1%                   22%
Decatur City                    26%                21%                    9%
Decatur County                  50%                50%                   49%
DeKalb County                   26%                62%                   41%
Dodge County                    47%                35%                   45%
Dooly County                    46%                72%                   52%
Dougherty County                73%                89%                   64%
Douglas County                  24%                53%                   28%
Dublin City                     47%                91%                   72%
Early County                    66%                70%                   59%
Echols County                   21%                 2%                   52%
Effingham County                46%                15%                   20%
Elbert County                   55%                34%                   42%
Emanuel County                  26%                42%                   53%
Evans County                    27%                35%                   54%


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                          Slave Population     Percent Black          Percent in
       System Name
                               (1860)             (2018)            Poverty (2018)
Fannin County                    3%                 0%                   31%
Fayette County                  29%                28%                   11%
Floyd County                    39%                 7%                   28%
Forsyth County                  12%                 4%                    6%
Franklin County                 18%                10%                   36%
Fulton County                   17%                42%                   23%
Gainesville City                14%                18%                   35%
Gilmer County                    3%                 0%                   26%
Glascock County                 31%                 8%                   29%
Glynn County                    73%                35%                   38%
Gordon County                   21%                 2%                   28%
Grady County                    58%                34%                   46%
Greene County                   67%                47%                   41%
Gwinnett County                 20%                32%                   20%
Habersham County                13%                 2%                   29%
Hall County                     14%                 5%                   23%
Hancock County                  68%                96%                   63%
Haralson County                  8%                 2%                   40%
Harris County                   56%                16%                   16%
Hart County                     25%                23%                   36%
Heard County                    36%                 9%                   36%
Henry County                    42%                53%                   25%
Houston County                  69%                38%                   30%
Irwin County                    15%                32%                   42%
Jackson County                  32%                 6%                   25%
Jasper County                   65%                23%                   41%
Jeff Davis County               23%                15%                   43%
Jefferson City                  32%                 8%                   13%
Jefferson County                59%                68%                   56%
Jenkins County                  71%                52%                   55%
Johnson County                  29%                42%                   50%
Jones County                    66%                25%                   29%
Lamar County                    47%                32%                   37%
Lanier County                   30%                25%                   43%
Laurens County                  47%                29%                   39%


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                          Slave Population     Percent Black          Percent in
      System Name
                               (1860)             (2018)            Poverty (2018)
Lee County                      52%                21%                   28%
Liberty County                  73%                53%                   36%
Lincoln County                  69%                38%                   40%
Long County                     74%                26%                   38%
Lowndes County                  46%                22%                   28%
Lumpkin County                   9%                 1%                   28%
Macon County                    58%                81%                   53%
Madison County                  34%                 9%                   33%
Marietta City                   27%                39%                   23%
Marion County                   48%                34%                   42%
McDuffie County                 70%                55%                   52%
McIntosh County                 74%                42%                   44%
Meriwether County               57%                58%                   45%
Miller County                   36%                38%                   46%
Mitchell County                 37%                59%                   54%
Monroe County                   64%                24%                   38%
Montgomery County               33%                32%                   56%
Morgan County                   70%                26%                   30%
Murray County                   20%                 0%                   29%
Muscogee County                 45%                58%                   40%
Newton County                   45%                56%                   40%
Oconee County                   51%                 4%                    9%
Oglethorpe County               65%                17%                   33%
Paulding County                  8%                24%                   19%
Peach County                    56%                51%                   46%
Pelham City                     37%                56%                   55%
Pickens County                   5%                 1%                   24%
Pierce County                   12%                 9%                   33%
Pike County                     47%                 8%                   21%
Polk County                     39%                14%                   42%
Pulaski County                  47%                40%                   50%
Putnam County                   71%                37%                   47%
Quitman County                  47%                72%                   57%
Rabun County                     6%                 1%                   33%
Randolph County                 47%                96%                   66%


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                          Slave Population     Percent Black          Percent in
      System Name
                               (1860)             (2018)            Poverty (2018)
Richmond County                 40%                74%                   52%
Rockdale County                 45%                67%                   39%
Rome City                       39%                35%                   38%
Schley County                   51%                16%                   26%
Screven County                  55%                47%                   47%
Seminole County                 50%                41%                   50%
Social Circle City              42%                22%                   29%
Spalding County                 44%                47%                   45%
Stephens County                 13%                13%                   40%
Stewart County                  59%                95%                   61%
Sumter County                   52%                72%                   57%
Talbot County                   63%                91%                   53%
Taliaferro County               63%                77%                   61%
Tattnall County                 27%                25%                   46%
Taylor County                   40%                41%                   42%
Telfair County                  31%                41%                   52%
Terrell County                  46%                93%                   74%
Thomas County                   58%                35%                   41%
Thomaston-Upson County          49%                35%                   42%
Thomasville City                58%                57%                   41%
Tift County                     23%                35%                   44%
Toombs County                   27%                18%                   54%
Towns County                     4%                 1%                   29%
Treutlen County                 33%                40%                   47%
Trion City                      29%                 1%                   15%
Troup County                    62%                43%                   36%
Turner County                   23%                63%                   57%
Twiggs County                   65%                62%                   55%
Union County                     3%                 0%                   24%
Valdosta City                   46%                75%                   59%
Vidalia City                    27%                50%                   43%
Walker County                   15%                 6%                   30%
Walton County                   42%                23%                   27%
Ware County                     17%                36%                   48%
Warren County                   55%                91%                   67%


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                                      Slave Population          Percent Black            Percent in
          System Name
                                           (1860)                  (2018)              Poverty (2018)
 Washington County                          52%                     64%                     50%
 Wayne County                               28%                     22%                     41%
 Webster County                             46%                     44%                     45%
 Wheeler County                             33%                     36%                     49%
 White County                                8%                      2%                     30%
 Whitfield County                           17%                      1%                     20%
 Wilcox County                              20%                     34%                     44%
 Wilkes County                              70%                     51%                     49%
 Wilkinson County                           42%                     55%                     52%
 Worth County                               23%                     34%                     46%
Source: Institute of Taxation and Economic Policy, February 2019; "Who Pays? A Distributional Analysis of
the Tax Systems in All 50 States," Institute on Taxation and Economic Policy, October 2018


Appendix B: Methods
This analysis focuses on K-12 public education funding and outcomes as a measure of the
state’s responsibility to its citizens. Schools operate in a complex environment of federal
and state laws and local district decisions. The state constitution outlines the ultimate
responsibility for public education, however.

For decades school finance experts studied state funding systems by comparing inputs, or
investments, meaning that two similar students, regardless of the location of their schools,
should be provided similar funding amounts. 47 Additionally, if there were notable
differences between students that affected the school program each would require, then
different funding amounts might also be required. It is for this very reason that students
with disabilities are provided more funding than students without disabilities. 48 This focus
on inputs led to the McDaniel case mentioned in the report’s timeline. The McDaniel case
was a primary driver for state policymakers to draft and pass the Quality Basic Education
Act, an overhaul to the state’s education funding formula, in 1985. 49

More recently, education finance has been analyzed through outputs, or outcomes.
Instead of solely judging a funding system by the amount of money provided, states have
been held accountable for the level of student performance. 50 The question no longer
stops at whether funding amounts are equal, but whether they are adequate to produce
high levels of learning for students across the state. This analysis considers various inputs
such as staffing, budgets and educational opportunities, but the focus remains on outputs.




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                    EXHIBIT F
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                     Regional Commissions
                                                                            State of Georgia
Dade        Catoosa                               Fannin                Union       Towns           Rabun

                  Whitfield
                                   Murray                                          Georgia
       Walker                                 Gilmer                               White
       Northwest Georgia                                                       Habersham
                                                                  Lumpkin Mountains
                                                                                       Stephens
  Chattooga                Gordon            Pickens
                                                              Dawson
                                                                          Hall  Banks Franklin                               Hart
           Floyd            Bartow            Cherokee          Forsyth
                                                                                           Jackson             Madison             Elbert

            Polk          Paulding
                                         Atlanta                                   Barrow
                                   Cobb           Gwinnett                                          Clarke
                                        Regional                                                 Oconee
                                                                                                           Oglethorpe
                                             DeKalb
          Haralson
                                     Commission                                     Walton         Northeast                           Wilkes            Lincoln
                             Douglas
                                                      Clayton
                                                                   Rockdale                         Georgia
                Carroll              Fulton                                                     Morgan                            Taliaferro       McDuffie Columbia
                                                                        Newton                                    Greene
                                                               Henry
                                             Fayette                                                                                        Warren
                              Coweta                                                                Putnam                                                           Richmond
                Heard                                                      Butts     Jasper
                                                        Spalding                                                           Hancock             Glascock
                  Three Rivers
                                 Meriwether           Pike      Lamar Monroe
                                                                                               Jones       Baldwin          Central Savannah River Area
                   Troup                                                                                                                                                      Burke

                                                         Upson                  Middle Georgia                                      Washington           Jefferson
                                                                                        Bibb                     Wilkinson                                                    Jenkins
                          Harris                                                                                                               Johnson                                     Screven
                                             Talbot                     Crawford                  Twiggs
                                                             Taylor                                                                                          Emanuel
                          Muscogee                                              Peach
                                            Marion                                   Houston                                 Laurens
                                                                                                        Bleckley                                                                        Bulloch
                          Chattahoochee River Valley
                                                                                                                                                 Treutlen              Candler
                                                                                                                 Heart of Georgia-Altamaha                                                            Effingham
                                           Schley Macon                                         Pulaski
                                                                                                                  Dodge                            Montgomery
                                                                                 Dooly                                                                                            Evans
                           Stewart                                                                                                                                     Tattnall                   Bryan
                                            Webster          Sumter                                                                     Wheeler            Toombs
                                                                                                  Wilcox                                                                                                          Chatham
                                                                                                                          Telfair
                   Quitman
                                                                                   Crisp
                                                                                                                                                                                          Coastal Georgia
                              Randolph          Terrell          Lee                                                                        Jeff Davis
                                                                                         Turner                 Ben Hill                                     Appling                    Long         Liberty

                          Clay                                                                                  Irwin               Coffee               Bacon                  Wayne
                                     Calhoun              Dougherty             Worth            Tift                                                                                                McIntosh
                            Early                                                                              Berrien
                                               Baker                                                                                                               Pierce
                                                                                                                                      Atkinson
                                               Southwest Georgia
                                   Miller                                          Colquitt
                                                                                                                   Southern Georgia                                         Brantley
                                                                                                                                                                                                  Glynn
                                                             Mitchell                                   Cook
                                                                                                                         Lanier                           Ware
                          Seminole
                                        Decatur                           Thomas                                                        Clinch                                             Camden
                                                             Grady                         Brooks                                                                  Charlton
                                                                                                          Lowndes
                                                                                                                            Echols




                                                                                                                                                                                               Effective July 1, 2021
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                    EXHIBIT G-1
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                                                                                                     2010 -2020 Change
                                                                                                     Black                Black      % Black
County (Metro                                                                      NH18+   Pop        Pop    18+ Pop     18+Pop      18+Pop
Atlanta in Bold) 2020 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                        18+ Latino White  Change    Change Change        change      change     MSAs
APPLING              18444    3647      1825    12674    13958    2540       1118   10048     208        164       416         121        5.00%
ATKINSON              8286    1284      2048     4801     6129     937       1282    3787     -89       -216       184        -103       -9.90% Douglas,
BACON                11140    1970       875     8103     8310    1245        547    6374      44        182        40          31        2.55%
BAKER                 2876    1178       143     1514     2275     932         77    1235    -575       -459      -375        -291      -23.79%
BALDWIN              43799   18985      1139    22432    35732   14515        835   19377   -1921       -300      -637         488        3.48% Milledgeville,
BANKS                18035      589     1164    15578    13900     365        721   12278    -360        103       148          14        3.99%
BARROW               83505   11907     10560    55582    62195    8222       6726   43241   14138       3287     12417        2553       45.03% Atlanta-Sandy Springs
BARTOW              108901   13395     10751    80159    83570    9377       6817   63759    8744       2365     10213        2083       28.56% Atlanta-Sandy Springs
BEN HILL             17194    6537      1054     9219    13165    4745        653    7459    -440        320       199         498       11.73% Fitzgerald,
BERRIEN              18160    2198      1045    14396    13690    1499        622   11181   -1126         53      -657          66        4.61%
BIBB                157346   88865      6737    56787 120902     64270       4734   47979    1799       6394      5474        7743       13.70% Macon-Bibb County,
BLECKLEY             12583    2951       469     8867     9613    2036        311    7032    -480       -682      -501        -672      -24.82%
BRANTLEY             18021      733      326    16317    13692     470        212   12522    -390        130       174          67       16.63% Brunswick,
BROOKS               16301    5958       955     9066    12747    4357        635    7483      58        164       354         212        5.11% Valdosta,
BRYAN                44738    7463      3269    31321    31828    5025       1919   23033   14505       2837     10452        2048       68.79% Savannah,
BULLOCH              81099   24375      4180    49712    64494   18220       3021   41041   10882       4369      8670        3305       22.16% Statesboro,
BURKE                24596   11430       777    11941    18778    8362        494    9566    1280       -282      2047         501        6.37% Augusta-Richmond Cou
BUTTS                25434    7212       803    16628    20360    5660        559   13510    1779        595      2030         564       11.07% Atlanta-Sandy Springs
CALHOUN               5573    3629       149     1766     4687    2998         90    1567   -1121       -520      -687        -264       -8.09%
CAMDEN               54768   11072      3658    37203    41808    7828       2457   29410    4255        508      4947         818       11.67% St. Marys,
CANDLER              10981    2807      1378     6567     8241    2009        835    5229     -17         76        62          59        3.03%
CARROLL             119148   24618      9586    80725    90996   17827       6129   63803    8621       3049      8593        2916       19.56% Atlanta-Sandy Springs
CATOOSA              67872    2642      2341    59280    52448    1684       1492   46578    3930        849      4446         642       61.61% Chattanoo, TN-
CHARLTON             12518    2798      2036     7532    10135    2147       1971    5929     347       -764       606        -654      -23.35%
CHATHAM             295291 115458      23790 139433 234715       85178     16551 119161     30163       6030     29594        7835       10.13% Savannah,
CHATTAHOOCHEE         9565    1825      1610     5403     7199    1287       1160    4212   -1702       -483     -1015        -284      -18.08% Columbus, -AL
CHATTOOGA            24965    2865      1297    20079    19416    2235        733   15885   -1050       -226      -741        -306      -12.04% Summerville,
CHEROKEE            266620   21687     32111 197867 202928       14976     20915 156155     52274       7817     47502        6222       71.08% Atlanta-Sandy Springs
CLARKE              128671   33672     14336    72201 106830     24776     10213    64531   11957       1589     10539        1713        7.43% Athens-Clarke County,
CLAY                  2848    1634        41     1143     2246    1231         19     973    -335       -311      -220        -153      -11.05%
CLAYTON             297595 216351      42546    25902 220578 158854        27378    23396   38171      40374     36133      37475        30.87% Atlanta-Sandy Springs
CLINCH                6749    2096       253     4256     5034    1406        156    3372     -49        157        79         151       12.03%
COBB                766149 223116 111240 369182 591848 166141              74505 303300     78071      42151     80257      41430        33.22% Atlanta-Sandy Springs

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                                                                                                       2010 -2020 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2020 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
COFFEE                 43092   12575      5430    24158    32419    9191       3324   19146     736        981      1164         972        11.83% Douglas,
COLQUITT               45898   10648      8709    25588    34193    7461       5467   20507     400        181      1279         440         6.27% Moultrie,
COLUMBIA              156010   32516     11858    99111 114823     22273       7355   76070   31957      12635     24580        9062        68.59% Augusta-Richmond Cou
COOK                   17229    5014      1134    10658    12938    3595        704    8310      17        221       408         325         9.94%
COWETA                146158   28289     11053    99421 111155     20196       7384   78073   18841       5130     18670        4501        28.68% Atlanta-Sandy Springs
CRAWFORD               12130    2455       415     8866     9606    1938        287    7079    -500       -448      -156        -241       -11.06% Macon-Bibb County,
CRISP                  20128    9194       634     9892    15570    6603        414    8248   -3311      -1036     -1747        -214        -3.14% Cordele,
DADE                   16251      228      364    14786    12987     140        243   11925    -382         40       -60            4        2.94% Chattanoo, TN-
DAWSON                 26798      392     1605    23544    21441     249       1047   19183    4468        203      4194         146      141.75% Atlanta-Sandy Springs
DECATUR                29367   12583      1911    14280    22443    9189       1196   11586    1525        984      1683        1112        13.77% Bainbridge,
DEKALB                764382 407451      81471 215895 595276 314230          55506 180161     72489      22898     68519      34330         12.27% Atlanta-Sandy Springs
DODGE                  19925    6148       620    12865    15709    4725        406   10360   -1871       -480     -1010          -94       -1.95%
DOOLY                  11208    5652       797     4611     9187    4526        493    4029   -3710      -1859     -2572       -1168       -20.51%
DOUGHERTY              85790   61457      2413    20631    66266   45631       1591   17909   -8775      -2790     -3965         648         1.44% Albany,
DOUGLAS               144237   74260     16035    49877 108428     53377     10212    41416   11834      20007     13558      17860         50.29% Atlanta-Sandy Springs
EARLY                  10854    5688       186     4813     8315    4075        113    3985    -154        178       208         284         7.49%
ECHOLS                  3697      193     1091     2328     2709     121        667    1856    -337         10      -142          -18      -12.95% Valdosta,
EFFINGHAM              64769   10035      3492    48204    47295    6831       2054   36237   12519       2578      9951        1888        38.20% Savannah,
ELBERT                 19637    5520       996    12610    15493    4122        660   10322    -529       -537        26        -210        -4.85%
EMANUEL                22768    7556       993    13815    17320    5404        589   11013     170       -112       470         135         2.56%
EVANS                  10774    3273      1237     6038     8127    2410        731    4826    -226         19       -36           90        3.88%
FANNIN                 25319      199      753    23351    21188     133        505   19721    1637         84      2037           62       87.32%
FAYETTE               119194   32076      9480    68144    91798   23728       6168   55102   12627       9578     13330        8373        54.53% Atlanta-Sandy Springs
FLOYD                  98584   15606     11466    67747    76295   11064       7167   55088    2267       1175      3423        1136        11.44% Rome,
FORSYTH               251283   13222     25226 159407 181193        8751     16204 122017     75772       7917     59087        5460      165.91% Atlanta-Sandy Springs
FRANKLIN               23424    2207      1121    19262    18307    1523        678   15466    1340        170      1179           95        6.65%
FULTON               1066710 477624      86302 404793 847182 368635          61914 340541 146129         60732 146287         62029         20.23% Atlanta-Sandy Springs
GILMER                 31353      296     3599    26365    25417     161       2158   22187    3061         84      3354           53       49.07%
GLASCOCK                2884      226       52     2573     2236     167         31    2003    -198        -39       -33          -18       -9.73%
GLYNN                  84499   22098      6336    52987    66468   15620       4116   44302    4873        633      6073        1061         7.29% Brunswick,
GORDON                 57544    2919      8957    43317    43500    1939       5592   34084    2358        527      3189         323        19.99% Calhoun,
GRADY                  26236    7693      3273    14715    19962    5678       1857   11968    1225        363      1378         563        11.01%
GREENE                 18915    6027      1289    11126    15358    4470        826    9675    2921       -178      2661           62        1.41%

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                                                                                                       2010 -2020 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2020 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
GWINNETT              957062 287687 220460 310583 709484 202762 146659 252041 151741                     86155 138870         71745         54.76% Atlanta-Sandy Springs
HABERSHAM              46031    2165      6880    34694    35878    1675       4115   28299    2990        498      3141         396        30.96% Cornelia,
HALL                  203136   17006     57010 120418 153844       12094     36146    98800   23452       2609     24326        2332        23.89% inesville,
HANCOCK                 8735    6131        63     2413     7487    5108         47    2220    -694       -887      -223        -421        -7.61% Milledgeville,
HARALSON               29919    1541       497    26825    22854    1106        323   20617    1139         13      1307           44        4.14% Atlanta-Sandy Springs
HARRIS                 34668    5742      1417    25925    26799    4431        908   20298    2644         64      2393         188         4.43% Columbus, -AL
HART                   25828    4732       931    19250    20436    3447        578   15761     615       -167       834          -49       -1.40%
HEARD                  11412    1142       253     9589     8698     832        153    7407    -422       -101       -88          -60       -6.73% Atlanta-Sandy Springs
HENRY                 240712 125211      18437    86297 179973     89657     12030    69744   36790      46914     35708      38225         74.32% Atlanta-Sandy Springs
HOUSTON               163633   56520     11807    86211 122118     39605       7530   68018   23733      14719     19709      11436         40.60% Warner Robins,
IRWIN                   9666    2333       663     6402     7547    1720        545    5047     128       -182       324        -110        -6.01%
JACKSON                75907    6148      6712    59064    56451    4268       4261   45015   15422       1618     12011        1140        36.45% Jefferson,
JASPER                 14588    2676       684    10771    11118    1966        402    8400     688       -466       693        -306       -13.47% Atlanta-Sandy Springs
JEFF DAVIS             14779    2493      2047     9950    10856    1752       1233    7643    -289        191       -46         183        11.66%
JEFFERSON              15709    8208       462     6834    12301    6324        280    5536   -1221      -1095      -358        -372        -5.56%
JENKINS                 8674    3638       303     4611     7005    2843        194    3874     334        197       901         561        24.58%
JOHNSON                 9189    3124       117     5800     7474    2513         82    4790    -791       -407      -416        -175        -6.51% Dublin,
JONES                  28347    7114       476    20074    21575    5341        302   15428    -322        -55       379         130         2.49% Macon-Bibb County,
LAMAR                  18500    5220       475    12344    14541    4017        323    9852     183       -611        93        -577       -12.56% Atlanta-Sandy Springs
LANIER                  9877    2369       572     6595     7326    1683        370    5010    -201       -133        16          -27       -1.58% Valdosta,
LAURENS                49570   19132      1424    27881    37734   13695        923   22229    1136       1478      1775        1478        12.10% Dublin,
LEE                    33163    7755       953    22758    24676    5503        603   17356    4865       2324      4313        1733        45.97% Albany,
LIBERTY                65256   31146      7786    24004    48014   21700       5231   19065    1803       2495      3752        2676        14.07% Hinesville,
LINCOLN                 7690    2212        92     5196     6270    1728         54    4316    -306       -387       -75        -241       -12.24% Augusta-Richmond Cou
LONG                   16168    4734      1979     8774    11234    3107       1227    6422    1704        827      1189         530        20.57% Hinesville,
LOWNDES               118251   46758      7872    59306    89031   33302       5201   47140    9018       6468      6768        4906        17.28% Valdosta,
LUMPKIN                33488      685     1790    29241    27689     507       1345   24419    3522        218      3964         169        50.00%
MACON                  12082    7296       472     4078     9938    6021        322    3379   -2658      -1723     -1549        -910       -13.13%
MADISON                30120    3196      1956    23549    23112    2225       1198   18643    2000        698      1866         437        24.44% Athens-Clarke County,
MARION                  7498    2223       560     4486     5854    1687        337    3643   -1244       -688      -792        -426       -20.16%
MCDUFFIE               21632    9045       790    11417    16615    6425        536    9359    -243        167       438         367         6.06% Augusta-Richmond Cou
MCINTOSH               10975    3400       231     7060     9040    2641        166    5998   -3358      -1845     -2215       -1292       -32.85% Brunswick,
MERIWETHER             20613    7547       475    12084    16526    5845        299    9994   -1379      -1204      -256        -393        -6.30% Atlanta-Sandy Springs

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                                                                                                       2010 -2020 Change
                                                                                                       Black                 Black      % Black
County (Metro                                                                        NH18+   Pop        Pop     18+ Pop     18+Pop      18+Pop
Atlanta in Bold)   2020 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change         change      change     MSAs
MILLER                  6000    1831       136     3949     4749    1358         92    3239    -125         70         60         112        8.99%
MITCHELL               21755   10394       964    10106    17065    7917        615    8284   -1743       -935       -597        -257       -3.14%
MONROE                 27957    6444       714    19954    21913    5068        464   15771    1533         57       1442         215        4.43% Macon-Bibb County,
MONTGOMERY              8610    2224       571     5665     6792    1781        377    4527    -513       -233       -247        -110       -5.82% Vidalia,
MORGAN                 20097    4339       712    14487    15574    3280        434   11452    2229         20       2145         160        5.13% Atlanta-Sandy Springs
MURRAY                 39973      556     5914    32164    30210     321       3696   25146     345        143       1230         101       45.91% Dalton,
MUSCOGEE              206922 102212      16513    79083 157052     74301     10894    64635   17037      12315     15765       11327        17.99% Columbus, -AL
NEWTON                112483   55901      7164    46746    84748   40433       4561   37631   12525      13634     13663       12748        46.05% Atlanta-Sandy Springs
OCONEE                 41799    2280      2347    33886    30221    1660       1405   24942    8991        504       6716         409       32.69% Athens-Clarke County,
OGLETHORPE             14825    2468       869    10903    11639    1853        531    8799     -74       -272        295        -162       -8.04% Athens-Clarke County,
PAULDING              168661   41296     12564 108444 123998       28164       7974   83066   26337      15231     24768       11767        71.76% Atlanta-Sandy Springs
PEACH                  27981   12645      2547    12119    22111    9720       1788   10071     286       -309        736        -223       -2.24% Warner Robins,
PICKENS                33216      512     1198    30122    26799     319        755   24626    3785        124       4005          81       34.03% Atlanta-Sandy Springs
PIERCE                 19716    1801       998    16403    14899    1262        595   12662     958         38       1037          50        4.13% Waycross,
PIKE                   18889    1613       348    16313    14337    1254        207   12422    1020       -333       1306        -210      -14.34% Atlanta-Sandy Springs
POLK                   42853    5816      5585    30161    32238    3991       3252   24049    1378        280       1809         274        7.37% Cedartown,
PULASKI                 9855    3250       327     6022     8012    2564        224    5027   -2155       -642      -1420        -387      -13.11%
PUTNAM                 22047    5701      1557    14316    17847    4229       1031   12209     829         64       1230         245        6.15%
QUITMAN                 2235      965       31     1190     1870     765         18    1037    -278       -248       -129        -141      -15.56% Eufaula, AL-
RABUN                  16883      210     1452    14625    13767     129        928   12236     607          -6       920          25       24.04%
RANDOLPH                6425    3947       143     2250     4977    2913         82    1922   -1294       -862      -1014        -619      -17.53%
RICHMOND              206607 119970      11449    68397 160899     87930       8445   58403    6058       7979       9655        9329       11.87% Augusta-Richmond Cou
ROCKDALE               93570   57204      9540    24500    71503   41935       6089   21457    8355      16468       9202      14643        53.65% Atlanta-Sandy Springs
SCHLEY                  4547      933      175     3357     3328     644        103    2520    -463       -247       -179        -166      -20.49% Americus,
SCREVEN                14067    5527       287     8018    10893    4144        188    6387    -526       -897        -10        -326       -7.29%
SEMINOLE                9147    3093       228     5617     7277    2275        160    4681     418        133        552         209       10.12%
SPALDING               67306   24522      3666    37105    52123   17511       2377   30612    3233       2894       4261        2752       18.65% Atlanta-Sandy Springs
STEPHENS               26784    3527       857    21323    21163    2467        578   17310     609        387        940         314       14.58% Toccoa,
STEWART                 5314    2538      1217     1338     4617    2048       1196    1161    -744       -360       -492        -156       -7.08% Columbus, -AL
SUMTER                 29616   15546      1770    11528    23036   11479       1147    9800   -3203      -1654      -1482        -395       -3.33% Americus,
TALBOT                  5733    3145       112     2427     4783    2537         56    2129   -1132       -964       -618        -544      -17.66% Columbus, -AL
TALIAFERRO              1559      876       69      591     1289     722         46     506    -158       -167       -105        -109      -13.12%
TATTNALL               22842    6331      2303    13825    17654    4886       1419   11020   -2678      -1295      -2460       -1348      -21.62%

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                                                                                                       2010 -2020 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2020 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
TAYLOR                  7816    2946       168     4584     6120    2235        107    3686   -1090       -602      -608        -380       -14.53%
TELFAIR                12477    4754      1928     5970    10190    3806       1757    4802   -4023      -1380     -2994        -924       -19.53%
TERRELL                 9185    5707       177     3189     7204    4274        121    2709    -130        -57       193         241         5.98% Albany,
THOMAS                 45798   16975      1577    25994    35037   12332        970   20740    1078        236      1454         417         3.50% Thomasville,
TIFT                   41344   12734      5219    22189    31224    8963       3295   18011    1226        859      1466         803         9.84% Tifton,
TOOMBS                 27030    7402      3044    16007    20261    5036       1978   12810    -193        453       653         552        12.31% Vidalia,
TOWNS                  12493      168      415    11469    10923     137        338   10100    2022        115      2093           94     218.60%
TREUTLEN                6406    2114       170     4065     4934    1514         98    3272    -479       -167      -238          -69       -4.36% Dublin,
TROUP                  69426   25473      2956    38099    52581   18202       1822   30377    2382       2501      3339        2433        15.43% LaGrange, -AL
TURNER                  9006    3813       372     4700     6960    2752        256    3891      76         68       233         140         5.36%
TWIGGS                  8022    3226       124     4487     6589    2627         79    3733   -1001       -559      -578        -271        -9.35% Macon-Bibb County,
UNION                  24632      228      816    22646    20808     147        563   19351    3276        112      3245           66       81.48%
UPSON                  27700    8324       633    18009    21711    6202        411   14548     547        572       975         627        11.25% Thomaston,
WALKER                 67654    3664      1685    59654    52794    2454       1066   47292   -1102        368       294         239        10.79% Chattanoo, TN-
WALTON                 96673   18804      5228    68499    73098   13165       3236   53647   12905       5086     11918        4068        44.72% Atlanta-Sandy Springs
WARE                   36251   11421      1612    22275    27788    8226       1012   17818     -61        411        33         377         4.80% Waycross,
WARREN                  5215    3128        53     1974     4159    2360         46    1716    -619       -496      -302        -229        -8.85%
WASHINGTON             19988   10969       334     8412    15709    8333        235    6944   -1199       -354      -432           47        0.57%
WAYNE                  30144    6390      1732    21301    23105    4662       1116   16754      45         92       467         119         2.62% Jesup,
WEBSTER                 2348    1107        59     1136     1847     844         36     931    -451        -94      -242          -17       -1.97%
WHEELER                 7471    2949       272     4157     6217    2561        174    3418      50        302       195         342        15.41%
WHITE                  28003      721      913    24959    22482     484        605   20318     859        153      1538         104        27.37%
WHITFIELD             102864    4919     36916    57875    76262    3349     23553    46881     265        400      2946         286         9.34% Dalton,
WILCOX                  8766    3161       272     5185     7218    2693        209    4215    -489       -144      -250           -1       -0.04%
WILKES                  9565    3989       399     4952     7651    3071        243    4154   -1028       -651      -586        -386       -11.17%
WILKINSON               8877    3330       239     5110     7026    2549        152    4165    -686       -390      -213        -144        -5.35%
WORTH                  20784    5517       381    14427    16444    4108        244   11747    -895       -574       108        -141        -3.32% Albany,



Total              10711908 3538146 1123457 5362156 8220274 2607986        742918 4342333 1024255      484048 1024173        467197




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                    EXHIBIT G-2
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                                                                                                     2000 -2010 Change
                                                                                                     Black                 Black      % Black
County (Metro                                                                      NH18+   Pop        Pop     18+ Pop     18+Pop      18+Pop
Atlanta in Bold) 2010 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                        18+ Latino White  Change    Change Change         change      change     MSAs
APPLING              18236    3483      1704    12854    13542    2419       1016    9968     817         33        852         160        7.08%
ATKINSON              8375    1500      2039     4776     5945    1040       1209    3642     766          -6       644          15        1.46% Douglas,
BACON                11096    1788       791     8431     8270    1214        514    6481     993        161        815         218       21.89%
BAKER                 3451    1637       145     1642     2650    1223         73    1331    -623       -425       -311        -184      -13.08%
BALDWIN              45720   19285       919    24704    36369   14027        677   21005    1020       -288       1390        -314       -2.19% Milledgeville,
BANKS                18395      486     1041    16526    13752     351        615   12531    3973           9      3106          11        3.24%
BARROW               69367    8620      6037    51736    49778    5669       3613   38607   23223       3945     16759         2554       81.99% Atlanta-Sandy Springs
BARTOW              100157   11030      7690    79803    73357    7294       4506   60334   24138       4201     18537         2753       60.63% Atlanta-Sandy Springs
BEN HILL             17634    6217      1026    10164    12966    4247        572    7983     150        463        291         505       13.50% Fitzgerald,
BERRIEN              19286    2145       885    16050    14347    1433        501   12265    3051        263       2536         235       19.62%
BIBB                155547   82471      4389    65494 115428     56527       2849   53639    1660       9069       2421        7533       15.38% Macon-Bibb County,
BLECKLEY             13063    3633       301     9000    10114    2708        189    7124    1397        742       1549         830       44.20%
BRANTLEY             18411      603      343    17198    13518     403        194   12739    3782          -9      3034           7        1.77% Brunswick,
BROOKS               16243    5794       853     9425    12393    4145        553    7564    -207       -735        368        -122       -2.86% Valdosta,
BRYAN                30233    4626      1336    23446    21376    2977        777   17090    6816       1195       5248         776       35.26% Savannah,
BULLOCH              70217   20006      2439    46251    55824   14915       1726   37973   14234       3735     12321         3115       26.40% Statesboro,
BURKE                23316   11712       617    10844    16731    7861        414    8340    1073        291       1442         634        8.77% Augusta-Richmond Coun
BUTTS                23655    6617       597    16200    18330    5096        394   12648    4133        912       3507         902       21.51% Atlanta-Sandy Springs
CALHOUN               6694    4149       262     2250     5374    3262        194    1893     374        304        449         354       12.17%
CAMDEN               50513   10564      2590    35977    36861    7010       1622   27230    6849       1487       7029        1355       23.96% St. Marys,
CANDLER              10998    2731      1227     6949     8179    1950        774    5392    1421        108       1170         154        8.57%
CARROLL             110527   21569      6800    80531    82403   14911       4258   62068   23259       6922     17765         4959       49.83% Atlanta-Sandy Springs
CATOOSA              63942    1793      1469    59149    48002    1042        880   45014   10660       1026       8476         587     129.01% Chattanoo, TN-
CHARLTON             12171    3562       310     8116     9529    2801        252    6343    1889        505       2073         644       29.86%
CHATHAM             265128 109428      14370 133492 205121       77343       9986 111471    33080      14186     31156        13015       20.23% Savannah,
CHATTAHOOCHEE        11267    2308      1398     7089     8214    1571        940    5353   -3615      -2393      -2442       -1497      -48.79% Columbus, -AL
CHATTOOGA            26015    3091      1043    21589    20157    2541        621   16780     545        131        521         202        8.64% Summerville,
CHEROKEE            214346   13870     20566 174243 155426        8754     12908 129832     72443      10019     53633         6272     252.70% Atlanta-Sandy Springs
CLARKE              116714   32083     12192    66674    96291   23063       7933   60254   15225       3918     12910         3630       18.68% Athens-Clarke County,
CLAY                  3183    1945        26     1188     2466    1384         16    1045    -174        -99        -27           7        0.51%
CLAYTON             259424 175977      35447    36610 184445 121379        21831    32242   22907      51427     18849        41548       52.04% Atlanta-Sandy Springs
CLINCH                6798    1939       236     4536     4955    1255        142    3505     -80       -118         -7        -100       -7.38%
COBB                688078 180965      84330 387438 511591 124711          53080 307377     80327      62736     62246        44994       56.44% Atlanta-Sandy Springs

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                                                                                                       2000 -2010 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2010 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
COFFEE                 42356   11594      4352    25907    31255    8219       2554   20113    4943       1788      4424        1720        26.47% Douglas,
COLQUITT               45498   10467      7763    26759    32914    7021       4701   20826    3445        478      2404         644        10.10% Moultrie,
COLUMBIA              124053   19881      6175    91517    90243   13211       3862   68414   34765       9506     27385        6325        91.85% Augusta-Richmond Coun
COOK                   17212    4793      1024    11171    12530    3270        603    8505    1441        148      1212         345        11.79%
COWETA                127317   23159      8493    92604    92485   15695       5588   69124   38102       6873     28912        5051        47.45% Atlanta-Sandy Springs
CRAWFORD               12630    2903       301     9282     9762    2179        196    7266     135       -116       715           36        1.68% Macon-Bibb County,
CRISP                  23439   10230       748    12216    17317    6817        461    9863    1443        606      1699         827        13.81% Cordele,
DADE                   16633      188      292    15796    13047     136        177   12466    1479         85      1506           50       58.14% Chattanoo, TN-
DAWSON                 22330      189      920    20847    17247     103        602   16265    6331        116      5256           64     164.10% Atlanta-Sandy Springs
DECATUR                27842   11599      1404    14615    20760    8077        821   11670    -398        246       582         705         9.56% Bainbridge,
DEKALB                691893 384553      67824 203395 526757 279900          46921 171336     26028      16037     24870       26315        10.38% Atlanta-Sandy Springs
DODGE                  21796    6628       732    14273    16719    4819        495   11280    2625        958      2527         997        26.09%
DOOLY                  14918    7511       862     6461    11759    5694        558    5437    3393       1768      3182        1662        41.22%
DOUGHERTY              94565   64247      2073    27315    70231   44983       1360   23106   -1500       6093       742        6129        15.77% Albany,
DOUGLAS               132403   54253     11125    64911    94870   35517       6581   51014   40229      36600     28131       23987      208.04% Atlanta-Sandy Springs
EARLY                  11008    5510       171     5250     8107    3791         99    4156   -1346       -486      -706          -14       -0.37%
ECHOLS                  4034      183     1183     2555     2851     139        697    1925     280        -78       197          -30      -17.75% Valdosta,
EFFINGHAM              52250    7457      1501    42311    37344    4943        867   30847   14715       2472     11043        1746        54.61% Savannah,
ELBERT                 20166    6057       967    12956    15467    4332        588   10422    -345       -303       258            8        0.19%
EMANUEL                22598    7668       921    13733    16850    5269        582   10793     761        350      1088         607        13.02%
EVANS                  11000    3254      1441     6228     8163    2320        861    4918     505       -223       552           26        1.13%
FANNIN                 23682      115      431    22761    19151       71       293   18506    3884         83      3497           51     255.00%
FAYETTE               106567   22498      6760    72202    78468   15355       4183   55492   15304      11666     13759        8269      116.69% Atlanta-Sandy Springs
FLOYD                  96317   14431      8987    70959    72872    9928       5376   56175    5752       2086      4543        1595        19.14% Rome,
FORSYTH               175511    5305     16550 140943 122106        3291     10403 100172     77104       4535     51165        2758      517.45% Atlanta-Sandy Springs
FRANKLIN               22084    2037       866    18913    17128    1428        560   14944    1799        200      1697         155        12.18%
FULTON                920581 416892      72566 376014 700895 306606          48745 304024 104575         47878     84179       45410        17.39% Atlanta-Sandy Springs
GILMER                 28292      212     2677    25078    22063     108       1557   20116    4836        136      4310           65     151.16%
GLASCOCK                3082      265       33     2750     2269     185         18    2040     526         47       322           22       13.50%
GLYNN                  79626   21465      5126    51602    60395   14559       3283   41521   12058       3318      9935        2637        22.12% Brunswick,
GORDON                 55186    2392      7738    44107    40311    1616       4603   33417   11082        759      7705         512        46.38% Calhoun,
GRADY                  25011    7330      2500    14879    18584    5115       1570   11674    1352        123      1378         407         8.64%
GREENE                 15994    6205       893     8771    12697    4408        573    7609    1588       -229      1905         124         2.89%

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                                                                                                       2000 -2010 Change
                                                                                                       Black                 Black       % Black
County (Metro                                                                        NH18+   Pop        Pop     18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2010 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change         change       change     MSAs
GWINNETT              805321 201532 162035 354316 570614 131017 102225 272913 216873                   119728 148159            76424      139.99% Atlanta-Sandy Springs
HABERSHAM              43041    1667      5333    34621    32737    1279       2997   27461    7139        -41      5266           -99       -7.18% Cornelia,
HALL                  179684   14397     46906 114300 129518        9762     27227    89587   40407       3911     27758         2670        37.65% inesville,
HANCOCK                 9429    7018       139     2212     7710    5529        118    2018    -647       -837         59        -168        -2.95% Milledgeville,
HARALSON               28780    1528       318    26516    21547    1062        187   19985    3090         85      2555            96        9.94% Atlanta-Sandy Springs
HARRIS                 32024    5678       872    24848    24406    4243        567   19136    8329       1016      6776          899        26.88% Columbus, -AL
HART                   25213    4899       786    19213    19602    3496        474   15405    2216        382      2007          375        12.02%
HEARD                  11834    1243       223    10190     8786     892        123    7635     822         22       938            36        4.21% Atlanta-Sandy Springs
HENRY                 203922   78297     11813 107083 144265       51432       7182   80733   84581      60321     59785        39567      333.48% Atlanta-Sandy Springs
HOUSTON               139900   41801      8515    84703 102409     28169       5357   65255   29135      13755     22860         9779        53.18% Warner Robins,
IRWIN                   9538    2515       228     6719     7223    1830        140    5209    -393        -70       152          220        13.66%
JACKSON                60485    4530      3736    50695    44440    3128       2251   38046   18896       1174     13922          705        29.10% Jefferson,
JASPER                 13900    3142       510    10095    10425    2272        308    7724    2474          -3     2108          119         5.53% Atlanta-Sandy Springs
JEFF DAVIS             15068    2302      1577    11056    10902    1569        893    8352    2384        370      1672          267        20.51%
JEFFERSON              16930    9303       517     7015    12659    6696        340    5550    -336       -453       296          143         2.18%
JENKINS                 8340    3441       334     4508     6104    2282        214    3556    -235        -55        -28            2        0.09%
JOHNSON                 9980    3531       186     6219     7890    2688        128    5047    1420        363      1909          797        42.15% Dublin,
JONES                  28669    7169       315    20830    21196    5211        188   15538    5030       1600      3968         1159        28.60% Macon-Bibb County,
LAMAR                  18317    5831       341    11943    14448    4594        219    9500    2405        936      2435         1098        31.41% Atlanta-Sandy Springs
LANIER                 10078    2502       461     6899     7310    1710        259    5195    2837        624      2052          422        32.76% Valdosta,
LAURENS                48434   17654      1143    28920    35959   12217        725   22496    3560       2035      3130         1774        16.99% Dublin,
LEE                    28298    5431       560    21453    20363    3770        348   15672    3541       1542      3195         1048        38.50% Albany,
LIBERTY                63453   28651      6159    27085    44262   19024       3649   20233    1843       1184      2346         1757        10.18% Hinesville,
LINCOLN                 7996    2599        98     5201     6345    1969         63    4250    -352       -284         34          -92       -4.46% Augusta-Richmond Coun
LONG                   14464    3907      1778     8491    10045    2577       1031    6249    4160       1331      3152         1017        65.19% Hinesville,
LOWNDES               109233   40290      5238    61234    82263   28396       3467   48506   17118       8523     14282         6956        32.44% Valdosta,
LUMPKIN                29966      467     1344    27519    23725     338        861   22026    8950        124      7811            94       38.52%
MACON                  14740    9019       475    12310    11487    6931        282    9690     666        600      1300         1074        18.34%
MADISON                28120    2498       227     8716    21246    1788        147    7069    2390        282      2280          275        18.18% Athens-Clarke County,
MARION                  8742    2911       527     4961     6646    2113        346    4035    1598        446      1527          477        29.16%
MCDUFFIE               21875    8878      1139    24106    16177    6058        642   18544     644        833       862          744        14.00% Augusta-Richmond Coun
MCINTOSH               14333    5245       570     5100    11255    3933        353    4057    3486       1203      3450         1269        47.64% Brunswick,
MERIWETHER             21992    8751       347    12606    16782    6238        216   10121    -542       -809       246         -265        -4.08% Atlanta-Sandy Springs

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                                                                                                       2000 -2010 Change
                                                                                                       Black                 Black       % Black
County (Metro                                                                        NH18+   Pop        Pop     18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2010 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change         change       change     MSAs
MILLER                  6125    1761        93     4237     4689    1246         51    3364    -258        -87        -16           58        4.88%
MITCHELL               23498   11329      1028    10894    17662    8174        675    8626    -434       -195        270         347         4.43%
MONROE                 26424    6387       535    19101    20471    4853        351   14967    4667        260      4427          430         9.72% Macon-Bibb County,
MONTGOMERY              9123    2457       480     6144     7039    1891        294    4822     853        195        840         222        13.30% Vidalia,
MORGAN                 17868    4319       494    12814    13429    3120        304    9845    2411       -162      2078             6        0.19% Atlanta-Sandy Springs
MURRAY                 39628      413     5154    33666    28980     220       2875   25580    3122        109      2678            51       30.18% Dalton,
MUSCOGEE              189885   89897     12110    82890 141287     62974       7954   66462    3594       6740      4998         7142        12.79% Columbus, -AL
NEWTON                 99958   42267      4635    51995    71085   27685       2719   39806   37957      28259     26241        18457      200.01% Atlanta-Sandy Springs
OCONEE                 32808    1776      1436    28306    23505    1251        854   20545    6583         45      5211            87        7.47% Athens-Clarke County,
OGLETHORPE             14899    2740       546    11429    11344    2015        318    8876    2264        192      1967          225        12.57% Athens-Clarke County,
PAULDING              142324   26065      7264 106739      99230   16397       4235   77000   60646      20113     42631        12658      338.54% Atlanta-Sandy Springs
PEACH                  27695   12954      1890    12499    21375    9943       1225    9937    4027       2138      3870         2057        26.08% Warner Robins,
PICKENS                29431      388      819    27802    22794     238        488   21759    6448         80      5224            27       12.80% Atlanta-Sandy Springs
PIERCE                 18758    1763       887    15860    13862    1212        510   11953    3122         17      2395            47        4.03% Waycross,
PIKE                   17869    1946       193    15506    13031    1464        130   11275    4181       -110      3122           -46       -3.05% Atlanta-Sandy Springs
POLK                   41475    5536      4885    30492    30429    3717       2781   23535    3348        327      2239          194         5.51% Cedartown,
PULASKI                12010    3892       465     7494     9432    2951        275    6097    2422        579      2060          518        21.29%
PUTNAM                 21218    5637      1347    14024    16617    3984        825   11647    2406        -66      2173          129         3.35%
QUITMAN                 2513    1213        34     1265     1999     906         21    1072     -85        -14         24           91       11.17% Eufaula, AL-
RABUN                  16276      216     1301    14468    12847     104        819   11728    1226         70      1083            26       33.33%
RANDOLPH                7719    4809       119     2781     5991    3532         89    2366     -72        161        329         385        12.23%
RICHMOND              200549 111991       8207    76236 151244     78601       5630   63232     774      10663      5077        10870        16.05% Augusta-Richmond Coun
ROCKDALE               85215   40736      8063    34826    62301   27292       5017   28709   15104      27644     11478        18911      225.64% Atlanta-Sandy Springs
SCHLEY                  5010    1180       161     3612     3507     810         82    2579    1244        -14        844           33        4.25% Americus,
SCREVEN                14593    6424       180     7898    10903    4470        106    6241    -781       -571       -180        -210        -4.49%
SEMINOLE                8729    2960       204     5516     6725    2066        124    4489    -640       -303       -194            4        0.19%
SPALDING               64073   21628      2451    38986    47862   14759       1612   30775    5656       3287      5377         2792        23.33% Atlanta-Sandy Springs
STEPHENS               26175    3140       633    22006    20223    2153        363   17423     740          -8       755          -12       -0.55% Toccoa,
STEWART                 6058    2898      1454     1655     5109    2204       1438    1421     806       -363      1164         -132        -5.65% Columbus, -AL
SUMTER                 32819   17200      1717    13413    24518   11874       1098   11129    -381        841        550        1118        10.39% Americus,
TALBOT                  6865    4109        91     2639     5401    3081         66    2228     367         72        473         139         4.72% Columbus, -AL
TALIAFERRO              1717    1043        35      625     1394     831         20     533    -360       -218       -183          -82       -8.98%
TATTNALL               25520    7626      2502    15196    20114    6234       1598   12120    3215        542      2917          724        13.14%

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                                                                                                       2000 -2010 Change
                                                                                                       Black                 Black       % Black
County (Metro                                                                        NH18+   Pop        Pop     18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2010 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change         change       change     MSAs
TAYLOR                  8906    3548       164     5123     6728    2615        112    3944      91       -230        282           66        2.59%
TELFAIR                16500    6134      2026     8429    13184    4730       1838    6720    4706       1566      4043         1319        38.67%
TERRELL                 9315    5764       157     3366     7011    4033        105    2854   -1655       -929       -845        -361        -8.22% Albany,
THOMAS                 44720   16739      1275    26081    33583   11915        793   20401    1983          -6     2447          673         5.99% Thomasville,
TIFT                   40118   11875      4037    23555    29758    8160       2376   18742    1711        995      1810         1146        16.34% Tifton,
TOOMBS                 27223    6949      3055    16887    19608    4484       1779   13099    1156        591        984         465        11.57% Vidalia,
TOWNS                  10471       53      206    10102     8830       43       149    8559    1152         36      1028            27     168.75%
TREUTLEN                6885    2281       103     4466     5172    1583         70    3499      31          -2        99           22        1.41% Dublin,
TROUP                  67044   22972      2170    40408    49242   15769       1359   31106    8265       4053      6836         3280        26.26% LaGrange, -AL
TURNER                  8930    3745       282     4820     6727    2612        175    3879    -574       -160         20         156         6.35%
TWIGGS                  9023    3785       124     5059     7167    2898         89    4130   -1567       -863       -564        -306        -9.55% Macon-Bibb County,
UNION                  21356      116      519    20345    17563       81       347   16853    4067           5     3733           -10      -10.99%
UPSON                  27153    7752       588    18522    20736    5575        375   14562    -444          -5       171         192         3.57% Thomaston,
WALKER                 68756    3296      1113    63343    52500    2215        673   48872    7703        838      6563          523        30.91% Chattanoo, TN-
WALTON                 83768   13718      2683    65677    61180    9097       1619   49336   23081       4821     17716         3338        57.96% Atlanta-Sandy Springs
WARE                   36312   11010      1207    23583    27755    7849        764   18749     829        978      1076          927        13.39% Waycross,
WARREN                  5834    3624        54     2133     4461    2589         36    1815    -502       -159       -205           19        0.74%
WASHINGTON             21187   11323       407     9339    16141    8286        299    7477      11          -2       669         483         6.19%
WAYNE                  30099    6298      1719    21749    22638    4543       1181   16655    3534        817      2964          679        17.57% Jesup,
WEBSTER                 2799    1201        98     1492     2089     861         49    1173     409         76        302           45        5.51%
WHEELER                 7421    2647       356     4405     6022    2219        253    3548    1242        578      1226          639        40.44%
WHITE                  27144      568      647    25453    20944     380        370   19852    7200        101      5622            36       10.47%
WHITFIELD             102599    4519     32471    63818    73316    3063     18717    50242   19074       1015     12625          718        30.62% Dalton,
WILCOX                  9255    3305       338     5544     7468    2694        261    4470     678        183        844         358        15.33%
WILKES                 10593    4640       361     5495     8237    3457        218    4505     -94          -2       111           41        1.20%
WILKINSON               9563    3720       214     5529     7239    2693        137    4340    -657       -477       -198        -146        -5.14%
WORTH                  21679    6091       335    15044    16336    4249        217   11699    -288       -441        653         120         2.91% Albany,



Total               9687653 3054098    853689 5413920 7196101 2140789      539002 4242514 1501200      660673 1178882         517311         24.16%




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                    EXHIBIT G-3
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                                                                                                     1990 -2000 Change
                                                                                                     Black                Black       % Black
County (Metro                                                                      NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold) 2000 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                        18+ Latino White  Change    Change Change        change       change     MSAs
APPLING              17419    3450       792    13053    12690    2259        513    9826    1675        182      1530         299        15.26%
ATKINSON              7609    1506      1290     4760     5301    1025        750    3487    1396       -152       950          -23       -2.19% Douglas,
BACON                10103    1627       342     8068     7455     996        235    6176     537        147       747         163        19.57%
BAKER                 4074    2062       111     1889     2961    1407         64    1482     459        201       426         204        16.96%
BALDWIN              44700   19573       607    23920    34979   14341        430   19749    5170       2867      4607        2322        19.32% Milledgeville,
BANKS                14422      477      493    13256    10646     340        309    9856    4114        113      3075           82       31.78%
BARROW               46144    4675      1460    38543    33019    3115        961   28072   16423       1321     11612         873        38.94% Atlanta-Sandy Springs
BARTOW               76019    6829      2524    65644    54820    4541       1631   47917   20108       1803     14285        1042        29.78% Atlanta-Sandy Springs
BEN HILL             17484    5754       800    10818    12675    3742        565    8287    1239        666      1412         663        21.53% Fitzgerald,
BERRIEN              16235    1882       384    13761    11811    1198        220   10252    2082        234      1567         189        18.73%
BIBB                153887   73402      2023    76262 113007     48994       1392   60951    3920      10876      2903        7252        17.37% Macon-Bibb County,
BLECKLEY             11666    2891       107     8505     8565    1878         76    6503    1236        559       884         382        25.53%
BRANTLEY             14629      612      152    13712    10484     396         96    9879    3552         16      2772           17        4.49% Brunswick,
BROOKS               16450    6529       505     9303    12025    4267        360    7329    1052        139      1219         345         8.80% Valdosta,
BRYAN                23417    3431       465    19138    16128    2201        284   13367    7979       1138      5694         755        52.21% Savannah,
BULLOCH              55983   16271      1052    37998    43503   11800        816   30318   12858       5045     10215        4275        56.81% Statesboro,
BURKE                22243   11421       316    10336    15289    7227        196    7735    1664        665      1539         675        10.30% Augusta-Richmond Cou
BUTTS                19522    5705       277    13366    14823    4194        196   10298    4196        267      3444         308         7.93% Atlanta-Sandy Springs
CALHOUN               6320    3845       189     2368     4925    2908        155    1939    1307        892      1368         968        49.90%
CAMDEN               43664    9077      1585    31975    29832    5655        975   22486   13497       2998      8815        1592        39.18% St. Marys,
CANDLER               9577    2623       882     6028     7009    1796        594    4592    1833        218      1369         233        14.91%
CARROLL              87268   14647      2243    69258    64638    9952       1625   52256   15846       3416     12357        2350        30.91% Atlanta-Sandy Springs
CATOOSA              53282      767      621    51013    39526     455        392   38065   10818        410      8085         197        76.36% Chattanoo, TN-
CHARLTON             10282    3057        81     7014     7456    2157         48    5154    1786        702      1601         675        45.55%
CHATHAM             232048   95242      5403 125802 173965       64328       3822 101588    15113      12634     14316        9112        16.50% Savannah,
CHATTAHOOCHEE        14882    4701      1551     8181    10656    3068       1042    6209   -2052       -534     -1548        -502       -14.06% Columbus, -AL
CHATTOOGA            25470    2960       537    21776    19636    2339        396   16774    3228       1019      3088        1002        74.94% Summerville,
CHEROKEE            141903    3851      7695 127618 101793        2482       5281   92111   51699       2158     36932        1277      105.98% Atlanta-Sandy Springs
CLARKE              101489   28165      6436    62895    83381   19433       4529   56121   13895       5230     13339        4138        27.05% Athens-Clarke County,
CLAY                  3357    2044        32     1282     2493    1377         17    1096      -7          0       112           46        3.46%
CLAYTON             236517 124550      17728    82637 165596     79831     11823    65444   54465      81147     34399      51042       177.30% Atlanta-Sandy Springs
CLINCH                6878    2057        54     4713     4962    1355         32    3537     718        375       646         317        30.54%
COBB                607751 118229      46964 417947 449345       79717     32367 319272 160006         74075 114844         48983       159.38% Atlanta-Sandy Springs

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                                                                                                       1990 -2000 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop     18+ Pop    18+Pop       18+Pop
Atlanta in Bold)   2000 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
COFFEE                 37413    9806      2550    24701    26831    6499       1609   18475    7821       2302      6093        1820        38.90% Douglas,
COLQUITT               42053    9989      4554    27252    30510    6377       3037   20906    5408       1128      4242         986        18.29% Moultrie,
COLUMBIA               89288   10375      2313    72438    62858    6886       1463   51640   23257       3093     16971        1741        33.84% Augusta-Richmond Cou
COOK                   15771    4645       485    10526    11318    2925        307    7987    2315        614      1723         405        16.07%
COWETA                 89215   16286      2797    68867    63573   10644       2072   49992   35362       4092     25071        2676        33.58% Atlanta-Sandy Springs
CRAWFORD               12495    3019       301     9037     9047    2143        235    6572    3504        262      2597         239        12.55% Macon-Bibb County,
CRISP                  21996    9624       382    11778    15618    5990        274    9193    1985       1471      1602        1072        21.80% Cordele,
DADE                   15154      103      137    14685    11541       86        90   11198    2007           2     1816            8       10.26% Chattanoo, TN-
DAWSON                 15999       73      254    15429    11991       39       180   11598    6570         69      5177           37    1850.00% Atlanta-Sandy Springs
DECATUR                28240   11353       905    15800    20178    7372        565   12097    2729       1283      2267         996        15.62% Bainbridge,
DEKALB                665865 368516      52542 214685 501887 253585          39251 185270 120028       138091      85603      96167         61.09% Atlanta-Sandy Springs
DODGE                  19171    5670       248    13142    14192    3822        162   10126    1564        806      1145         485        14.53%
DOOLY                  11525    5743       537     5161     8577    4032        339    4135    1624        891      1666        1013        33.55%
DOUGHERTY              96065   58154      1292    35794    69489   38854        874   29091    -246       9767      2495        8532        28.14% Albany,
DOUGLAS                92174   17653      2640    69965    66739   11530       1679   52179   21054      12056     15768        7868      214.86% Atlanta-Sandy Springs
EARLY                  12354    5996       152     6159     8813    3805         86    4877     500        770       523         591        18.39%
ECHOLS                  3754      261      739     2688     2654     169        501    1936    1420          -3     1017           18       11.92% Valdosta,
EFFINGHAM              37535    4985       531    31493    26301    3197        324   22422   11848       1365      8589         894        38.82% Savannah,
ELBERT                 20511    6360       489    13505    15209    4324        372   10407    1562        642      1348         531        14.00%
EMANUEL                21837    7318       745    13663    15762    4662        562   10451    1291        637      1461         683        17.17%
EVANS                  10495    3477       625     6333     7611    2294        435    4837    1771        514      1445         435        23.40%
FANNIN                 19798       32      130    19312    15654       20        88   15314    3806         27      3369           16     400.00%
FAYETTE                91263   10832      2582    74820    64709    7086       1702   53926   28848       7452     20521        4849      216.76% Atlanta-Sandy Springs
FLOYD                  90565   12345      4983    71674    68329    8333       3288   55597    9314       1239      6547         926        12.50% Rome,
FORSYTH                98407      770     5477    90820    70941     533       3787   65662   54324        756     38231         519     3707.14% Atlanta-Sandy Springs
FRANKLIN               20285    1837       187    18064    15431    1273        132   13880    3635        156      2734         156        13.97%
FULTON                816006 369014      48056 369997 616716 261196          35704 297707 167055         45006 124950         35953         15.96% Atlanta-Sandy Springs
GILMER                 23456       76     1815    21287    17753       43      1200   16301   10088         39      7749            9       26.47%
GLASCOCK                2556      218       12     2309     1947     163          6    1761     199        -80       145          -63      -27.88%
GLYNN                  67568   18147      2019    46566    50460   11922       1380   36533    5072       2206      4207        1562        15.08% Brunswick,
GORDON                 44104    1633      3268    38642    32606    1104       2318   28782    9032        312      7032         214        24.04% Calhoun,
GRADY                  23659    7207      1222    14954    17206    4708        827   11473    3380        812      2653         572        13.83%
GREENE                 14406    6434       420     7481    10792    4284        267    6181    2613        547      2609         626        17.11%

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                                                                                                       1990 -2000 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2000 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
GWINNETT              588448   81804     64137 394164 422455       54593     44167 289400 235538         63629 168259         41685       322.94% Atlanta-Sandy Springs
HABERSHAM              35902    1708      2750    30486    27471    1378       1707   23711    8281        154      6384           13        0.95% Cornelia,
HALL                  139277   10486     27242    98942 101760      7092     17424    75382   43849       2291     30791        1607        29.30% inesville,
HANCOCK                10076    7855        54     2141     7651    5697         44    1885    1168        778      1536        1128        24.69% Milledgeville,
HARALSON               25690    1443       143    23799    18992     966         97   17691    3724         16      2848            7        0.73% Atlanta-Sandy Springs
HARRIS                 23695    4662       260    18444    17630    3344        186   13853    5907         91      4342           82        2.51% Columbus, -AL
HART                   22997    4517       196    18087    17595    3121        137   14205    3285        515      2774         529        20.41%
HEARD                  11012    1221       116     9580     7848     856         65    6856    2384         58      1669           92       12.04% Atlanta-Sandy Springs
HENRY                 119341   17976      2692    95550    84480   11865       1690   68770   60600      11908     41955        7570      176.25% Atlanta-Sandy Springs
HOUSTON               110765   28046      3363    76391    79549   18390       2252   56784   21557       8670     15523        6073        49.31% Warner Robins,
IRWIN                   9931    2585       202     7102     7071    1610        126    5309    1282        -45       904          -14       -0.86%
JACKSON                41589    3356      1249    36314    30518    2423        793   26894   11584        452      8464         372        18.14% Jefferson,
JASPER                 11426    3145       236     7964     8317    2153        153    5959    2973        205      2249         190         9.68% Atlanta-Sandy Springs
JEFF DAVIS             12684    1932       651     9992     9230    1302        436    7407     652         98       575           89        7.34%
JEFFERSON              17266    9756       259     7215    12363    6553        185    5607    -142         56       203         293         4.68%
JENKINS                 8575    3496       287     4766     6132    2280        203    3634     328         84       320         126         5.85%
JOHNSON                 8560    3168        78     5307     5981    1891         54    4034     231        329        91         167         9.69% Dublin,
JONES                  23639    5569       169    17649    17228    4052        102   12888    2900        252      2277         344         9.28% Macon-Bibb County,
LAMAR                  15912    4895       172    10683    12013    3496        128    8274    2874        453      2419         468        15.46% Atlanta-Sandy Springs
LANIER                  7241    1878       126     5122     5258    1288         80    3811    1710        408      1343         341        36.01% Valdosta,
LAURENS                44874   15619       529    28199    32829   10443        334   21689    4886       2315      4099        1883        22.00% Dublin,
LEE                    24757    3889       300    20203    17168    2722        178   14023    8507        754      6134         547        25.15% Albany,
LIBERTY                61610   27467      5022    27244    41916   17267       3181   20050    8865       6812      5214        3843        28.63% Hinesville,
LINCOLN                 8348    2883        81     5321     6311    2061         54    4149     906         57       857         147         7.68% Augusta-Richmond Cou
LONG                   10304    2576       870     6678     6893    1560        541    4687    4102       1234      2571         699        81.18% Hinesville,
LOWNDES                92115   31767      2447    55992    67981   21440       1655   43485   16134       7526     13241        5744        36.60% Valdosta,
LUMPKIN                21016      343      728    19381    15914     244        447   14812    6443        105      4889           68       38.64%
MACON                  14074    8419       364     5184    10187    5857        233    4011     960        725      1215         900        18.16%
MADISON                25730    2216       507    22713    18966    1513        307   16936    4680        367      3532         233        18.20% Athens-Clarke County,
MARION                  7144    2465       413     4182     5119    1636        294    3128    1554        159      1127           93        6.03%
MCDUFFIE               21231    8045       284    12795    15315    5314        167    9717    1112        725      1107         610        12.97% Augusta-Richmond Cou
MCINTOSH               10847    4042        99     6607     7805    2664         55    5007    5257       1736      3813        1121        72.65% Brunswick,
MERIWETHER             22534    9560       191    12579    16536    6503        134    9747     123       -429       665           57        0.88% Atlanta-Sandy Springs

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                                                                                                       1990 -2000 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2000 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
MILLER                  6383    1848        44     4456     4705    1188         26    3465     103        122       155           96        8.79%
MITCHELL               23932   11524       491    11746    17392    7827        294    9137    3657       1877      3545        1929        32.71%
MONROE                 21757    6127       281    15150    16044    4423        188   11288    4644        721      3557         574        14.91% Macon-Bibb County,
MONTGOMERY              8270    2262       271     5684     6199    1669        162    4325    1107        236       898         233        16.23% Vidalia,
MORGAN                 15457    4481       248    10619    11351    3114        159    7996    2574         22      2030           17        0.55% Atlanta-Sandy Springs
MURRAY                 36506      304     2006    33890    26302     169       1223   24692   10359        263      7573         145      604.17% Dalton,
MUSCOGEE              186291   83157      8372    90668 136289     55832       5772   71510    7013      14996      5452      10698         23.70% Columbus, -AL
NEWTON                 62001   14008      1157    46007    44844    9228        741   34274   20193       4651     14712        2995        48.05% Atlanta-Sandy Springs
OCONEE                 26225    1731       833    23112    18294    1164        520   16259    8607        416      5734         301        34.88% Athens-Clarke County,
OGLETHORPE             12635    2548       174     9817     9377    1790        115    7401    2872        129      2167         153         9.35% Athens-Clarke County,
PAULDING               81678    5952      1398    73188    56599    3739        845   51262   40067       4304     27099        2640      240.22% Atlanta-Sandy Springs
PEACH                  23668   10816       998    11654    17505    7886        663    8812    2479        741      2081         809        11.43% Warner Robins,
PICKENS                22983      308      467    21897    17570     211        313   16827    8551         61      6754           32       17.88% Atlanta-Sandy Springs
PIERCE                 15636    1746       357    13425    11467    1165        231   10009    2308        177      1892         135        13.11% Waycross,
PIKE                   13688    2056       167    11350     9909    1510         99    8229    3464          3      2479           61        4.21% Atlanta-Sandy Springs
POLK                   38127    5209      2921    29684    28190    3523       1862   22577    4312        418      3315         323        10.09% Cedartown,
PULASKI                 9588    3313       270     5932     7372    2433        174    4713    1480        681      1448         713        41.45%
PUTNAM                 18812    5703       407    12471    14444    3855        282   10163    4675        955      3945         699        22.15%
QUITMAN                 2598    1227        13     1351     1975     815          8    1142     389        120       336           83       11.34% Eufaula, AL-
RABUN                  15050      146      683    14023    11764       78       456   11086    3402        105      2674           40     105.26%
RANDOLPH                7791    4648        92     3016     5662    3147         58    2427    -232          3        -4         185         6.25%
RICHMOND              199775 101328       5545    88660 146167     67731       3794   71158   10056      21689      7921      15059         28.59% Augusta-Richmond Cou
ROCKDALE               70111   13092      4182    50967    50823    8381       2961   38183   16020       8737     12059        5524      193.35% Atlanta-Sandy Springs
SCHLEY                  3766    1194        89     2462     2663     777         52    1825     178        -28        91          -35       -4.31% Americus,
SCREVEN                15374    6995       147     8182    11083    4680         94    6268    1532        786      1294         732        18.54%
SEMINOLE                9369    3263       347     5734     6919    2062        225    4598     359        320       274         226        12.31%
SPALDING               58417   18341       947    38435    42485   11967        632   29386    3960       2556      3338        1839        18.16% Atlanta-Sandy Springs
STEPHENS               25435    3148       250    21673    19468    2165        165   16880    2178        361      1819         244        12.70% Toccoa,
STEWART                 5252    3261        79     1926     3945    2336         45    1567    -402       -317      -164        -146        -5.88% Columbus, -AL
SUMTER                 33200   16359       891    15672    23968   10756        600   12389    2972       2314      2575        1879        21.17% Americus,
TALBOT                  6498    4037        82     2354     4928    2942         62    1909     -26        -30       171         134         4.77% Columbus, -AL
TALIAFERRO              2077    1261        19      787     1577     913         13     649     162         94       192         114        14.27%
TATTNALL               22305    7084      1883    13218    17197    5510       1219   10380    4583       1907      3758        1723        45.50%

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                                                                                                       1990 -2000 Change
                                                                                                       Black                Black      % Black
County (Metro                                                                        NH18+   Pop        Pop     18+ Pop    18+Pop      18+Pop
Atlanta in Bold)   2000 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change      change     MSAs
TAYLOR                  8815    3778       163     4847     6446    2549        125    3746    1173        478       940         375       17.25%
TELFAIR                11794    4568       215     6993     9141    3411        170    5542     794        795      1186         936       37.82%
TERRELL                10970    6693       136     4101     7856    4394         88    3341     317        316       367         359        8.90% Albany,
THOMAS                 42737   16745       734    24875    31136   11242        471   19129    3751       1986      3309        1684       17.62% Thomasville,
TIFT                   38407   10880      2944    24092    27948    7014       1923   18625    3409       1509      3008        1245       21.58% Tifton,
TOOMBS                 26067    6358      2310    17226    18624    4019       1406   13069    1995        721      1648         530       15.19% Vidalia,
TOWNS                   9319       17       67     9159     7802       16        57    7673    2565         17      2224          16   #DIV/0!
TREUTLEN                6854    2283        79     4463     5073    1561         58    3433     860        299       782         283       22.14% Dublin,
TROUP                  58779   18919      1004    38261    42406   12489        695   28827    3243       2225      2376        1564       14.32% LaGrange, -AL
TURNER                  9504    3905       244     5315     6707    2456        180    4040     801        371       724         445       22.13%
TWIGGS                 10590    4648       112     5784     7731    3204         83    4407     784        147       922         284        9.73% Macon-Bibb County,
UNION                  17289      111      153    16837    13830       91       125   13474    5296         92      4510          76     506.67%
UPSON                  27597    7757       327    19271    20565    5383        222   14788    1297        485       944         357        7.10% Thomaston,
WALKER                 61053    2458       565    57336    45937    1692        364   43356    2713        212      2620          31        1.87% Chattanoo, TN-
WALTON                 60687    8897      1163    49731    43464    5759        775   36362   22101       1792     15610        1032       21.83% Atlanta-Sandy Springs
WARE                   35483   10032       688    24434    26679    6922        445   19098      12        794       708         821       13.46% Waycross,
WARREN                  6336    3783        51     2483     4666    2570         27    2050     258        127       305         197        8.30%
WASHINGTON             21176   11325       134     9620    15472    7803         86    7511    2064       1451      1993        1288       19.77%
WAYNE                  26565    5481      1013    19838    19674    3864        720   14922    4209       1123      3813        1154       42.58% Jesup,
WEBSTER                 2390    1125        66     1186     1787     816         43     916     127          -7      149          29        3.68%
WHEELER                 6179    2069       219     3866     4796    1580        150    3046    1276        595      1301         655       70.81%
WHITE                  19944      467      311    18804    15322     344        209   14516    6938        107      5307          87       33.85%
WHITFIELD              83525    3504     18419    60338    60691    2345     11396    46058   11063        603      7164         330       16.38% Dalton,
WILCOX                  8577    3122       139     5299     6624    2336         92    4178    1569        897      1602         942       67.58%
WILKES                 10687    4642       212     5758     8126    3416        164    4495      90       -267       337          30        0.89%
WILKINSON              10220    4197       101     5893     7437    2839         74    4501      -8       -105       218          87        3.16%
WORTH                  21967    6532       240    14999    15683    4129        140   11267    2222        481      1928         420       11.32% Albany,



Total               8186453 2393425    435227 5128661 6017219 1623478      299258 3925585 1711281      648273 1268525        456307




                                                                                                                                                        Page 5 of 5
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                            2020                    2010                          2000                       1990
                          18+ AP    % 18+AP            18+ AP % 18+AP            18+ AP % 18+AP             18+ SR % 18+ SR
County          18+ Pop Black       Black     18+ Pop    Black   Black  18+ Pop   Black   Black  18+ Pop     Black   Black
Appling            13958       2540 18.20%      13542       2419 17.86%   12690      2259 17.80%   11160        1960 17.56%
Atkinson             6129       937 15.29%        5945      1040 17.49%     5301     1025 19.34%     4351       1048 24.09%
Bacon                8310      1245 14.98%        8270      1214 14.68%     7455      996 13.36%     6708        833 12.42%
Baker                2275       932 40.97%        2650      1223 46.15%     2961     1407 47.52%     2535       1203 47.46%
Baldwin            35732     14515 40.62%       36369     14027 38.57%    34979    14341 41.00%    30372      12019 39.57%
Banks              13900        365     2.63%   13752        351  2.55%   10646       340  3.19%     7571        258  3.41%
Barrow             62195       8222 13.22%      49778       5669 11.39%   33019      3115  9.43%   21407        2242 10.47%
Bartow             83570       9377 11.22%      73357       7294  9.94%   54820      4541  8.28%   40535        3499  8.63%
Ben Hill           13165       4745 36.04%      12966       4247 32.75%   12675      3742 29.52%   11263        3079 27.34%
Berrien            13690       1499 10.95%      14347       1433  9.99%   11811      1198 10.14%   10244        1009  9.85%
Bibb              120902     64270 53.16% 115428          56527 48.97% 113007      48994 43.35% 110104        41742 37.91%
Bleckley             9613      2036 21.18%      10114       2708 26.77%     8565     1878 21.93%     7681       1496 19.48%
Brantley           13692        470     3.43%   13518        403  2.98%   10484       396  3.78%     7712        379  4.91%
Brooks             12747       4357 34.18%      12393       4145 33.45%   12025      4267 35.48%   10806        3922 36.29%
Bryan              31828       5025 15.79%      21376       2977 13.93%   16128      2201 13.65%   10434        1446 13.86%
Bulloch            64494     18220 28.25%       55824     14915 26.72%    43503    11800 27.12%    33288        7525 22.61%
Burke              18778       8362 44.53%      16731       7861 46.98%   15289      7227 47.27%   13750        6552 47.65%
Butts              20360       5660 27.80%      18330       5096 27.80%   14823      4194 28.29%   11379        3886 34.15%
Calhoun              4687      2998 63.96%        5374      3262 60.70%     4925     2908 59.05%     3557       1940 54.54%
Camden             41808       7828 18.72%      36861       7010 19.02%   29832      5655 18.96%   21017        4063 19.33%
Candler              8241      2009 24.38%        8179      1950 23.84%     7009     1796 25.62%     5640       1563 27.71%
Carroll            90996     17827 19.59%       82403     14911 18.10%    64638      9952 15.40%   52281        7602 14.54%
Catoosa            52448       1684     3.21%   48002       1042  2.17%   39526       455  1.15%   31441         258  0.82%
Charlton           10135       2147 21.18%        9529      2801 29.39%     7456     2157 28.93%     5855       1482 25.31%
Chatham           234715     85178 36.29% 205121          77343 37.71% 173965      64328 36.98% 159649        55216 34.59%
Chattahoochee        7199      1287 17.88%        8214      1571 19.13%   10656      3068 28.79%   12204        3570 29.25%
Chattooga          19416       2235 11.51%      20157       2541 12.61%   19636      2339 11.91%   16548        1337  8.08%
Cherokee          202928     14976      7.38% 155426        8754  5.63% 101793       2482  2.44%   64861        1205  1.86%
Clarke            106830     24776 23.19%       96291     23063 23.95%    83381    19433 23.31%    70042      15295 21.84%
Clay                 2246      1231 54.81%        2466      1384 56.12%     2493     1377 55.23%     2381       1331 55.90%
Clayton           220578 158854 72.02% 184445 121379 65.81% 165596                 79831 48.21% 131197        28789 21.94%
Clinch               5034      1406 27.93%        4955      1255 25.33%     4962     1355 27.31%     4316       1038 24.05%
Cobb              591848 166141 28.07% 511591 124711 24.38% 449345                 79717 17.74% 334501        30734   9.19%
Coffee             32419       9191 28.35%      31255       8219 26.30%   26831      6499 24.22%   20738        4679 22.56%
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                        2020                    2010                          2000                       1990
                      18+ AP    % 18+AP            18+ AP % 18+AP            18+ AP % 18+AP             18+ SR % 18+ SR
County      18+ Pop Black       Black     18+ Pop    Black   Black  18+ Pop   Black   Black  18+ Pop     Black   Black
Colquitt       34193       7461 21.82%      32914       7021 21.33%   30510      6377 20.90%   26268        5391 20.52%
Columbia      114823     22273 19.40%       90243     13211 14.64%    62858      6886 10.95%   45887        5145 11.21%
Cook           12938       3595 27.79%      12530       3270 26.10%   11318      2925 25.84%     9595       2520 26.26%
Coweta        111155     20196 18.17%       92485     15695 16.97%    63573    10644 16.74%    38502        7968 20.70%
Crawford         9606      1938 20.17%        9762      2179 22.32%     9047     2143 23.69%     6450       1904 29.52%
Crisp          15570       6603 42.41%      17317       6817 39.37%   15618      5990 38.35%   14016        4918 35.09%
Dade           12987        140     1.08%   13047        136  1.04%   11541        86  0.75%     9725         78  0.80%
Dawson         21441        249     1.16%   17247        103  0.60%   11991        39  0.33%     6814          2  0.03%
Decatur        22443       9189 40.94%      20760       8077 38.91%   20178      7372 36.53%   17911        6376 35.60%
DeKalb        595276 314230 52.79% 526757 279900 53.14% 501887 253585 50.53% 416284                      157418 37.82%
Dodge          15709       4725 30.08%      16719       4819 28.82%   14192      3822 26.93%   13047        3337 25.58%
Dooly            9187      4526 49.27%      11759       5694 48.42%     8577     4032 47.01%     6911       3019 43.68%
Dougherty      66266     45631 68.86%       70231     44983 64.05%    69489    38854 55.91%    66994      30322 45.26%
Douglas       108428     53377 49.23%       94870     35517 37.44%    66739    11530 17.28%    50971        3662  7.18%
Early            8315      4075 49.01%        8107      3791 46.76%     8813     3805 43.17%     8290       3214 38.77%
Echols           2709       121     4.47%     2851       139  4.88%     2654      169  6.37%     1637        151  9.22%
Effingham      47295       6831 14.44%      37344       4943 13.24%   26301      3197 12.16%   17712        2303 13.00%
Elbert         15493       4122 26.61%      15467       4332 28.01%   15209      4324 28.43%   13861        3793 27.36%
Emanuel        17320       5404 31.20%      16850       5269 31.27%   15762      4662 29.58%   14301        3979 27.82%
Evans            8127      2410 29.65%        8163      2320 28.42%     7611     2294 30.14%     6166       1859 30.15%
Fannin         21188        133     0.63%   19151         71  0.37%   15654        20  0.13%   12285           4  0.03%
Fayette        91798     23728 25.85%       78468     15355 19.57%    64709      7086 10.95%   44188        2237  5.06%
Floyd          76295     11064 14.50%       72872       9928 13.62%   68329      8333 12.20%   61782        7407 11.99%
Forsyth       181193       8751     4.83% 122106        3291  2.70%   70941       533  0.75%   32710          14  0.04%
Franklin       18307       1523     8.32%   17128       1428  8.34%   15431      1273  8.25%   12697        1117  8.80%
Fulton        847182 368635 43.51% 700895 306606 43.74% 616716 261196 42.35% 491766                      225243 45.80%
Gilmer         25417        161     0.63%   22063        108  0.49%   17753        43  0.24%   10004          34  0.34%
Glascock         2236       167     7.47%     2269       185  8.15%     1947      163  8.37%     1802        226 12.54%
Glynn          66468     15620 23.50%       60395     14559 24.11%    50460    11922 23.63%    46253      10360 22.40%
Gordon         43500       1939     4.46%   40311       1616  4.01%   32606      1104  3.39%   25574         890  3.48%
Grady          19962       5678 28.44%      18584       5115 27.52%   17206      4708 27.36%   14553        4136 28.42%
Greene         15358       4470 29.11%      12697       4408 34.72%   10792      4284 39.70%     8183       3658 44.70%
Gwinnett      709484 202762 28.58% 570614 131017 22.96% 422455                 54593 12.92% 254196        12908   5.08%
Habersham      35878       1675     4.67%   32737       1279  3.91%   27471      1378  5.02%   21087        1365  6.47%
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                         2020                    2010                          2000                       1990
                       18+ AP    % 18+AP            18+ AP % 18+AP            18+ AP % 18+AP             18+ SR % 18+ SR
County       18+ Pop Black       Black     18+ Pop    Black   Black  18+ Pop   Black   Black  18+ Pop     Black   Black
Hall           153844     12094      7.86% 129518        9762  7.54% 101760       7092  6.97%   70969        5485  7.73%
Hancock           7487      5108 68.22%        7710      5529 71.71%     7651     5697 74.46%     6115       4569 74.72%
Haralson        22854       1106     4.84%   21547       1062  4.93%   18992       966  5.09%   16144         959  5.94%
Harris          26799       4431 16.53%      24406       4243 17.39%   17630      3344 18.97%   13288        3262 24.55%
Hart            20436       3447 16.87%      19602       3496 17.83%   17595      3121 17.74%   14821        2592 17.49%
Heard             8698       832     9.57%     8786       892 10.15%     7848      856 10.91%     6179        764 12.36%
Henry          179973     89657 49.82% 144265          51432 35.65%    84480    11865 14.04%    42525        4295 10.10%
Houston        122118     39605 32.43% 102409          28169 27.51%    79549    18390 23.12%    64026      12317 19.24%
Irwin             7547      1720 22.79%        7223      1830 25.34%     7071     1610 22.77%     6167       1624 26.33%
Jackson         56451       4268     7.56%   44440       3128  7.04%   30518      2423  7.94%   22054        2051  9.30%
Jasper          11118       1966 17.68%      10425       2272 21.79%     8317     2153 25.89%     6068       1963 32.35%
Jeff Davis      10856       1752 16.14%      10902       1569 14.39%     9230     1302 14.11%     8655       1213 14.02%
Jefferson       12301       6324 51.41%      12659       6696 52.90%   12363      6553 53.00%   12160        6260 51.48%
Jenkins           7005      2843 40.59%        6104      2282 37.39%     6132     2280 37.18%     5812       2154 37.06%
Johnson           7474      2513 33.62%        7890      2688 34.07%     5981     1891 31.62%     5890       1724 29.27%
Jones           21575       5341 24.76%      21196       5211 24.58%   17228      4052 23.52%   14951        3708 24.80%
Lamar           14541       4017 27.63%      14448       4594 31.80%   12013      3496 29.10%     9594       3028 31.56%
Lanier            7326      1683 22.97%        7310      1710 23.39%     5258     1288 24.50%     3915        947 24.19%
Laurens         37734     13695 36.29%       35959     12217 33.97%    32829    10443 31.81%    28730        8560 29.79%
Lee             24676       5503 22.30%      20363       3770 18.51%   17168      2722 15.86%   11034        2175 19.71%
Liberty         48014     21700 45.20%       44262     19024 42.98%    41916    17267 41.19%    36702      13424 36.58%
Lincoln           6270      1728 27.56%        6345      1969 31.03%     6311     2061 32.66%     5454       1914 35.09%
Long            11234       3107 27.66%      10045       2577 25.65%     6893     1560 22.63%     4322        861 19.92%
Lowndes         89031     33302 37.40%       82263     28396 34.52%    67981    21440 31.54%    54740      15696 28.67%
Lumpkin         27689        507     1.83%   23725        338  1.42%   15914       244  1.53%   11025         176  1.60%
McDuffie        16615       6425 38.67%      16177       6058 37.45%   15315      5314 34.70%   14208        4704 33.11%
McIntosh          9040      2641 29.21%      11255       3933 34.94%     7805     2664 34.13%     6211       2514 40.48%
Macon             9938      6021 60.59%      11487       6931 60.34%   10187      5857 57.49%     8972       4957 55.25%
Madison         23112       2225     9.63%   21246       1788  8.42%   18966      1513  7.98%   15434        1280  8.29%
Marion            5854      1687 28.82%        6646      2113 31.79%     5119     1636 31.96%     3992       1543 38.65%
Meriwether      16526       5845 35.37%      16782       6238 37.17%   16536      6503 39.33%   15871        6446 40.61%
Miller            4749      1358 28.60%        4689      1246 26.57%     4705     1188 25.25%     4550       1092 24.00%
Mitchell        17065       7917 46.39%      17662       8174 46.28%   17392      7827 45.00%   13847        5898 42.59%
Monroe          21913       5068 23.13%      20471       4853 23.71%   16044      4423 27.57%   12487        3849 30.82%
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                         2020                    2010                          2000                       1990
                       18+ AP    % 18+AP            18+ AP % 18+AP            18+ AP % 18+AP             18+ SR % 18+ SR
County       18+ Pop Black       Black     18+ Pop    Black   Black  18+ Pop   Black   Black  18+ Pop     Black   Black
Montgomery        6792      1781 26.22%        7039      1891 26.86%     6199     1669 26.92%     5301       1436 27.09%
Morgan          15574       3280 21.06%      13429       3120 23.23%   11351      3114 27.43%     9321       3097 33.23%
Murray          30210        321     1.06%   28980        220  0.76%   26302       169  0.64%   18729          24  0.13%
Muscogee       157052     74301 47.31% 141287          62974 44.57% 136289      55832 40.97% 130837        45134 34.50%
Newton          84748     40433 47.71%       71085     27685 38.95%    44844      9228 20.58%   30132        6233 20.69%
Oconee          30221       1660     5.49%   23505       1251  5.32%   18294      1164  6.36%   12560         863  6.87%
Oglethorpe      11639       1853 15.92%      11344       2015 17.76%     9377     1790 19.09%     7210       1637 22.70%
Paulding       123998     28164 22.71%       99230     16397 16.52%    56599      3739  6.61%   29500        1099  3.73%
Peach           22111       9720 43.96%      21375       9943 46.52%   17505      7886 45.05%   15424        7077 45.88%
Pickens         26799        319     1.19%   22794        238  1.04%   17570       211  1.20%   10816         179  1.65%
Pierce          14899       1262     8.47%   13862       1212  8.74%   11467      1165 10.16%     9575       1030 10.76%
Pike            14337       1254     8.75%   13031       1464 11.23%     9909     1510 15.24%     7430       1449 19.50%
Polk            32238       3991 12.38%      30429       3717 12.22%   28190      3523 12.50%   24875        3200 12.86%
Pulaski           8012      2564 32.00%        9432      2951 31.29%     7372     2433 33.00%     5924       1720 29.03%
Putnam          17847       4229 23.70%      16617       3984 23.98%   14444      3855 26.69%   10499        3156 30.06%
Quitman           1870       765 40.91%        1999       906 45.32%     1975      815 41.27%     1639        732 44.66%
Rabun           13767        129     0.94%   12847        104  0.81%   11764        78  0.66%     9090         38  0.42%
Randolph          4977      2913 58.53%        5991      3532 58.96%     5662     3147 55.58%     5666       2962 52.28%
Richmond       160899     87930 54.65% 151244          78601 51.97% 146167      67731 46.34% 138246        52672 38.10%
Rockdale        71503     41935 58.65%       62301     27292 43.81%    50823      8381 16.49%   38764        2857  7.37%
Schley            3328       644 19.35%        3507       810 23.10%     2663      777 29.18%     2572        812 31.57%
Screven         10893       4144 38.04%      10903       4470 41.00%   11083      4680 42.23%     9789       3948 40.33%
Seminole          7277      2275 31.26%        6725      2066 30.72%     6919     2062 29.80%     6645       1836 27.63%
Spalding        52123     17511 33.60%       47862     14759 30.84%    42485    11967 28.17%    39147      10128 25.87%
Stephens        21163       2467 11.66%      20223       2153 10.65%   19468      2165 11.12%   17649        1921 10.88%
Stewart           4617      2048 44.36%        5109      2204 43.14%     3945     2336 59.21%     4109       2482 60.40%
Sumter          23036     11479 49.83%       24518     11874 48.43%    23968    10756 44.88%    21393        8877 41.49%
Talbot            4783      2537 53.04%        5401      3081 57.04%     4928     2942 59.70%     4757       2808 59.03%
Taliaferro        1289       722 56.01%        1394       831 59.61%     1577      913 57.89%     1385        799 57.69%
Tattnall        17654       4886 27.68%      20114       6234 30.99%   17197      5510 32.04%   13439        3787 28.18%
Taylor            6120      2235 36.52%        6728      2615 38.87%     6446     2549 39.54%     5506       2174 39.48%
Telfair         10190       3806 37.35%      13184       4730 35.88%     9141     3411 37.32%     7955       2475 31.11%
Terrell           7204      4274 59.33%        7011      4033 57.52%     7856     4394 55.93%     7489       4035 53.88%
Thomas          35037     12332 35.20%       33583     11915 35.48%    31136    11242 36.11%    27827        9558 34.35%
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                         2020                    2010                          2000                       1990
                       18+ AP    % 18+AP            18+ AP % 18+AP            18+ AP % 18+AP             18+ SR % 18+ SR
County       18+ Pop Black       Black     18+ Pop    Black   Black  18+ Pop   Black   Black  18+ Pop     Black   Black
Tift            31224       8963 28.71%      29758       8160 27.42%   27948      7014 25.10%   24940        5769 23.13%
Toombs          20261       5036 24.86%      19608       4484 22.87%   18624      4019 21.58%   16976        3489 20.55%
Towns           10923        137     1.25%     8830        43  0.49%     7802       16  0.21%     5578          0  0.00%
Treutlen          4934      1514 30.69%        5172      1583 30.61%     5073     1561 30.77%     4291       1278 29.78%
Troup           52581     18202 34.62%       49242     15769 32.02%    42406    12489 29.45%    40030      10925 27.29%
Turner            6960      2752 39.54%        6727      2612 38.83%     6707     2456 36.62%     5983       2011 33.61%
Twiggs            6589      2627 39.87%        7167      2898 40.44%     7731     3204 41.44%     6809       2920 42.88%
Union           20808        147     0.71%   17563         81  0.46%   13830        91  0.66%     9320         15  0.16%
Upson           21711       6202 28.57%      20736       5575 26.89%   20565      5383 26.18%   19621        5026 25.62%
Walker          52794       2454     4.65%   52500       2215  4.22%   45937      1692  3.68%   43317        1661  3.83%
Walton          73098     13165 18.01%       61180       9097 14.87%   43464      5759 13.25%   27854        4727 16.97%
Ware            27788       8226 29.60%      27755       7849 28.28%   26679      6922 25.95%   25971        6101 23.49%
Warren            4159      2360 56.74%        4461      2589 58.04%     4666     2570 55.08%     4361       2373 54.41%
Washington      15709       8333 53.05%      16141       8286 51.34%   15472      7803 50.43%   13479        6515 48.33%
Wayne           23105       4662 20.18%      22638       4543 20.07%   19674      3864 19.64%   15861        2710 17.09%
Webster           1847       844 45.70%        2089       861 41.22%     1787      816 45.66%     1638        787 48.05%
Wheeler           6217      2561 41.19%        6022      2219 36.85%     4796     1580 32.94%     3495        925 26.47%
White           22482        484     2.15%   20944        380  1.81%   15322       344  2.25%   10015         257  2.57%
Whitfield       76262       3349     4.39%   73316       3063  4.18%   60691      2345  3.86%   53527        2015  3.76%
Wilcox            7218      2693 37.31%        7468      2694 36.07%     6624     2336 35.27%     5022       1394 27.76%
Wilkes            7651      3071 40.14%        8237      3457 41.97%     8126     3416 42.04%     7789       3386 43.47%
Wilkinson         7026      2549 36.28%        7239      2693 37.20%     7437     2839 38.17%     7219       2752 38.12%
Worth           16444       4108 24.98%      16336       4249 26.01%   15683      4129 26.33%   13755        3709 26.96%
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Plan Name: Senate14                             Plan Type : Senate                  User: Gina                   Administrator: State




                                                       %                        %        BLACK         TOTAL         %TOTAL                 HISP. OR
DISTRICT       POPULATION         DEVIATION       DEVIATION          BLACK     BLACK     COMBO         BLACK          BLACK                  LATINO     %HISP


001             171,350                -1,644           -0.95%        37,852    22.09%      2,493       40,345         23.55%                  10,252    5.98%

      VAP       127,614                                               26,202    20.53%           878    27,080         21.22%                   6,353    4.98%


002             172,067                  -927           -0.54%        92,824    53.95%      2,226       95,050         55.24%                   9,860    5.73%

      VAP       132,543                                               66,470    50.15%      1,050       67,520         50.94%                   6,981    5.27%


003             171,952                -1,042           -0.60%        39,606    23.03%      1,755       41,361         24.05%                   8,534    4.96%

      VAP       129,192                                               28,065    21.72%           585    28,650         22.18%                   5,463    4.23%


004             173,075                   81            0.05%         41,571    24.02%      1,245       42,816         24.74%                   8,958    5.18%

      VAP       131,149                                               30,454    23.22%           468    30,922         23.58%                   5,691    4.34%


005             172,513                  -481           -0.28%        49,881    28.91%      2,901       52,782         30.60%                  71,815   41.63%

      VAP       119,904                                               33,732    28.13%      1,292       35,024         29.21%                  45,746   38.15%


006             173,708                  714            0.41%         39,863    22.95%      2,400       42,263         24.33%                  24,754   14.25%

      VAP       137,161                                               30,590    22.30%      1,349       31,939         23.29%                  16,160   11.78%


007             171,498                -1,496           -0.86%        39,294    22.91%      1,115       40,409         23.56%                  11,685    6.81%

      VAP       128,245                                               28,401    22.15%           309    28,710         22.39%                   6,972    5.44%


008             171,383                -1,611           -0.93%        56,380    32.90%      1,515       57,895         33.78%                   9,198    5.37%

      VAP       128,253                                               40,080    31.25%           592    40,672         31.71%                   5,852    4.56%


009             173,867                  873            0.50%         34,699    19.96%      2,110       36,809         21.17%                  18,207   10.47%

      VAP       125,254                                               22,663    18.09%           832    23,495         18.76%                  11,604    9.26%


010             172,386                  -608           -0.35%       118,775    68.90%      2,614      121,389         70.42%                   7,140    4.14%

      VAP       125,304                                               84,709    67.60%      1,289       85,998         68.63%                   4,386    3.50%


011             172,584                  -410           -0.24%        57,123    33.10%       959        58,082         33.65%                  13,703    7.94%

      VAP       127,856                                               39,947    31.24%           352    40,299         31.52%                   8,305    6.50%


012             173,031                   37            0.02%        107,565    62.17%      1,262      108,827         62.89%                   6,147    3.55%

      VAP       130,495                                               76,605    58.70%           556    77,161         59.13%                   4,550    3.49%


013             171,539                -1,455           -0.84%        55,521    32.37%       951        56,472         32.92%                   8,156    4.75%

      VAP       128,351                                               39,341    30.65%           314    39,655         30.90%                   5,009    3.90%


014             173,151                  157            0.09%         15,505    8.95%       1,636       17,141          9.90%                  18,976   10.96%

      VAP       126,557                                               10,603    8.38%            465    11,068          8.75%                  11,707    9.25%


015             173,280                  286            0.17%         96,128    55.48%      2,958       99,086         57.18%                  10,633    6.14%

      VAP       128,462                                               69,203    53.87%      1,220       70,423         54.82%                   6,935    5.40%




DATA SOURCE: 2010 US Census PL94-171 Population Cou                                                                                     1
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Plan Name: Senate14                             Plan Type : Senate                  User: Gina                   Administrator: State




                                                       %                        %        BLACK         TOTAL         %TOTAL                 HISP. OR
DISTRICT       POPULATION         DEVIATION       DEVIATION          BLACK     BLACK     COMBO         BLACK          BLACK                  LATINO     %HISP


016             172,012                  -982           -0.57%        35,797    20.81%      1,478       37,275         21.67%                   7,128    4.14%

      VAP       127,450                                               25,465    19.98%           519    25,984         20.39%                   4,552    3.57%


017             171,822                -1,172           -0.68%        51,053    29.71%      2,106       53,159         30.94%                   7,980    4.64%

      VAP       121,373                                               33,663    27.74%           747    34,410         28.35%                   4,852    4.00%


018             172,982                   -12           -0.01%        48,323    27.94%      1,242       49,565         28.65%                   6,126    3.54%

      VAP       132,567                                               35,668    26.91%           447    36,115         27.24%                   3,906    2.95%


019             173,261                  267            0.15%         45,980    26.54%      1,751       47,731         27.55%                  15,524    8.96%

      VAP       128,915                                               33,460    25.96%           529    33,989         26.37%                  10,084    7.82%


020             173,859                  865            0.50%         50,174    28.86%      1,700       51,874         29.84%                   7,596    4.37%

      VAP       128,979                                               35,317    27.38%           567    35,884         27.82%                   4,759    3.69%


021             174,508                 1,514           0.88%         11,300    6.48%       1,358       12,658          7.25%                  11,742    6.73%

      VAP       125,212                                                7,721    6.17%            489     8,210          6.56%                   7,457    5.96%


022             171,645                -1,349           -0.78%       101,076    58.89%      2,998      104,074         60.63%                   7,217    4.20%

      VAP       129,039                                               71,660    55.53%      1,337       72,997         56.57%                   4,982    3.86%


023             171,559                -1,435           -0.83%        62,136    36.22%      1,544       63,680         37.12%                   5,511    3.21%

      VAP       128,048                                               43,718    34.14%           496    44,214         34.53%                   3,559    2.78%


024             172,595                  -399           -0.23%        33,638    19.49%      1,599       35,237         20.42%                   6,943    4.02%

      VAP       129,147                                               24,539    19.00%           470    25,009         19.36%                   4,236    3.28%


025             174,016                 1,022           0.59%         52,329    30.07%      1,171       53,500         30.74%                   5,684    3.27%

      VAP       134,483                                               38,282    28.47%           378    38,660         28.75%                   3,698    2.75%


026             171,351                -1,643           -0.95%       103,229    60.24%      1,561      104,790         61.16%                   5,003    2.92%

      VAP       126,588                                               72,782    57.50%           626    73,408         57.99%                   3,298    2.61%


027             172,726                  -268           -0.15%         4,490    2.60%        778         5,268          3.05%                  16,179    9.37%

      VAP       120,121                                                2,998    2.50%            277     3,275          2.73%                  10,177    8.47%


028             172,358                  -636           -0.37%        28,697    16.65%      1,436       30,133         17.48%                   9,562    5.55%

      VAP       126,140                                               20,138    15.96%           414    20,552         16.29%                   6,218    4.93%


029             173,911                  917            0.53%         45,511    26.17%      1,733       47,244         27.17%                   7,317    4.21%

      VAP       131,011                                               32,576    24.87%           552    33,128         25.29%                   4,795    3.66%


030             172,531                  -463           -0.27%        33,612    19.48%      2,207       35,819         20.76%                  10,302    5.97%

      VAP       125,663                                               23,275    18.52%           700    23,975         19.08%                   6,291    5.01%




DATA SOURCE: 2010 US Census PL94-171 Population Cou                                                                                     2
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Plan Name: Senate14                             Plan Type : Senate                  User: Gina                   Administrator: State




                                                       %                        %        BLACK         TOTAL         %TOTAL                 HISP. OR
DISTRICT       POPULATION         DEVIATION       DEVIATION          BLACK     BLACK     COMBO         BLACK          BLACK                  LATINO     %HISP


031             174,298                 1,304           0.75%         23,616    13.55%      1,798       25,414         14.58%                  10,762    6.17%

      VAP       124,828                                               15,799    12.66%           511    16,310         13.07%                   6,220    4.98%


032             174,271                 1,277           0.74%         14,817    8.50%       1,334       16,151          9.27%                   9,811    5.63%

      VAP       130,854                                               10,791    8.25%            542    11,333          8.66%                   6,539    5.00%


033             174,114                 1,120           0.65%         62,936    36.15%      3,058       65,994         37.90%                  33,571   19.28%

      VAP       128,718                                               43,422    33.73%      1,379       44,801         34.81%                  20,775   16.14%


034             173,063                   69            0.04%        108,169    62.50%      2,853      111,022         64.15%                  24,642   14.24%

      VAP       123,516                                               75,265    60.94%      1,375       76,640         62.05%                  15,146   12.26%


035             173,728                  734            0.42%        107,338    61.79%      3,013      110,351         63.52%                  13,774    7.93%

      VAP       122,650                                               72,472    59.09%      1,309       73,781         60.16%                   8,213    6.70%


036             172,083                  -911           -0.53%       103,348    60.06%      2,338      105,686         61.42%                  12,232    7.11%

      VAP       137,631                                               78,481    57.02%      1,630       80,111         58.21%                   8,800    6.39%


037             172,832                  -162           -0.09%        30,548    17.67%      1,919       32,467         18.79%                  13,258    7.67%

      VAP       126,053                                               20,606    16.35%           802    21,408         16.98%                   8,429    6.69%


038             174,530                 1,536           0.89%        110,537    63.33%      2,421      112,958         64.72%                  17,411    9.98%

      VAP       129,186                                               80,556    62.36%      1,289       81,845         63.35%                  10,835    8.39%


039             173,809                  815            0.47%        110,761    63.73%      2,303      113,064         65.05%                   9,651    5.55%

      VAP       139,465                                               83,562    59.92%      1,557       85,119         61.03%                   6,962    4.99%


040             173,539                  545            0.32%         26,747    15.41%      1,754       28,501         16.42%                  36,807   21.21%

      VAP       133,946                                               20,482    15.29%      1,010       21,492         16.05%                  25,354   18.93%


041             173,452                  458            0.26%         90,037    51.91%      2,732       92,769         53.48%                  23,281   13.42%

      VAP       127,577                                               64,136    50.27%      1,444       65,580         51.40%                  14,850   11.64%


042             172,447                  -547           -0.32%        42,913    24.88%      1,779       44,692         25.92%                  24,229   14.05%

      VAP       138,757                                               33,570    24.19%      1,094       34,664         24.98%                  16,922   12.20%


043             172,105                  -889           -0.51%       105,035    61.03%      2,631      107,666         62.56%                  12,251    7.12%

      VAP       123,175                                               71,792    58.28%      1,213       73,005         59.27%                   7,461    6.06%


044             174,464                 1,470           0.85%        122,966    70.48%      2,787      125,753         72.08%                  14,561    8.35%

      VAP       127,853                                               87,966    68.80%      1,378       89,344         69.88%                   9,051    7.08%


045             173,558                  564            0.33%         24,226    13.96%      1,927       26,153         15.07%                  22,225   12.81%

      VAP       120,526                                               15,902    13.19%           691    16,593         13.77%                  13,760   11.42%




DATA SOURCE: 2010 US Census PL94-171 Population Cou                                                                                     3
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                                                                        %                        %        BLACK         TOTAL         %TOTAL                 HISP. OR
DISTRICT             POPULATION                 DEVIATION          DEVIATION          BLACK     BLACK     COMBO         BLACK          BLACK                  LATINO     %HISP


046                   174,230                           1,236            0.71%         30,244    17.36%      1,313       31,557         18.11%                   8,606    4.94%

         VAP          135,912                                                          21,845    16.07%           563    22,408         16.49%                   5,673    4.17%


047                   174,417                           1,423            0.82%         25,803    14.79%      1,534       27,337         15.67%                  16,455    9.43%

         VAP          129,264                                                          18,117    14.02%           489    18,606         14.39%                   9,911    7.67%


048                   171,240                           -1,754           -1.01%        25,398    14.83%      1,929       27,327         15.96%                  21,232   12.40%

         VAP          122,833                                                          17,133    13.95%           794    17,927         14.59%                  13,645   11.11%


049                   173,823                             829            0.48%         12,877    7.41%       1,070       13,947          8.02%                  44,504   25.60%

         VAP          125,571                                                           9,143    7.28%            322     9,465          7.54%                  25,911   20.63%


050                   171,792                           -1,202           -0.69%         9,219    5.37%       1,099       10,318          6.01%                  13,621    7.93%

         VAP          131,117                                                           6,960    5.31%            256     7,216          5.50%                   7,940    6.06%


051                   173,593                             599            0.35%          1,471    0.85%        498         1,969          1.13%                   7,454    4.29%

         VAP          136,858                                                           1,128    0.82%            148     1,276          0.93%                   4,570    3.34%


052                   172,494                            -500            -0.29%        19,604    11.37%      1,418       21,022         12.19%                  18,234   10.57%

         VAP          128,253                                                          13,936    10.87%           368    14,304         11.15%                  10,849    8.46%


053                   173,151                             157            0.09%          7,102    4.10%       1,091        8,193          4.73%                   3,905    2.26%

         VAP          132,044                                                           5,563    4.21%            239     5,802          4.39%                   2,345    1.78%


054                   173,417                             423            0.24%          4,520    2.61%        968         5,488          3.16%                  38,990   22.48%

         VAP          125,379                                                           3,377    2.69%            250     3,627          2.89%                  22,395   17.86%


055                   174,196                           1,202            0.69%        114,253    65.59%      3,254      117,507         67.46%                  11,564    6.64%

         VAP          123,203                                                          78,012    63.32%      1,571       79,583         64.60%                   6,951    5.64%


056                   174,487                           1,493            0.86%         26,018    14.91%      2,040       28,058         16.08%                  22,826   13.08%

         VAP          129,856                                                          19,127    14.73%           996    20,123         15.50%                  14,917   11.49%


Total Population:         9,687,653
Ideal Value:        172,994
Summary Statistics
Population Range:         171,240     to      174,530

Absolute Overall Range:               3,290

Relative Range:           -1.01%        to    0.89%
Relative Overall Range:         1.90%




DATA SOURCE: 2010 US Census PL94-171 Population Cou                                                                                                      4
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                                                                                                                                                                                                  Client: State

                                                Georgia Senate Districts 2006                                                                                                                     Plan: Senate06
                                                                                                                                                                                                  Type: Senate




          Catoosa                                                       Towns
                                          Fannin                                      Rabun
Dade
                                                              Union
                      054
                Whitfield

       053
       Walker             Murray       Gilmer                           WhiteHabersham
                                                      051Lumpkin
                                                                                            Stephens
  Chattooga          Gordon           Pickens        Dawson
                                                                                               050
                                                                                             Franklin
                                                                                  Banks                      Hart
                  052                                                   Hall
                                      Cherokee
                                                027 Forsyth             049
        Floyd           Bartow
                                                                               Jackson        Madison
                                   021 056048      045
                                                                       047           Elbert
          Polk031               Cobb032
                              037                         Barrow    Clarke
                                          040005Gwinnett                   Oglethorpe
                               033006
                    Paulding                  041 009           046
                                                                 Oconee
                                   038 042 055
        Haralson      030            039
                                       036DeKalb         Walton                       Wilkes
                                                                                            024 Lincoln
                        Douglas
                                  Fulton        Rockdale
                                                 043
            Carroll                      044010
                                      Clayton
                                                                          Greene Taliaferro
                             035                      Newton    Morgan                               Columbia
                                                     017                                      McDuffie
                                    034
                                      Fayette          Henry                                                                                         022
                                                                                                                        Warren
                     028 Coweta                                           Jasper        Putnam                                               Richmond
            Heard                              Spalding                                    025            Hancock          Glascock
                                                               Butts


                                           Pike      016                                                                         Jefferson
                                                      Lamar                                  Baldwin                                                   Burke
                Troup      Meriwether
                                                                Monroe            Jones                           Washington
                        029                    Upson                                                                                     023

                                                                018        Bibb                   Wilkinson                                          Jenkins
                                                           Crawford                              026
                    Harris            Talbot                                                                             Johnson                                 Screven
                                                                                    Twiggs

                                                                                                                                      Emanuel
                    Muscogee                      Taylor           Peach
                                                                                                            Laurens
                                                                                           Bleckley
                                                                          Houston                                            Treutlen                   004
                    Chattahoochee                                                                                                                                           Effingham
                        015    Marion                                                         020                                              Candler
                                                           Macon                                                                                               Bulloch
                                               Schley
                                                                                   Pulaski                                 Montgomery
                                                                    Dooly                          Dodge                                                 Evans                        002
                                                014                                                                  Wheeler          Toombs                           Bryan
                                   Webster
                     Stewart                       Sumter
                                                                                                                                                 Tattnall                               Chatham
                                                                                     Wilcox                   Telfair
                Quitman                                                 Crisp                                                                                         Liberty
                                        Terrell                                                                                                                                   001
                                                                                                 Ben Hill               Jeff Davis    Appling
                                                                                                                                           019                 Long
                         Randolph                       Lee                  013
                                                                            Turner

                    Clay                                                                         Irwin            Coffee                               Wayne
                                Calhoun
                                           012Dougherty            Worth                                                         Bacon                                     McIntosh
                                                                                    Tift
                                        Baker
                        Early                                                                Berrien              Atkinson                  Pierce
                                                                                                                    007                                                   Glynn
                                                                       Colquitt                                                                  Brantley
                                                Mitchell                              Cook
                             Miller                                                                                                  Ware
                                                                                                         Lanier
                    Seminole                   011
                                                                                                                      Clinch
                                                                                                                                                           003
                                                                                                                                                                 Camden
                                                   Grady                       Brooks                                                       Charlton
                                                               Thomas             008 Lowndes
                                 Decatur
                                                                                                                  Echols




                                                                                                                                                                                  Map layers
                                                                                                                                                                                     Districts
                                                                                                                                                                                     VTD04
                                                                                                                                                                                     County (Tiger)
                                                                                                                                                                      0           20          40           60
                                                                                                                                                                                        Miles
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                                                               Population Summary Report
                                                Georgia State Senate --2014 Benchmark Plan
                                                                                                                                   2015-19  2015-19
                      % 2020                      18+ AP    % 18+ AP 18+_NH % 18+ NH 2015-19                  2015-19    2015-19   B+L+A NH White
District   2020 Pop. Deviation 18+ Pop             Black      Black    White   White   BCVAP*                 LCVAP*     ACVAP*    CVAP*    CVAP*
   001        198887     3.97%   152297               35451    23.28%    96772  63.54% 22.69%                   5.60%      2.50%     30.79%  68.07%
   002        189492    -0.94%   150134               70693    47.09%    60178  40.08% 53.43%                   4.30%      1.46%     59.18%  40.00%
   003        177449    -7.23%   138541               28640    20.67%    95762  69.12% 22.80%                   3.18%      1.40%     27.39%  71.81%
   004        193292     1.05%   147437               35090    23.80%    99258  67.32% 24.14%                   2.82%      0.76%     27.72%  71.45%
   005        196143     2.54%   142732               43538    30.50%    23318  16.34% 39.22%                  19.37%     13.57%     72.16%  26.68%
   006        210532    10.06%   172356               43196    25.06%    92734  53.80% 25.05%                   5.73%      4.64%     35.42%  64.09%
   007        171471   -10.36%   130540               30505    23.37%    88112  67.50% 24.31%                   3.43%      0.47%     28.21%  71.23%
   008        179719    -6.05%   135732               46162    34.01%    77098  56.80% 33.19%                   4.02%      1.18%     38.39%  60.73%
   009        208385     8.94%   154183               44050    28.57%    70409  45.67% 25.32%                   8.13%      8.70%     42.15%  56.96%
   010        189350    -1.01%   146159             109589     74.98%    24225  16.57% 73.45%                   3.29%      2.66%     79.39%  19.99%
   011        176167    -7.90%   134129               43418    32.37%    77682  57.92% 34.09%                   3.11%      0.59%     37.78%  61.39%
   012        156514   -18.18%   122414               76043    62.12%    39684  32.42% 63.31%                   1.39%      0.68%     65.38%  34.05%
   013        166659   -12.87%   128573               40500    31.50%    78559  61.10% 32.60%                   2.73%      0.91%     36.23%  63.09%
   014        201621     5.40%   153905               16759    10.89%   111171  72.23% 10.68%                   6.08%      1.75%     18.52%  80.36%
   015        167658   -12.35%   127245               72150    56.70%    43673  34.32% 55.52%                   5.54%      1.20%     62.26%  36.50%
   016        185112    -3.23%   142191               31282    22.00%    96558  67.91% 21.58%                   3.25%      1.96%     26.79%  72.18%
   017        203628     6.45%   151694               63292    41.72%    74437  49.07% 35.83%                   3.75%      1.13%     40.71%  58.47%
   018        181317    -5.21%   142464               43919    30.83%    87228  61.23% 30.31%                   2.09%      1.11%     33.52%  65.66%
   019        171580   -10.30%   130086               35842    27.55%    80326  61.75% 28.65%                   4.82%      0.49%     33.95%  65.24%
   020        194874     1.88%   146865               44728    30.46%    88596  60.32% 30.31%                   3.34%      1.99%     35.64%  63.45%
   021        213660    11.70%   161932               12410      7.66%  120173  74.21%  7.30%                   4.78%      3.41%     15.49%  83.83%
   022        177079    -7.43%   137131               80572    58.76%    44194  32.23% 60.81%                   4.00%      1.50%     66.31%  32.82%
   023        172283    -9.93%   133828               47670    35.62%    76938  57.49% 34.71%                   2.44%      1.16%     38.31%  60.89%
   024        201121     5.14%   152283               31388    20.61%   104217  68.44% 20.74%                   3.65%      2.67%     27.06%  72.23%
   025        184090    -3.76%   146057               41632    28.50%    94913  64.98% 30.11%                   2.17%      0.99%     33.27%  66.32%
   026        162113   -15.25%   123874               74504    60.14%    42998  34.71% 60.87%                   1.71%      0.71%     63.28%  36.27%
   027        247844    29.57%   178599                8702      4.87%  119868  67.12%  3.95%                   5.33%      7.35%     16.63%  82.62%
   028        193759     1.29%   148139               25846    17.45%   106941  72.19% 17.43%                   4.00%      1.42%     22.85%  76.32%
   029        190152    -0.59%   146692               41511    28.30%    89648  61.11% 28.79%                   3.92%      2.16%     34.87%  64.43%
   030        185628    -2.96%   140487               32442    23.09%    92957  66.17% 22.57%                   3.58%      1.07%     27.23%  71.80%
   031        200874     5.01%   148856               26030    17.49%   107611  72.29% 14.69%                   4.17%      0.65%     19.51%  79.72%
   032        191820     0.28%   146090               15068    10.31%   100623  68.88%  9.43%                   4.72%      6.29%     20.45%  78.78%
   033        194620     1.74%   149098               57946    38.86%    54199  36.35% 42.38%                   9.42%      2.68%     54.48%  44.66%
   034        193843     1.34%   143989               98409    68.34%    20582  14.29% 71.98%                   5.24%      3.44%     80.65%  18.33%
   035        207451     8.45%   155438             110949     71.38%    29749  19.14% 68.38%                   4.15%      0.96%     73.49%  25.68%
   036        194797     1.84%   160571               86374    53.79%    55677  34.67% 55.27%                   3.64%      2.85%     61.76%  37.72%
   037        192450     0.61%   149015               32301    21.68%    93201  62.54% 20.68%                   5.28%      3.58%     29.54%  69.66%
   038        194347     1.60%   149483               95641    63.98%    35249  23.58% 68.29%                   4.41%      1.98%     74.69%  24.80%
   039        205632     7.50%   170381               98999    58.10%    50264  29.50% 62.02%                   2.97%      3.59%     68.58%  30.69%
   040        195569     2.24%   151062               27069    17.92%    76038  50.34% 19.37%                   6.80%      8.03%     34.21%  65.14%
   041        196140     2.54%   146663               72979    49.76%    31519  21.49% 57.22%                   6.08%      7.27%     70.57%  28.32%
   042        188406    -1.50%   151516               36776    24.27%    82267  54.30% 27.82%                   3.82%      5.74%     37.38%  61.71%
   043        196565     2.76%   148422             102018     68.74%    33974  22.89% 66.24%                   3.75%      1.45%     71.44%  27.81%
   044        198371     3.70%   151932             110050     72.43%    22257  14.65% 74.99%                   4.65%      3.54%     83.17%  15.89%
   045        214703    12.24%   158272               29023    18.34%    80234  50.69% 17.75%                   7.78%     10.08%     35.62%  63.70%
   046        203757     6.52%   160011               27059    16.91%   113961  71.22% 18.37%                   3.08%      2.76%     24.21%  75.11%
   047        202081     5.64%   154098               23646    15.34%   105856  68.69% 15.67%                   5.12%      2.23%     23.02%  76.30%
   048        197406     3.20%   151281               28527    18.86%    57510  38.02% 20.30%                   7.68%     20.19%     48.17%  50.90%
   049        196756     2.86%   149277               11752      7.87%   96626  64.73%  8.65%                  11.42%      2.05%     22.11%  77.08%
   050        186077    -2.72%   145138                8642      5.95%  119197  82.13%  6.33%                   4.30%      1.03%     11.66%  87.35%
   051        193626     1.22%   158512                1962      1.24%  142807  90.09%  1.37%                   2.34%      0.49%      4.20%  94.12%
   052        179411    -6.21%   137797               16207    11.76%   101967  74.00% 11.79%                   4.98%      0.90%     17.67%  81.60%
   053        174643    -8.70%   135994                6402      4.71%  120228  88.41%  4.66%                   1.45%      0.74%      6.86%  92.13%
   054        176410    -7.78%   132248                4100      3.10%   95114  71.92%  3.35%                  11.02%      0.79%     15.16%  83.25%
   055        199509     4.30%   149542             104737     70.04%    26486  17.71% 72.06%                   3.70%      1.73%     77.50%  21.77%
   056        189065    -1.16%   146889               23796    16.20%    90510  61.62% 17.68%                   5.90%      6.17%     29.75%  69.41%
Total
2020
Pop.       10,711,908      47.75% 8,220,274        2,607,986       31.73% 4,342,333        52.82%

Majority Districts                                                 13                                    15                           17         39

CVAP Source:
* 2015-19 ACS Special Tabulation
Note: Citizen Voting Age Population (CVAP) percentages are disaggreagated from block-gorup level ACS estimates (with a survey midpoint of July 2017)

Source for disaggregation: Redistricting Data Hub
https://redistrictingdatahub.org/dataset/georgia-cvap-data-disaggregated-to-the-2020-block-level-2019/
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                                                           Population Summary Report
                                              Georgia State Senate -2011 Plan
                                                                                                                                       2006-2010
                      % 2020                    18+ AP    % 18+ AP        18+_NH % 18+ NH 2006-2010 2006-2010             2006-2010     B+L+A
District   2020 Pop. Deviation 18+ Pop           Black      Black          White    White   BCVAP*    LCVAP*                ACVAP*      CVAP*
   001        171350    -0.95%   127614             27080     21.2%          89831   70.39%  20.07%     3.90%                 2.00%       25.97%
   002        172067    -0.54%   132543             67520     50.9%          54497   41.12%  53.36%     2.44%                 1.13%       56.93%
   003        171952    -0.60%   129192             28650     22.2%          92672   71.73%  22.46%     2.43%                 0.74%       25.63%
   004        173075     0.05%   131149             30922     23.6%          92265   70.35%  23.57%     1.64%                 0.62%       25.83%
   005        172323    -0.39%   119823             34545     28.8%          27743   23.15%  37.43%    12.69%                 9.70%       59.82%
   006        173708     0.41%   137161             31939     23.3%          81413   59.36%  21.15%     3.24%                 2.60%       26.99%
   007        171777    -0.70%   128025             27351     21.4%          92252   72.06%  22.07%     2.05%                 0.06%       24.18%
   008        171383    -0.93%   128253             40672     31.7%          79220   61.77%  31.99%     1.87%                 0.67%       34.53%
   009        173867     0.50%   125254             23495     18.8%          79744   63.67%  15.89%     3.88%                 6.64%       26.41%
   010        172386    -0.35%   125304             85998     68.6%          31542   25.17%  67.49%     2.23%                 2.05%       71.77%
   011        172584    -0.24%   127856             40299     31.5%          77812   60.86%  33.06%     1.98%                 0.29%       35.33%
   012        172926    -0.04%   130407             77155     59.2%          47349   36.31%  59.83%     1.10%                 0.36%       61.29%
   013        171365    -0.94%   128659             41020     31.9%          80830   62.82%  32.27%     1.88%                 0.44%       34.59%
   014        173151     0.09%   126557             11068      8.8%         100580   79.47%   8.76%     3.51%                 1.03%       13.30%
   015        173280     0.17%   128462             70423     54.8%          49110   38.23%  52.78%     3.55%                 0.80%       57.13%
   016        172012    -0.57%   127450             25984     20.4%          93645   73.48%  19.93%     1.99%                 0.92%       22.84%
   017        171822    -0.68%   121373             34410     28.4%          79927   65.85%  24.92%     2.66%                 1.07%       28.65%
   018        172982    -0.01%   132567             36115     27.2%          89587   67.58%  27.40%     1.65%                 0.79%       29.84%
   019        173261     0.15%   128915             33989     26.4%          83563   64.82%  27.37%     3.49%                 0.33%       31.19%
   020        173859     0.50%   128979             35884     27.8%          84987   65.89%  27.68%     2.00%                 1.32%       31.00%
   021        174508     0.88%   125212              8210      6.6%         101929   81.41%   5.89%     3.15%                 2.14%       11.18%
   022        171645    -0.78%   129039             72997     56.6%          48103   37.28%  55.66%     3.10%                 1.26%       60.02%
   023        172187    -0.47%   128540             44335     34.5%          78094   60.75%  34.57%     1.03%                 0.65%       36.25%
   024        171967    -0.59%   128655             24888     19.3%          95312   74.08%  19.50%     2.09%                 1.85%       23.44%
   025        174016     0.59%   134483             38660     28.8%          89944   66.88%  29.18%     1.35%                 0.51%       31.04%
   026        171351    -0.95%   126588             73408     58.0%          48667   38.45%  57.89%     1.11%                 0.58%       59.58%
   027        172726    -0.15%   120121              3275      2.7%          98446   81.96%   2.12%     3.37%                 2.78%        8.27%
   028        172358    -0.37%   126140             20552     16.3%          96736   76.69%  16.18%     2.45%                 0.73%       19.36%
   029        173911     0.53%   131011             33128     25.3%          89031   67.96%  26.03%     2.47%                 1.41%       29.91%
   030        172531    -0.27%   125663             23975     19.1%          93513   74.42%  18.06%     2.19%                 0.56%       20.81%
   031        174298     0.75%   124828             16310     13.1%         100359   80.40%  11.74%     2.53%                 0.61%       14.88%
   032        174271     0.74%   130854             11333      8.7%         102432   78.28%   8.75%     2.90%                 4.29%       15.94%
   033        174114     0.65%   128718             44801     34.8%          59010   45.84%  36.47%     5.14%                 1.63%       43.24%
   034        173063     0.04%   123516             76640     62.1%          26225   21.23%  64.69%     4.28%                 3.71%       72.68%
   035        173728     0.42%   122650             73781     60.2%          39009   31.81%  58.56%     2.88%                 1.01%       62.45%
   036        172083    -0.53%   137631             80111     58.2%          45549   33.10%  58.93%     2.84%                 2.36%       64.13%
   037        172832    -0.09%   126053             21408     17.0%          90383   71.70%  14.74%     3.86%                 3.06%       21.66%
   038        174530     0.89%   129186             81845     63.4%          33635   26.04%  68.01%     2.82%                 1.36%       72.19%
   039        173809     0.47%   139465             85119     61.0%          40407   28.97%  62.14%     2.33%                 1.89%       66.36%
   040        173539     0.32%   133946             21492     16.1%          74299   55.47%  16.17%     4.92%                 6.06%       27.15%
   041        173452     0.26%   127577             65580     51.4%          34734   27.23%  55.70%     4.08%                 5.28%       65.06%
   042        172447    -0.32%   138757             34664     25.0%          76721   55.29%  26.54%     3.61%                 3.44%       33.59%
   043        172105    -0.51%   123175             73005     59.3%          41279   33.51%  55.95%     2.19%                 1.05%       59.19%
   044        174464     0.85%   127853             89344     69.9%          24598   19.24%  71.85%     3.07%                 2.30%       77.22%
   045        173558     0.33%   120526             16593     13.8%          77283   64.12%  13.44%     5.74%                 6.32%       25.50%
   046        174230     0.71%   135912             22408     16.5%         102352   75.31%  16.77%     1.86%                 1.95%       20.58%
   047        174417     0.82%   129264             18606     14.4%          96620   74.75%  14.27%     3.16%                 1.60%       19.03%
   048        171430    -0.90%   122914             18406     15.0%          60176   48.96%  16.51%     4.70%                14.45%       35.66%
   049        173823     0.48%   125571              9465      7.5%          87303   69.52%   8.32%     6.14%                 1.36%       15.82%
   050        171792    -0.69%   131117              7216      5.5%         113429   86.51%   5.27%     1.85%                 0.73%        7.85%
   051        173593     0.35%   136858              1276      0.9%         128844   94.14%   0.80%     1.41%                 0.23%        2.44%
   052        172494    -0.29%   128253             14304     11.2%         100866   78.65%  10.80%     2.49%                 0.77%       14.06%
   053        173151     0.09%   132044              5802      4.4%         121629   92.11%   4.32%     1.21%                 0.43%        5.96%
   054        173417     0.24%   125379              3627      2.9%          97436   77.71%   3.20%     6.52%                 0.47%       10.19%
   055        174196     0.69%   123203             79583     64.6%          33740   27.39%  63.88%     2.40%                 1.91%       68.19%
  056        174,487     0.86%  129,856             20123     15.5%          85,852  66.11%     0.14    3.46%                 3.47%       20.93%


CVAP Source:
* 2006-10 ACS Special Tabulation
Note: Citizen Voting Age Population (CVAP) percentages are disaggreagated from block-gorup level ACS estimates (with a survey midpoint of July 2017)
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                                              Population Summary Report -- 2010 Census
                                              Georgia State Senate -2006 Benchmark Plan
                                                                                                                                       2006-2010
                      % 2010                    18+ AP    % 18+ AP        18+_NH % 18+ NH 2006-2010 2006-2010             2006-2010     B+L+A
District   2010 Pop. Deviation 18+ Pop           Black      Black          White    White   BCVAP*    LCVAP*                ACVAP*      CVAP*
   001        184711     6.77%   138727             28211    20.34%          99045   71.40%  19.04%     3.71%                 1.92%       24.67%
   002        145784   -15.73%   112658             61726    54.79%          42284   37.53%  57.54%     2.07%                 1.03%       60.64%
   003        175054     1.19%   131558             28706    21.82%          94902   72.14%  22.04%     2.40%                 0.73%       25.17%
   004        182797     5.67%   138452             33267    24.03%          97083   70.12%  24.09%     1.57%                 0.58%       26.24%
   005        165465    -4.35%   116283             33067    28.44%          21463   18.46%  40.07%    13.89%                10.37%       64.33%
   006        166643    -3.67%   126854             47911    37.77%          54761   43.17%  39.41%     4.53%                 2.56%       46.50%
   007        162770    -5.91%   120774             24525    20.31%          87389   72.36%  21.43%     2.19%                 0.14%       23.76%
   008        165743    -4.19%   124564             44682    35.87%          72509   58.21%  35.97%     1.94%                 0.68%       38.59%
   009        203621    17.70%   145121             38197    26.32%          75722   52.18%  23.89%     5.40%                 6.37%       35.66%
   010        173450     0.26%   127296             85751    67.36%          35990   28.27%  66.52%     1.92%                 0.92%       69.36%
   011        149726   -13.45%   110742             32490    29.34%          69166   62.46%  30.87%     2.01%                 0.24%       33.12%
   012        141413   -18.26%   106402             64913    61.01%          38212   35.91%  60.86%     1.04%                 0.31%       62.21%
   013        150866   -12.79%   111625             31860    28.54%          73782   66.10%  28.86%     1.67%                 0.45%       30.98%
   014        158067    -8.63%   121156             52475    43.31%          61431   50.70%  44.67%     1.42%                 0.40%       46.49%
   015        133879   -22.61%    98798             54594    55.26%          36113   36.55%  52.77%     4.36%                 1.03%       58.16%
   016        165379    -4.40%   122416             27345    22.34%          87358   71.36%  22.30%     2.11%                 0.96%       25.37%
   017        238272    37.73%   169706             48961    28.85%         111309   65.59%  25.89%     2.34%                 1.09%       29.32%
   018        181223     4.76%   135340             30636    22.64%          95435   70.51%  22.18%     2.17%                 1.19%       25.54%
   019        161882    -6.42%   118661             32286    27.21%          75769   63.85%  28.34%     3.90%                 0.55%       32.79%
   020        176026     1.75%   134154             40285    30.03%          87131   64.95%  30.48%     1.52%                 0.89%       32.89%
   021        171113    -1.09%   125264              8607     6.87%         102102   81.51%   6.68%     3.51%                 2.19%       12.38%
   022        138542   -19.92%   103278             62421    60.44%          35770   34.63%  59.52%     2.77%                 1.07%       63.36%
   023        153242   -11.42%   115804             46613    40.25%          62952   54.36%  39.61%     1.57%                 0.74%       41.92%
   024        182334     5.40%   134569             28263    21.00%          96242   71.52%  21.01%     2.35%                 2.09%       25.45%
   025        160177    -7.41%   125124             42949    34.33%          77377   61.84%  35.94%     1.21%                 0.39%       37.54%
   026        135905   -21.44%    99895             59270    59.33%          36366   36.40%  58.03%     1.45%                 0.79%       60.27%
   027        264822    53.08%   186205              6478     3.48%         154737   83.10%   2.82%     3.59%                 2.09%        8.50%
   028        191899    10.93%   140568             21340    15.18%         109867   78.16%  15.31%     2.26%                 0.67%       18.24%
   029        173136     0.08%   130030             33994    26.14%          87586   67.36%  26.29%     2.42%                 1.31%       30.02%
   030        212492    22.83%   153122             35660    23.29%         106598   69.62%  21.82%     2.75%                 0.82%       25.39%
   031        204694    18.32%   148103             17314    11.69%         119626   80.77%  10.37%     2.36%                 0.55%       13.28%
   032        151598   -12.37%   116859             11522     9.86%          88178   75.46%   8.99%     2.88%                 3.97%       15.84%
   033        158587    -8.33%   116259             42842    36.85%          51012   43.88%  38.30%     5.26%                 1.53%       45.09%
   034        160881    -7.00%   115085             75542    65.64%          27419   23.82%  65.89%     3.20%                 2.29%       71.38%
   035        214483    23.98%   152659           110519     72.40%          31056   20.34%  72.82%     2.21%                 0.87%       75.90%
   036        145158   -16.09%   117776             60646    51.49%          45548   38.67%  51.99%     2.57%                 2.41%       56.97%
   037        192546    11.30%   140657             23916    17.00%         100422   71.39%  15.00%     3.75%                 3.05%       21.80%
   038        145163   -16.09%   108443             63546    58.60%          36308   33.48%  61.94%     1.27%                 0.83%       64.04%
   039        146037   -15.58%   122766             60282    49.10%          48988   39.90%  50.12%     3.27%                 2.75%       56.14%
   040        153070   -11.52%   119014             15664    13.16%          69656   58.53%  12.70%     4.00%                 6.52%       23.22%
   041        150651   -12.92%   112808             41216    36.54%          46499   41.22%  38.29%     4.15%                 6.40%       48.84%
   042        147006   -15.02%   118734             33805    28.47%          64015   53.91%  31.12%     3.20%                 3.15%       37.47%
   043        177093     2.37%   127999             95437    74.56%          25236   19.72%  73.24%     1.56%                 0.83%       75.63%
   044        170216    -1.61%   122115             67541    55.31%          29482   24.14%  57.21%     5.31%                 5.21%       67.73%
   045        256939    48.52%   178613             27938    15.64%         112602   63.04%  14.98%     5.30%                 6.28%       26.56%
   046        181993     5.20%   141820             27119    19.12%         100341   70.75%  20.14%     2.21%                 1.92%       24.27%
   047        193917    12.09%   143996             17787    12.35%         114361   79.42%  11.59%     2.34%                 1.44%       15.37%
   048        198933    14.99%   141413             17034    12.05%          81921   57.93%  13.00%     3.98%                11.47%       28.45%
   049        190699    10.23%   137589             10015     7.28%          96620   70.22%   7.91%     6.34%                 1.34%       15.59%
   050        164656    -4.82%   127509              8870     6.96%         110345   86.54%   7.06%     1.44%                 0.59%        9.09%
   051        190842    10.32%   149612              1387     0.93%         140803   94.11%   0.76%     1.39%                 0.23%        2.38%
   052        168885    -2.38%   125503             12854    10.24%         100230   79.86%  10.45%     2.42%                 0.85%       13.72%
   053        164710    -4.79%   125890              5810     4.62%         115710   91.91%   4.47%     1.11%                 0.39%        5.97%
   054        173407     0.24%   125160              3705     2.96%          97125   77.60%   3.28%     6.62%                 0.53%       10.43%
   055        158179    -8.56%   113993             81541    71.53%          22515   19.75%   71.4%     2.27%                 2.21%       75.91%
  056        160,877    -7.00%  120,580             19454    16.13%          80,045  66.38%  14.04%     3.40%                 3.23%       20.67%


CVAP Source:
* 2006-10 ACS Special Tabulation
Note: Citizen Voting Age Population (CVAP) percentages are disaggreagated from block-gorup level ACS estimates (with a survey midpoint of July 2017)
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                    EXHIBIT K
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                    EXHIBIT L
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       User: State
 Plan Name: Senate-prop1-2021
  Plan Type: Senate

Population Summary

Summary Statistics:
Population Range:                   189,320 to 193,163
Ratio Range:                        0.02
Absolute Range:                     -1,964 to 1,879
Absolute Overall Range:             3,843
Relative Range:                     -1.03% to 0.98%
Relative Overall Range:             2.01%
Absolute Mean Deviation:            1,012.61
Relative Mean Deviation:            0.53%
Standard Deviation:                 1,154.96

District          Population Deviation            % Devn.      [18+_Pop] [% 18+_Pop] [% NH_Wht]   [% NH_Blk] [% Hispanic [% NH_Asn] [% NH_Ind] [% NH_Hwn] [% NH_Oth]   [% NH_2+
                                                                                                                 Origin]                                                  Races]
001                       191,402          118        0.06%       145,428     75.98%      58.9%       23.66%        8.78%     2.64%      0.25%       0.3%      0.48%         4.99%
002                       190,408          -876       -0.46%      150,843     79.22%      36.4%       47.51%        8.36%       3.4%     0.21%      0.15%      0.46%         3.49%
003                       191,212           -72       -0.04%      148,915     77.88%     66.23%       20.92%        6.82%     1.22%      0.26%      0.09%      0.42%         4.04%
004                       191,098          -186       -0.10%      146,443     76.63%     64.48%        22.6%        6.49%     1.86%      0.23%      0.07%      0.38%          3.9%
005                       191,921          637        0.33%       139,394     72.63%     13.35%       26.84%       45.47%    10.98%      0.15%      0.04%      0.64%         2.52%
006                       191,401          117        0.06%       155,781     81.39%     56.41%       21.47%        9.18%     7.21%      0.16%      0.03%      1.11%         4.42%
007                       189,709     -1,575          -0.82%      147,425     77.71%     35.09%       20.08%       18.57%    21.67%      0.16%      0.04%      0.66%         3.72%
008                       192,396      1,112          0.58%       145,144     75.44%     57.39%       30.03%        7.28%     1.21%      0.28%      0.07%      0.35%          3.4%
009                       192,915      1,631          0.85%       142,054     73.64%     32.04%       28.46%       21.09%    13.98%      0.18%      0.03%      0.72%         3.48%
010                       192,898      1,614          0.84%       147,884     76.66%     17.71%       68.95%        6.03%       3.1%     0.18%      0.03%      0.66%         3.34%
011                       189,976     -1,308          -0.68%      144,597     76.11%     55.75%       31.13%        9.36%     0.69%      0.23%      0.03%      0.26%         2.54%
012                       190,819          -465       -0.24%      149,154     78.17%     33.83%       58.82%        3.89%     0.86%      0.16%      0.02%      0.21%          2.2%
013                       189,326     -1,958          -1.02%      144,141     76.13%     61.25%       27.08%         7.2%       1.2%     0.17%      0.02%      0.26%         2.81%
014                       192,533      1,249          0.65%       155,340     80.68%     54.63%       16.79%       13.97%     9.46%      0.13%      0.04%      0.79%         4.19%
015                       189,446     -1,838          -0.96%      144,506     76.28%     34.07%       52.31%        7.57%     1.31%      0.23%      0.27%      0.44%         3.79%
016                       191,829          545        0.28%       147,133      76.7%     64.19%       22.31%        5.95%     3.04%      0.17%      0.03%      0.51%         3.79%
017                       192,510      1,226          0.64%       144,472     75.05%     56.69%       31.21%        6.08%     1.41%      0.16%      0.05%      0.59%         3.81%
018                       191,825          541        0.28%       150,196      78.3%     58.41%       30.01%        5.18%     2.42%      0.22%      0.03%       0.4%         3.33%
019                       192,316      1,032          0.54%       146,131     75.98%     61.67%       24.76%        9.72%     0.58%      0.17%      0.06%      0.27%         2.77%
020                       192,588      1,304          0.68%       147,033     76.35%     59.74%       30.65%        4.21%     1.73%      0.15%      0.05%      0.31%         3.16%
021                       192,572      1,288          0.67%       145,120     75.36%     71.13%        6.52%       10.13%     7.38%      0.19%      0.04%      0.53%         4.08%
022                       193,163      1,879          0.98%       150,450     77.89%      31.1%       56.58%        5.63%     1.97%      0.24%      0.18%      0.44%         3.86%
023                       190,344          -940       -0.49%      144,113     75.71%     54.27%       34.66%        5.46%     1.16%      0.24%       0.1%      0.34%         3.78%
024                       192,674      1,390          0.73%       148,602     77.13%     67.45%       18.98%         5.4%     3.31%      0.18%      0.09%      0.43%         4.15%
025                       191,161          -123       -0.06%      148,917      77.9%     57.45%        33.4%        4.27%     1.08%      0.16%      0.05%      0.43%         3.16%
026                       189,945     -1,339          -0.70%      145,744     76.73%     33.26%       57.37%        4.85%     0.83%      0.21%      0.04%      0.31%         3.14%
027                       190,676          -608       -0.32%      139,196       73%         68%        4.31%       11.61%    11.41%      0.18%      0.04%      0.52%         3.94%
028                       190,422          -862       -0.45%      144,973     76.13%     67.06%       18.79%         7.4%     1.96%      0.22%      0.04%      0.48%         4.06%
029                       189,424     -1,860          -0.97%      145,674      76.9%     60.71%       26.22%        5.34%     3.02%      0.23%       0.1%      0.42%         3.97%


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Population Summary                                                                                                                                  Senate-prop1-2021



District      Population Deviation    % Devn.    [18+_Pop] [% 18+_Pop] [% NH_Wht]   [% NH_Blk] [% Hispanic [% NH_Asn] [% NH_Ind] [% NH_Hwn] [% NH_Oth]   [% NH_2+
                                                                                                   Origin]                                                  Races]
030                191,475     191      0.10%       145,077     75.77%     66.97%       19.83%        7.27%     0.95%      0.23%      0.03%      0.49%          4.24%
031                192,560    1,276     0.67%       142,251     73.87%      65.2%       19.83%        8.85%     1.07%      0.23%      0.06%      0.58%          4.19%
032                192,448    1,164     0.61%       149,879     77.88%     63.13%       13.22%       12.09%     5.49%       0.2%      0.04%      0.91%          4.91%
033                192,694    1,410     0.74%       146,415     75.98%        26%       40.48%       26.72%     2.13%      0.19%      0.05%      0.86%          3.56%
034                190,668    -616      -0.32%      141,840     74.39%     11.11%        66.6%       14.82%       3.9%     0.23%      0.04%       0.6%           2.7%
035                192,839    1,555     0.81%       144,675     75.02%     16.46%       69.77%        8.68%     1.13%      0.17%      0.06%      0.64%          3.08%
036                192,282     998      0.52%       161,385     83.93%      33.1%       51.35%        7.56%     3.58%      0.17%      0.04%      0.53%          3.68%
037                192,671    1,387     0.73%       147,779      76.7%     62.38%       18.04%        9.99%     3.85%      0.16%      0.03%      0.78%          4.76%
038                193,155    1,871     0.98%       148,367     76.81%     20.03%       62.74%        9.72%     3.42%      0.18%      0.04%      0.58%          3.29%
039                191,500     216      0.11%       156,022     81.47%     25.32%       60.33%         6.1%     4.25%      0.16%      0.04%      0.57%          3.22%
040                190,544    -740      -0.39%      147,000     77.15%     43.69%       16.42%       24.81%    10.84%      0.12%      0.04%      0.65%          3.43%
041                191,023    -261      -0.14%      145,278     76.05%     18.86%       60.28%        7.32%     9.19%      0.22%      0.02%      0.64%          3.48%
042                190,940    -344      -0.18%      153,952     80.63%     49.91%       28.14%       10.13%     6.81%      0.13%      0.03%      0.61%          4.24%
043                192,729    1,445     0.76%       145,741     75.62%     23.45%       62.77%        8.13%     1.24%      0.17%      0.09%      0.67%          3.49%
044                190,036   -1,248     -0.65%      145,224     76.42%     13.02%       69.13%        9.96%     4.15%      0.16%      0.04%      0.62%          2.91%
045                190,692    -592      -0.31%      140,706     73.79%     52.74%       17.12%       14.66%    10.69%      0.13%      0.03%      0.62%          4.01%
046                190,312    -972      -0.51%      146,713     77.09%     67.24%       16.64%        7.99%     3.77%       0.2%      0.03%      0.58%          3.56%
047                190,607    -677      -0.35%      146,599     76.91%     64.67%       16.96%       11.22%     2.66%      0.16%      0.04%      0.58%          3.71%
048                190,123   -1,161     -0.61%      136,995     72.06%     49.01%        8.35%        7.58%    30.59%      0.13%      0.04%      0.55%          3.75%
049                189,355   -1,929     -1.01%      144,123     76.11%     60.85%        7.13%       26.24%     2.15%      0.15%      0.04%      0.35%          3.08%
050                189,320   -1,964     -1.03%      148,799      78.6%     78.61%        5.05%       11.08%     1.22%      0.22%      0.04%      0.26%          3.52%
051                190,167   -1,117     -0.58%      155,571     81.81%     88.75%        0.84%        5.43%     0.59%      0.31%      0.02%       0.3%          3.77%
052                190,799    -485      -0.25%      146,620     76.85%      71.8%       12.39%       10.11%     1.08%      0.21%      0.03%      0.35%          4.02%
053                190,236   -1,048     -0.55%      148,201      77.9%     85.78%        4.46%        3.98%        1%      0.24%      0.06%       0.3%          4.18%
054                192,443    1,159     0.61%       143,843     74.75%     65.71%        2.97%       26.66%     1.14%      0.19%      0.02%      0.25%          3.07%
055                190,155   -1,129     -0.59%      141,968     74.66%     18.09%       62.96%       10.14%     4.19%      0.17%      0.04%      0.73%          3.67%
056                191,226     -58      -0.03%      144,448     75.54%      73.9%        6.36%        8.63%     5.67%      0.11%      0.03%      0.75%          4.56%

Total:          10,711,908
Ideal District:    191,284




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